Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 1 of 178
                                                                                         1


  1                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
  2                           WEST PALM BEACH DIVISION
                             CASE NO. 9:18-cv-80176-BB
  3
       IRA KLEIMAN, as the personal representative
  4    of the Estate of David Kleiman, and W&K Info
       Defense Research, LLC,
  5
                   Plaintiffs,                                       November 18, 2021
  6                                                                  9:59 a.m.
                  vs.
  7
       CRAIG WRIGHT,
  8
                 Defendant.                     Pages 1 THROUGH 124
  9    ______________________________________________________________
                    TRANSCRIPT OF TRIAL DAY 12, AM SESSION
10                     BEFORE THE HONORABLE BETH BLOOM
                         UNITED STATES DISTRICT JUDGE
11                             And a Jury of 10

12     Appearances:
       FOR THE PLAINTIFF:      ROCHE FREEDMAN, LLP
13                             DEVIN FREEDMAN, ESQ.
                               KYLE ROCHE, ESQ.
14                             200 South Biscayne, Suite 5500
                               Miami, Florida 33131
15
                               BOIES SCHILLER & FLEXNER
16                             ANDREW BRENNER, ESQ.
                               STEPHEN N. ZACK, ESQ.
17                             ALEXANDER HOLTZMAN, ESQ.
                               100 Southeast 2nd Street, Suite 2800
18                             Miami, Florida 33131

19     FOR THE DEFENDANT:      RIVERO MESTRE, LLP
                               ANDRES RIVERO, ESQ.
20                             JORGE MESTRE, ESQ.
                               AMANDA M. MCGOVERN, ESQ.
21                             ZALMAN KASS, ESQ.
                               2525 Ponce de Leon Boulevard, Suite 1000
22                             Coral Gables, Florida 33134

23     COURT REPORTER:         Yvette Hernandez
                               U.S. District Court
24                             400 North Miami Avenue, Room 10-2
                               Miami, Florida 33128
25                             yvette_hernandez@flsd.uscourts.gov

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 2 of 178
                                                                                            2


  1                                     I N       D     E     X

  2    Certificate.....................................                                    124

  3                              W     I     T     N     E     S     S

  4
       ON BEHALF OF THE DEFENDANT:                                                        PAGE
  5
       DR. DUGALD STEWART MACINTYRE
  6    CONTINUED DIRECT EXAMINATION BY MR. KASS                                              6
       CROSS-EXAMINATION BY MR. BRENNER                                                     21
  7    REDIRECT EXAMINATION BY MR. KASS                                                     80

  8    KIMON ANDREOU
       DIRECT EXAMINATION BY MR. MESTRE                                                     93
  9

10                                   E X H I B I T S
       EX. NO.:                                                              OFFERED   ADMITTED
11     Defendant's     480                                                     108          108

12

13

14

15

16

17

18

19

20

21

22

23

24

25

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 3 of 178
                                                                                             3


  1         (Call to order of the Court, 9:59 a.m.)

  2               THE COURT:    All right.             Good morning to everyone.

  3               How is everyone this morning?

  4               MR. BRENNER:     Good.

  5               THE COURT:    All right.             Go ahead and have a seat.

  6    Let's call the case and make sure we know who's here this

  7    morning.

  8               And is Dr. MacIntyre with us?

  9               All right.    Come on forward, sir.

10                COURTROOM DEPUTY:          Calling Civil Case Number 18-80176,

11     Ira Kleiman v. Dr. Craig Wright.

12                Counsel, please state your appearances for the record,

13     starting with Plaintiffs' counsel.

14                MR. BRENNER:     Good morning, Your Honor.                   Andrew

15     Brenner on behalf of the Plaintiffs.

16                MR. HOLTZMAN:      Good morning, Your Honor.                  Alexander

17     Holtzman on behalf of the Plaintiffs.

18                MR. FREEDMAN:      Good morning, Your Honor.                  Vel Freedman

19     on behalf of Plaintiffs.

20                MR. ROCHE:    Good morning, Your Honor.                    Kyle Roche on

21     behalf of Plaintiffs.

22                MR. ZACK:    Good morning, Your Honor.                     Steve Zack on

23     behalf of Plaintiff.

24                THE COURT:    Good morning.

25                MR. FREEDMAN:      And with us at counsel table is Ms.

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 4 of 178
                                                                                              4


  1    Vela and Ira Kleiman.

  2               THE COURT:    Good morning to each of you.

  3               MR. RIVERO:    Good morning, Judge.                        Andres Rivero.   And

  4    before my fellow counsel introduce themselves, I would just say

  5    that Dr. Wright is with us, our crack paralegal, Sarah

  6    Gonzalez, and Mr. Reed as a hot seat.

  7               MS. McGOVERN:      Good morning, Your Honor.                     Amanda

  8    McGovern for Dr. Wright.

  9               MR. KASS:    Good morning, Your Honor.                       Zalman Kass on

10     behalf of Dr. Wright.

11                MR. MESTRE:    Jorge Mestre for Dr. Wright.

12                Good morning, Judge.

13                THE COURT:    Good morning to each of you.

14                So is Mr. Reed handling the IT for Mr. Shah?

15                MR. RIVERO:    Yes, Judge.               Mr. Shah went home for the

16     holidays, Judge.

17                THE COURT:    All right.             Well, let me state that it

18     certainly has been a pleasure, both with Ms. Vela and Mr. Shah,

19     and I have no doubt with Mr. Reed -- that the presentation to

20     the jury of the exhibits has been exceptional.

21                MR. RIVERO:    Judge, I appreciate you saying it and

22     became very fond of Mr. Shah and I will relay that to him.

23                THE COURT:    All right.             Are there any matters that we

24     need to address -- all the jurors are present -- before we

25     proceed?

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 5 of 178
                                                                                             5


  1               MR. BRENNER:     Your Honor, just one quick matter.                      We

  2    are endeavoring and will meet Your Honor's deadline for filing

  3    the JMOL response.      We're finding that we may need some extra

  4    pages.    Would it be okay -- we think it's going to end up being

  5    around 30, instead of 20.           Is that okay?

  6               THE COURT:    That's exceptional, yes -- I mean,

  7    acceptable to the Court and I'll allow it.                            Not exceptional --

  8               MR. BRENNER:     I hope it's exceptional too.

  9               THE COURT:    I don't know.                 I haven't read it yet.

10                It's acceptable to the Court.                      And is the deadline --

11     I know that I said by the end of today.                         I want to give you

12     through the evening, but I would like to have the response so

13     that I can work on it tomorrow in the afternoon after we

14     conclude and the weekend.

15                MR. BRENNER:     Sure.         If it's okay with Your Honor, if

16     we could -- it would give us a chance, the three of us in

17     court, to review it tonight after court.                          And if we could get

18     it to you by the -- that you will have it when you look in the

19     morning.    Is that fine?

20                THE COURT:    Yeah.        I think I said the end of business,

21     I think, before midnight.           I mean --

22                MR. BRENNER:     End of our business day.

23                THE COURT:    Yes.       Yes.        Thank you.

24                Okay.   Any other issues we need to address?

25                MR. BRENNER:     Nothing for the Plaintiffs.

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 6 of 178
                                                                                 6


  1                THE COURT:   Okay.        And good morning to Dr. MacIntyre.

  2                Let's bring in the jury.

  3         (Before the Jury, 10:02 a.m.)

  4                THE COURT:   Good morning, Ladies and Gentlemen.

  5    Please be seated.

  6                As each day passes, I become more impressed with your

  7    promptness.     And you have certainly been paying close attention

  8    to the testimony.      So I do appreciate your service to the Court

  9    and to the parties and to our system of justice.

10                 Dr. MacIntyre, let me remind you, you were previously

11     placed under oath yesterday.              And we'll continue with the

12     questioning.

13                         DIRECT EXAMINATION [CONTINUED]

14     BY MR. KASS:

15     Q.   Good morning, Dr. MacIntyre.

16     A.   Good morning.

17     Q.   I would like to pick up from where we left off yesterday.

18     And I believe at the end of the day you had told the jury about

19     the various medical conditions that David Kleiman had.                Do you

20     recall that?

21     A.   Yes, I do.

22     Q.   And do you recall at the end talking about the condition of

23     David Kleiman's bones?

24     A.   Yes.

25     Q.   What was the condition of his bones?

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 7 of 178
                                                                                                7


  1    A.   Well, best described as brittle from the waist down because

  2    of immobility and lack of muscle control.                             And with the lack of

  3    weight-bearing, bones would lose their calcium and become more

  4    likely to fracture.

  5    Q.   Did Dave Kleiman have to have any procedures because of the

  6    condition of his bones?

  7    A.   Well, he had to have procedures because of two problems

  8    relating to bones.      The one we're talking about, the brittle

  9    bones, he had a fracture of his left femur that was almost

10     spontaneous.     It occurred during physical therapy and it just

11     broke, and that had to be dealt with.

12          He also had various procedures because of infections of the

13     bone and joints relating to his pressure ulcers.

14     Q.   Do you know, in total, how many different operational

15     procedures Dave Kleiman had?

16     A.   Well, I counted seven formal operations on him.                           Now, in

17     addition to that, he would have had bedside debriding and so

18     forth for the pressure ulcers.

19     Q.   After those surgeries -- do the records reflect whether

20     Dave Kleiman had any sort of downtime after the surgeries?

21     A.   Well, each surgery, of course, requires anesthesia and

22     there is a downtime after that anesthesia during recovery and

23     for some time until all of the anesthetic medications have worn

24     off.

25          He also would require pain medications relating to that.

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 8 of 178
                                                                                     8


  1    Now, obviously, he's not getting pain from below the waist

  2    because he's anesthetic there, but he does have pain elsewhere

  3    relating to the surgery.

  4    Q.   I want to go back to something that you mentioned

  5    yesterday.    And I believe it was that Dave Kleiman had pressure

  6    ulcers.

  7    A.   That is correct.

  8    Q.   Could you tell the jury where the pressure ulcers were

  9    located?

10     A.   Well, pressure ulcers are generally located over bony

11     prominences where the bone is against the surface.                    The patient

12     is either lying or sitting on a surface causing the loss of

13     circulation in the area.

14          In his case, he had pressure ulcers over the ischial

15     prominences, which, I think I mentioned yesterday, are the

16     bones that you sit on, which is related to sitting down, and

17     also over the sacrum, which is the lower back, from lying down.

18     He also had some pressure ulcers on the feet.

19     Q.   Do the records indicate what sort of treatment Dave Kleiman

20     was receiving for those pressure ulcers?

21     A.   Well, he received operative procedures that I already

22     mentioned.    These included debridement, which is removing dead

23     tissue, in essence, and cleaning up the ulcer so that it's more

24     likely to heal.

25          He also received bedside debridements which are not formal

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 9 of 178
                                                                                           9


  1    operations, do not require anesthetic, but do require the wound

  2    care people to work on the wound.

  3         And then, in addition to that, he had a number of

  4    procedures relating to the infections.                        He had a -- he had

  5    actually two procedures on the hip.                     The first one was an

  6    attempt to remove the hip joint entirely, which, of course, you

  7    can do because he was paralyzed.                  He didn't need it.       This

  8    procedure had to be stopped because of excessive bleeding and

  9    also because they encountered an abscess in one of the bones.

10     And then there was a second procedure to treat that abscess,

11     which completed the first procedure.

12          He also had a similar procedure on his knee because of an

13     infection there.

14     Q.   Do the records indicate whether David Kleiman was supposed

15     to be in a certain position due to his pressure ulcers?

16     A.   Yes, they do.     That specifically he had to avoid lying on

17     his back for any length of time.                  That doesn't mean he couldn't

18     lie on his back some time, but he had to -- and we use the term

19     "offload" for this -- to take the gravity pressure off the back

20     periodically.     In addition to this, he had to avoid sitting

21     down; same reasoning.

22          Now, the nursing service had standing orders to turn him

23     every two hours so that he wouldn't be lying on his back.                          He'd

24     be turned to one side.        And he couldn't be left that way very

25     long either or he'd develop a pressure ulcer over his hip.                         So

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 10 of 178
                                                                                        10


  1     he had to be turned to the other side, or to his belly.                      And

  2     this was -- the standing orders were to turn every two hours.

  3          Now, likewise, he was not supposed to sit down over two

  4     hours.   And he was instructed -- and physical therapy would

  5     help him in learning how to shift his weight in a wheelchair to

  6     try to offload at least one side or the other while he was

  7     sitting in the wheelchair.

  8          Now, the standing orders to turn the patient, those are

  9     frequent in patients that are immobilized for some reason or

 10     another.    And I always remember I went to a hospital once where

 11     every two hours, a popular song that was popular back in the

 12     '70s -- dah, dah, dah, dah, dah, turn, turn, turn, dah, dah,

 13     dah, dah, turn, turn, turn, turn.                   I think some of the older

 14     people like myself probably remember that song.                       And that was

 15     played over the PA every two hours to remind the nursing staff

 16     to turn the patients.

 17     Q.   Did David suffer from any type of bacterial infections?

 18     A.   Most definitely.

 19     Q.   Could you tell the jury a little bit more about those

 20     infections?

 21     A.   Well, basically he had two chronic bacterial infections.

 22     One was a chronic urinary tract infection which was present

 23     throughout the hospitalization and had been present before.

 24     This is related to having to have artificial drainage of the

 25     bladder, a tube in there.           Either a continuous tube -- or a

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 11 of 178
                                                                                             11


  1     Foley catheter, or intermittent catheterization, putting it in

  2     and out.

  3          All of these things lead to infection in the bladder,

  4     which, in turn, can lead to infection in the kidneys and escape

  5     of bacteria into the bloodstream, which is called bacteremia.

  6     So that was one infection.            It was chronically there with

  7     superimposed acute episodes of infection with -- and at least

  8     three times bacteremia.

  9          The other chronic infection, or infections, were bone

 10     infections relating to these pressure ulcers.                         Bacteria, of

 11     course, gain access directly to the bone through the ulcer and

 12     infect the bone.     And an infection in the bone is very hard to

 13     treat because the bacteria become attached to the bone itself,

 14     to the spicules of bone.          It's something called a biofilm.

 15     That the bacteria excrete filmy material which protects them

 16     and it makes it difficult for the antibiotics to get to the

 17     bacteria.    They're protected by this biofilm.

 18          So the bony infection, which is -- osteomyelitis is the

 19     term used for it, requires long-term antibiotics and surgical

 20     management frequently.

 21     Q.   Dr. MacIntyre, do David's medical records reflect whether

 22     he was prescribed medications?

 23     A.   Well, yes.    He was prescribed many medications.

 24     Q.   Can you identify some of the medications that you observed

 25     reviewing the medical records?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 12 of 178
                                                                                              12


  1     A.   Well, first, obviously, my field is infectious disease, so

  2     I'm most interested in the antibiotic medications that he was

  3     prescribed.    He was prescribed multiple long-term antibiotics.

  4          Now, one of the problems in his case, and in many other

  5     cases, are that when antibiotics have to be prescribed or given

  6     for long periods of time, the bacteria can develop resistance

  7     to them.    And he had infection with resistant bacteria.                       One of

  8     them is staphylococcus aureus methicillin-resistant, frequently

  9     known as M-R-S-A, or MRSA, and I think most of us have heard of

 10     that at one time or another.

 11          He also had bacteria normally found in the gut that had

 12     become resistant to antibiotics.                  It's called extended-spectrum

 13     beta-lactamase bacteria.          Beta-lactamase are enzymes produced

 14     by the bacteria that break down antibiotics.                          So this ESBL,

 15     extended spectrum beta-lactamase bacteria, were also affecting

 16     him.   And these require longer-term and different antibiotics

 17     than he would normally use.

 18          So he received multiple different antibiotics, given

 19     intravenously frequently, given by mouth, and also applied

 20     topically to the ulcers.          So that's one group of medications

 21     that he received.

 22          Now, he also received medications because of the

 23     possibility of pain or muscle spasm relating to his paraplegia.

 24     The interruption of the innervation to the lower part of the

 25     body doesn't necessarily eliminate all pain, although it

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 13 of 178
                                                                                           13


  1     reduces it and makes it anesthetic frequently.

  2          So he received pain medications specifically related to the

  3     surgeries that he had.        And these included Percocet, which is a

  4     well-known pain medication given by mouth, and fentanyl, which

  5     is, of course, rather notorious now.                      It's given by vein

  6     usually when it's given medically.

  7          He also was receiving a medication called Diazepam, which

  8     is -- the trade name for that is Valium.                          It's a tranquilizer

  9     and depressive medication.            In his case, it was used

 10     chronically to reduce muscle spasms.

 11          Now, when there's innervation of an area of the body, the

 12     muscles will become spastic because of the nerve circuits that

 13     are cut loose from central control by the denervation, so

 14     spasms occur.    And these can be painful.                        And they can

 15     interfere with his moving around and interfere with his

 16     physical therapy.

 17          So he received Valium.           And the order was Valium given

 18     every six hours by mouth.           And that order was in place

 19     throughout his hospitalization.                 So that group of medications

 20     are another one.

 21          Now, he also received other medications for various other

 22     things, like blood pressure and so forth.

 23     Q.   Based on your experience, do any of those medications that

 24     you just listed have the ability to alter one's mental state?

 25     A.   Well, the pain medications, I think it's pretty evident, do

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 14 of 178
                                                                                              14


  1     that.    Valium, its effects are very similar to the effects of

  2     alcohol, and as such, are depressant.                       They interfere with

  3     control of impulses.      And in fact, Valium is used sometimes to

  4     treat withdrawal from alcohol.

  5          An alcoholic who has to go cold turkey for some reason or

  6     another, a way to protect him from withdrawal symptoms are to

  7     give a reducing dose of Valium over time.                             That's one way to

  8     treat alcohol withdrawal.

  9     Q.   I want to know if you could expand a little bit on how the

 10     intravenous medication was administered to Dave, like what were

 11     the mechanics of it.

 12     A.   Well, in his case, he received intravenous medications by

 13     two mechanisms.     One is by a peripheral intravenous line.

 14     These are IVs where the needle is placed in a vein in the

 15     forearm, sometimes in the ante-cubital space there, or in the

 16     hand or wrist.

 17          This is attached, of course, to a tube that goes to the

 18     bag.    It contains the antibiotic or the other medications that

 19     he's receiving, including the fentanyl that I mentioned before.

 20     So in a peripheral intravenous line is one way and he received

 21     that at various times.

 22          Also, during a large part of this hospitalization, he was

 23     attached to a central intravenous line.                         And in his case, these

 24     were what they call a PICC, a peripherally inserted central

 25     catheter, P-I-C-C.     And these are placed in the upper arm

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 15 of 178
                                                                                                15


  1     either side and are left in place for long periods of time.

  2     And these, in turn, again, are attached to the tube that goes

  3     to the bag of the medication.

  4     Q.   Did those intravenous lines have any effect on Dave

  5     Kleiman's mobility?

  6     A.   Well, obviously, the peripheral lines interfere with the

  7     mobility of the arm where they're placed.                             They're there, you

  8     move around, they can move around.                     They might actually fall

  9     out.   It can be painful to move them around.                           So they are

 10     quite -- they basically immobilize that arm.

 11          The central lines are less troublesome, but they also lead

 12     to a certain degree of immobility because one is attached to a

 13     tube that goes to the bag of medication that has to be hanging

 14     somewhere.    Normally, it's hanging on a pole which is moved

 15     around with a patient.

 16          Sometimes, if the patient is in a wheelchair, they can be

 17     attached to a pole on the wheelchair.                       But as such, the

 18     presence of this tube can interfere with mobility.                            I think

 19     that could be perfectly obvious thinking of it, or if anyone

 20     has actually ever been in the hospital and had one placed.

 21     Q.   Was David prescribed any medications that had the

 22     possibility of psychotic effects?

 23     A.   Well, as I mentioned, the pain medications and the Valium

 24     can, as a side effect, lead to mental status changes, including

 25     psychotic or at least psychotic-appearing effects.                            Those

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 16 of 178
                                                                                           16


  1     medications reduce the impulse control.                         They essentially

  2     disconnect the frontal lobe from various centers in the center

  3     part of the brain.     So that can happen.

  4          Also, antibiotics, not really causing psychotic -- that's a

  5     rather strong term for it -- but a depressive effect in general

  6     can occur with antibiotics.             It's not very severe, and usually

  7     is noted only when the antibiotics are discontinued.

  8          And I've seen patients note this to me on multiple

  9     occasions.    They have been on antibiotics for a period of time.

 10     We stop the antibiotic, and the next day the patient comes to

 11     me and says:    "I feel so much better being off those

 12     antibiotics," an effect that wasn't evident, but then when you

 13     stop it, it was evident that it was occurring.

 14               MR. BRENNER:      Your Honor, just pose an objection to

 15     Dr. MacIntyre talking about what other patients may say or not

 16     and focus on Mr. Kleiman's records.

 17               THE COURT:    Sustained.              The objection is sustained.

 18     BY MR. KASS:

 19     Q.   Dr. MacIntyre, from reviewing Dave Kleiman's medical

 20     records, did you see anything that could have affected his

 21     ability to do continuous work while in the hospital?

 22     A.   Well, first, the presence of intravenous lines.                       We've

 23     already gone over that.

 24          Secondly, the depressive effects of medications,

 25     particularly the Valium.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 17 of 178
                                                                                             17


  1          And third, it's not a medication, but the fact that he was

  2     in the hospital and being interrupted all the time for various

  3     treatments and visits by physicians and so forth, interrupt any

  4     train of thought that might be going on.

  5     Q.   Could you tell the jury a little bit more about what type

  6     of physician interruptions you saw in the medical records.

  7               MR. BRENNER:      Your Honor, I'm having trouble hearing

  8     Mr. Kass when he backs away from the microphone.

  9               THE WITNESS:      Are you not hearing me well?

 10               THE COURT:    Do you want to restate the question for

 11     Mr. Brenner?

 12               MR. KASS:    Madam court reporter, could you repeat it?

 13          (Read back.)

 14               MR. BRENNER:      Thank you.

 15               THE WITNESS:      Okay.         The medical record reflects the

 16     orders given to the nurses for various interruptions.                         They

 17     also reflect the notes that various -- I'm sorry.                         This thing

 18     has a hood on it, so it's hard to tell.                         It's protected.

 19               There are the notes from the physicians indicating

 20     when they saw the patient as well.                     And, of course, notes from

 21     other therapists, the nursing staff I mentioned already,

 22     physical therapists, occupational therapists.                         He was receiving

 23     recreational therapy.       He would be visited sometimes by the

 24     spiritual therapy patient -- or individuals.                          So he was being

 25     seen frequently by people, and that's reflected in the record.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 18 of 178
                                                                                        18


  1     I think anybody that's been in a hospital for any time knows

  2     what I'm talking about.

  3     BY MR. KASS:

  4     Q.   Was David treated by different specialty doctors?

  5     A.   Yes, he was.    He had a number of different problems going

  6     on, that were handled by different specialties.                       One of them,

  7     of course, infectious disease.                He was being seen by infectious

  8     disease specialists.      In fact, one of the specialists that saw

  9     him I know personally because he was at the same VA where I

 10     was.   He was also seen by the surgeons, obviously.                     And he was

 11     seen by multiple other specialties, all of which are reflected

 12     in the record.

 13          Now, he, of course, was in the Miami Veterans

 14     Administration Hospital.          That's a teaching hospital.              And each

 15     specialty group has interns, residents, and fellows associated

 16     with them that go around in the group and also see the patient

 17     individually, and this is all reflected in the record.

 18     Q.   How often did David receive wound care?

 19     A.   Generally, he would receive wound care daily, sometimes

 20     three times a week.     Now, there were some times when he would

 21     refuse wound care for various reasons, but he received it most

 22     of the time.

 23     Q.   Did you see any records reflecting David using his computer

 24     while in the hospital?

 25     A.   It was noted by the nursing staff on multiple occasions

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 19 of 178
                                                                                             19


  1     that he was using his computer.                 That is correct.

  2     Q.   Did the nurses make any records what they observed David

  3     doing on his computer?

  4     A.   They only record what he said he was doing on the computer,

  5     which he referred to as "work."

  6          They do say that they observed him seeing movies on the

  7     computer on a couple of occasions.

  8     Q.   Now I want to move on to the circumstances surrounding Dave

  9     Kleiman's -- when he left the hospital.                         Could you tell the

 10     jury a little bit more about what happened that Dave was no

 11     longer in the hospital at the end of March.

 12     A.   Well, I think we discussed yesterday the concept of a

 13     furlough or a leave of absence from the hospital.                        That it's a

 14     little bit like a leave of absence in the military.                        That it

 15     has to be specifically ordered and for a reason and with a time

 16     to leave and a time to return.

 17          And in March 2013, he was given a leave of absence to leave

 18     the hospital.    The reason given was to supervise the

 19     installation of a lift facility in his bathroom, I think in the

 20     shower.    That he was having a piece of equipment installed, and

 21     he was to supervise that.           That was the reason for the leave of

 22     absence.

 23          And initially, the return time was the day after he left.

 24     Well, the day after he left, the record reflects that he called

 25     in and asked for an extension of the leave for another day,

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 20 of 178
                                                                                    20


  1     which was granted.

  2          The following day, he did not call in and the staff at the

  3     hospital attempted to contact him and noted in the record that

  4     they could not contact him.             And this went on for a period of

  5     time.   I don't remember exactly how many days they kept trying

  6     to do it, until they finally officially considered him

  7     discharged from the hospital, which is called an irregular

  8     discharge.

  9          And there's no more medical record from the hospital staff

 10     on what happened to him.

 11     Q.   Prior to Dave being -- well, considered AWOL from the

 12     hospital, do the medical records reflect whether his medical

 13     condition was -- whether he was sufficiently well to leave the

 14     hospital for an extended period of time?

 15     A.   Long-term discharge plans were being worked on.                  But at the

 16     time that he left, he was not considered ready for discharge.

 17               MR. KASS:    Your Honor, if you could just give me one

 18     moment.

 19               THE COURT:    Yes.        Of course.

 20          (Pause in proceedings.)

 21     BY MR. KASS:

 22     Q.   Dr. MacIntyre, I believe you just testified that Dave

 23     wasn't ready for discharge from the hospital when he left in

 24     March of 2013.     Could you explain to the jury why he wasn't

 25     ready to be discharged.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 21 of 178
                                                                                  21


  1     A.   Because he was requiring multiple treatments: physical

  2     therapy, occupational therapy, medications, including

  3     intravenous medications.          And arrangements had not been made

  4     for any of that to be given as an outpatient.

  5     Q.   Were his pressure ulcers still there?

  6     A.   Most definitely so.        Now, they were improved, but there

  7     were still open pressure ulcers requiring care, wound care.

  8               MR. KASS:    That's it, Your Honor.

  9               THE COURT:    All right.              Thank you, sir.

 10               Cross-examination.

 11               MR. BRENNER:      Can I have one moment, Your Honor?

 12               THE COURT:    Yes.        Of course.

 13          (Pause in proceedings.)

 14               MR. BRENNER:      May it please the Court.

 15                                 CROSS-EXAMINATION

 16     BY MR. BRENNER:

 17     Q.   Good morning, Dr. MacIntyre.                 How are you?

 18     A.   Good morning.    Hanging in there.

 19     Q.   I'm sorry?

 20     A.   Hanging in there.

 21     Q.   Hanging in there.      Okay.         Beats the alternative, right?

 22          You remember we met on a couple of occasions, right?

 23     A.   That is correct.

 24     Q.   Okay.   I took your deposition in January of 2020, I think.

 25     Does that sound right?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 22 of 178
                                                                                          22


  1     A.   I believe it was 2020.           It might have been 2019.              I'd have

  2     to look at the date of it.

  3     Q.   Okay.   And then again, the second one, we did during Zoom.

  4     Do you remember that?

  5     A.   Yes, I do.

  6     Q.   So we met in person once and the other over the computer

  7     technology, right?

  8     A.   Yes.

  9     Q.   So let's get a couple things clear.                        You are an infectious

 10     disease doctor, correct?

 11     A.   That is correct.

 12     Q.   In reaching your opinions that you've expressed here today,

 13     you never spoke with any of Dave Kleiman's treating physicians

 14     about him, correct?

 15     A.   That is also correct.

 16     Q.   You never talked with any of his friends about him,

 17     correct?

 18     A.   That is also correct.

 19     Q.   And you never spoke with any of his business colleagues

 20     about him, correct?

 21     A.   No, I haven't.

 22     Q.   Now, at the beginning of your examination, Mr. Kass moved

 23     in a set of exhibits that -- those were the medical records

 24     that you were provided for Dave Kleiman, right?

 25     A.   Most of them were medical records and some of them were

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 23 of 178
                                                                                 23


  1     exhibits that were abstracted from the medical records.

  2     Q.   Putting aside the demonstratives, the things that you

  3     summarized.     But the evidence itself, the medical records, you

  4     reviewed what you were given regarding Dave Kleiman, correct?

  5     A.   That is correct.

  6     Q.   And those records is what you base most of your opinions on

  7     today, correct?

  8     A.   That is also correct.

  9     Q.   And those opinions -- those records start in 2010.               I think

 10     it's September.     Am I right about that?

 11     A.   The hospitalization of -- in question started in September

 12     2010.    I did have some VA records that went back into around

 13     1995 as well.

 14     Q.   Right.    What you were talking about today was what was

 15     going on in Dave's final hospitalization between 2010 and 2013,

 16     right?

 17     A.   That is correct.

 18     Q.   Okay.    Now, you're not offering any opinion whatsoever

 19     regarding Dave Kleiman's ability to do complex tasks or

 20     computations prior to September 2010; is that correct?

 21     A.   That is correct.

 22     Q.   And you also have no information about Mr. Kleiman's mental

 23     ability before 2010, correct?

 24     A.   In general, correct.         There were some references to mental

 25     ability in the records that I saw previous to 2010, but the

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 24 of 178
                                                                                     24


  1     opinions now are not based on those.

  2     Q.   Well, let me just go to your April deposition.                   And we're

  3     going to go to Page 54, lines 6 to 15.

  4          (Pause in proceedings.)

  5                MR. BRENNER:     May I proceed, Your Honor?

  6                THE COURT:    Yes, you may.

  7     BY MR. BRENNER:

  8     Q.   So you sat for deposition in April of 2020, correct?

  9     A.   That's correct.

 10     Q.   And you took the same oath there that you took today,

 11     correct?

 12     A.   That's correct.

 13     Q.   And let me just read for you the questions I asked you and

 14     the answers you gave then.

 15          Question:   "Anything -- anything about his mental

 16     ability -- his mental ability before 2010, correct?"

 17          Your answer:     "I have no information on that."

 18          Question:   "Well, if you have no information, it's correct

 19     you don't have an opinion on his mental ability prior to 2010;

 20     is that correct?"

 21          And your answer was:         "I have no information."

 22          Those were the questions and answers you gave in 2010 --

 23     I'm sorry -- April 2020?

 24     A.   Well, that is what I remember, yes.

 25     Q.   Okay.   Great.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 25 of 178
                                                                               25


  1          You also have no information about Dave's ability to work

  2     before 2010, correct?

  3     A.   That is correct.

  4     Q.   And you have no information about Dave's ability to write

  5     computer code before 2010?

  6     A.   No.    At the time of the deposition, that is correct.

  7     Q.   Are you suggesting that you have gone back and done

  8     additional work since the deposition?

  9     A.   I'm suggesting that --

 10     Q.   That's a yes or no.         Have you, sir?

 11     A.   Depends on your definition of work.

 12     Q.   Have you reviewed additional materials since your

 13     deposition?

 14     A.   I looked back at the records that I had, which were

 15     cursory, not very much, from prior to 2010, and noted there

 16     were some comments in there about mental status --

 17                 MR. KASS:    Your Honor?

 18                 THE WITNESS:     -- and I did not remember that at the

 19     time of the deposition.

 20                 MR. KASS:    Objection.

 21                 THE COURT:   Dr. MacIntyre, you may finish your answer.

 22                 THE WITNESS:     And I'm supposed to be telling the

 23     truth.     And now I can remember there were some references to

 24     that that I didn't remember at the time of the deposition.

 25

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 26 of 178
                                                                                             26


  1     BY MR. BRENNER:

  2     Q.   And did you tell those to your -- to counsel for Dr. Wright

  3     before you came today?

  4                MR. KASS:    Your Honor, calls for privileged

  5     communications.

  6                THE COURT:    Overruled.

  7     BY MR. BRENNER:

  8     Q.   Did you, sir?

  9     A.   No.

 10     Q.   Okay.   So we're going to go through and actually show a lot

 11     of the medical records.         A lot of questions you were asked on

 12     direct examination were:          "Could this be this," and:                   "Could

 13     this be that."     You would agree with me it may make sense to

 14     look at the actual medical records, right?                            Those are the best

 15     evidence of what was going on?

 16     A.   In general, yes.

 17     Q.   Okay.   Great.

 18          You know that while Mr. Kleiman was in the hospital, that

 19     his doctors actually ran assessments of his mental capacity.

 20     Do you know that, sir?

 21     A.   That's correct.     There were psychology notes on several

 22     occasions.

 23     Q.   Well, that's not it, sir?              Is there --

 24     A.   Well, psychology, that's the field that assesses this type

 25     of thing.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 27 of 178
                                                                                       27


  1     Q.   Okay.

  2     A.   And there are such notes in the record.

  3     Q.   Do you know that he was given something called a Folstein

  4     Mini-Mental State Exam?         Do you remember that?

  5     A.   I don't remember that specifically, but that probably

  6     appears in the psychology notes.

  7     Q.   Okay.    So when you were going through your work in this

  8     case, did you understand that the issue in this case, or one of

  9     the issues in this case, was Dave's mental ability while he was

 10     in the hospital?     Did you have that understanding?

 11     A.   I have been told that, yes.

 12     Q.   Okay.    And so when you went through the records, you

 13     yourself didn't find any such specific test done on his mental

 14     state, did you?

 15     A.   I did not look for that.             I was looking for infectious

 16     disease-related problems.

 17     Q.   Right.    You're an infectious disease doctor.                   You're not a

 18     doctor that has any -- it's not your job to look at mental

 19     issues and mental capacity?

 20     A.   That is correct.

 21               MR. BRENNER:      So let's bring up, Ms. Vela, if we

 22     could, D -- Your Honor, these are all in evidence.                     These will

 23     all be from the medical records.

 24               If we could publish for the jury D91 at Page 920.

 25

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 28 of 178
                                                                                        28


  1     BY MR. BRENNER:

  2     Q.    Okay.    So this is a Folstein Mini-Mental Exam.                You don't

  3     remember seeing this in the records, right?

  4     A.    Not specifically, no.         I would have gone through it because

  5     it's in the records, but I don't specifically remember that.

  6     Q.    Right.    Because it wasn't your focus, right?

  7     A.    That's correct.

  8     Q.    Okay.    Great.

  9           So you see on this -- this is a mental state exam.                 Do you

 10     see that Dave got a 30 out of 30?

 11     A.    It says something called:             "Total score, 30 over 30."

 12     Q.    Right.    That's 30 out of 30, isn't it, sir?

 13     A.    Well, 30/30.

 14     Q.    Okay.    Let's go through it.             Do you not read that as, on

 15     "Orientation," you could get 10 possible points and he got a

 16     10?    That's not how you read this record?

 17     A.    I'm not sure how that works.

 18     Q.    Okay.    So you're not familiar with this type of test?

 19     A.    No, I'm not.

 20     Q.    Okay.    So let's look at the section that says:                "Spoken

 21     language comprehension."

 22           That one says:    "No evidence of difficulty understanding

 23     multistep or complex instructions, complex, abstract, implied

 24     or indirect questions, or complex or abstract information."

 25           You have no reason to doubt the findings of Mr. Kleiman's

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 29 of 178
                                                                                           29


  1     own physicians, do you?

  2     A.   I am not familiar with this type of test.                        I don't know how

  3     well it's validated.      I don't know whether there is any

  4     evidence in the literature that it means anything.                        And it

  5     says:   "No evidence," and I would presume -- and this is my own

  6     presumption -- that that means no evidence in this test of

  7     difficulty, and that's all I can say about it; in other words,

  8     I don't know.

  9     Q.   Again, outside your field, right?

 10     A.   That's correct.

 11     Q.   You actually don't have an opinion as to if Dave's mental

 12     ability was ever diminished while he was in the hospital?

 13     A.   I have no opinion regarding this test.

 14     Q.   Well, you can't quantify in any way how much Dave's mental

 15     ability was diminished, if at all, in the hospital, right?

 16     A.   I cannot do that, no.

 17     Q.   Okay.   Great.

 18          So -- but we do know that at least the doctor that

 19     administered this test -- we do know his or her findings,

 20     correct?

 21     A.   According to what's written here.                      According to this test,

 22     his findings relating to that test.

 23     Q.   Okay.   Great.

 24          So let's talk a little bit about where we finished -- it's

 25     not about we -- where you finished yesterday and Mr. Kass

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 30 of 178
                                                                                            30


  1     stepped right up and picked it up today.

  2          So at the very end of the day, you were asked to

  3     describe -- I believe the word is in high level, Mr. Kleiman's

  4     medical condition during his hospitalization.                         Do you recall

  5     that?

  6     A.   Yes.

  7     Q.   And then Mr. Kass repeated that question to you today.                         You

  8     recall that?

  9     A.   Yes.

 10     Q.   And right away, these are the things you talked about.                         So

 11     let's go through them with the jury.                      At the end of the day,

 12     within -- I think it's within seconds.                        It's certainly less

 13     than a minute -- you referred to the fact that Mr. Kleiman --

 14     well, let's step back one second.

 15          Mr. Kleiman was a paraplegic, correct?

 16     A.   That is correct.

 17     Q.   As a result of a physical injury, a motorcycle accident,

 18     right?

 19     A.   That is correct.

 20     Q.   No evidence anywhere, no suggestion anywhere that that

 21     motorcycle accident caused brain damage, correct?

 22     A.   I really can't answer that question.                         It's out of my field.

 23     Q.   Great.   Thank you.

 24          Nevertheless, when you were asked yesterday and today --

 25     I'm going to go through the things that you felt -- Mr. Kass

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 31 of 178
                                                                                           31


  1     left it open to you.      He gave you the floor.                      He let you talk

  2     about what you felt was important.                     So let's see what you felt

  3     was important.

  4          You told this jury, first, that Mr. Kleiman had difficulty

  5     or had lost control of his bladder sphincter.                         Do you recall

  6     that?

  7     A.   That's correct.

  8     Q.   Okay.   That was medical condition number one.

  9          Medical condition number two is -- again, what you felt was

 10     important was you told the jury that Mr. Kleiman had lost

 11     control of his anal sphincter, right?

 12     A.   That is correct.

 13     Q.   Okay.   And then where you ended yesterday and picked up

 14     back today, you talked about -- and I wrote it down -- you

 15     talked about that Mr. Kleiman had what you called "brittle

 16     bones"?

 17     A.   That is correct.

 18     Q.   And I think you said -- and correct me if I'm wrong -- that

 19     for the most part, the brittleness in the bones was

 20     concentrated in his lower body?

 21     A.   That is correct.

 22     Q.   In the area of the paralysis?

 23     A.   That is correct.

 24     Q.   Okay.   And then you seemed to talk a decent chunk about it.

 25     You talked about his pressure ulcers.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 32 of 178
                                                                                           32


  1     A.   That is also correct.

  2     Q.   Is that sometimes called bedsores?

  3     A.   That's a common colloquial term.

  4     Q.   Okay.   And that's what you shared with the jury?

  5     A.   That's correct.

  6     Q.   And then, at the very end, almost as an afterthought --

  7     well, let me ask you this:            You have some -- you met with the

  8     lawyers before you gave your report in this case, right?

  9     A.   Yes.

 10     Q.   You met with the lawyers again before you and I first met,

 11     whether it was January 2020 or '19 -- whenever that was, you

 12     met with the lawyers before that, too, right?

 13     A.   That is correct.

 14     Q.   Then after that deposition, you met with the lawyers again.

 15     Do you remember that?

 16     A.   That is correct.

 17     Q.   And then you issued another opinion.                         Remember that?

 18     A.   I was requested another opinion, right.

 19     Q.   From the lawyers, right?

 20     A.   From the lawyers.

 21     Q.   Not from me.    When I say:            "The lawyers," I didn't request

 22     another opinion.     Dr. Wright's lawyers said:                       "Dr. MacIntyre,

 23     can you go back and can you add to or supplement your prior

 24     opinions," right?

 25     A.   All I know is it was requested by the lawyers that were

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 33 of 178
                                                                                      33


  1     discussing it with me.        Where they got their ideas, I don't

  2     know.

  3     Q.   Understood.    I'm just trying to clarify the lawyers that

  4     discussed it with you were not myself, Mr. Freedman, or

  5     Mr. Roche.     They were some folks over -- some of my colleagues

  6     that are representing Dr. Wright?

  7     A.   That is correct.

  8     Q.   Okay.    And then you issued another report, right?

  9     A.   That is correct.

 10     Q.   Okay.    And so you understood in all of those conversations

 11     generally what the case was about, right?

 12     A.   I had some idea.     Actually, early on when I was reviewing

 13     it, I didn't really know that much.                     I eventually was given a

 14     legal document that described the case a little more.

 15     Q.   Right.    Right.   You were given I think a copy of a legal --

 16     a complaint, right?

 17     A.   That is correct.     I think they called it the second amended

 18     complaint.

 19     Q.   Right.    Great.   And you understood from reading that that

 20     no one, not Dr. Wright's lawyers, not Mr. Kleiman's lawyers --

 21     no one was making a claim or a defense one way or the other

 22     about whether Mr. Kleiman was able to control his urination.

 23     You understood that, right?             Did you understand that, or no?

 24     A.   That's my understanding.

 25     Q.   Okay.    That is your understanding, right?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 34 of 178
                                                                                             34


  1     A.   Yes.

  2     Q.   And you understood from reading the complaint and your

  3     discussions with the lawyers, that no one -- not Dr. Wright's

  4     lawyers, not Mr. Kleiman's lawyers -- were making any claim or

  5     defense on whether Mr. Kleiman, a paraplegic, was able to

  6     control his defecation.         You knew that that wasn't what was at

  7     issue, right?

  8     A.   That is correct.     I understand there was no malpractice

  9     claim being made.

 10     Q.   Of course not.    Of course not.

 11          And there was no claim about the use of the bones in his

 12     lower body.    Everyone knew he was paralyzed, correct?

 13     A.   That is correct.

 14     Q.   Partially paralyzed, correct?

 15          So -- but what was important was Dave's brain.                          You

 16     understood that, right?         Or did you not?

 17     A.   I was not asked to evaluate his brain.

 18     Q.   You were not asked to evaluate any of his mental capacity,

 19     correct?

 20     A.   Mental capacity, no.

 21     Q.   Okay.   But Mr. Kass, at the very end, said to you something

 22     like:   "Hey, were there some records that talked about him

 23     using his computer," and you said:                     "Yeah.         They don't really

 24     say what he's doing.      I think some say a movie."                       But you

 25     think -- it would make sense for us to walk through those

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 35 of 178
                                                                                            35


  1     records a little bit, wouldn't it?                      That would give the jury a

  2     better sense of the volume of the records and what Mr. Kleiman

  3     was noted as doing, correct?

  4     A.    Well, from my review of the records, he was -- multiple

  5     times the nursing service mentioned, and other services as

  6     well, that he was working on his computer.

  7     Q.    Right.    It's not just nurses.                It's not just doctors.        It's

  8     across the board.       It is a feature of Mr. Kleiman's medical

  9     records that he is constantly working on his computer, isn't

 10     it?

 11     A.    I would not say he was constantly working on his computer.

 12     Q.    Okay.    Great.   So let's take a look.

 13           In fact, I think you mentioned this.                         At times, the records

 14     even show that he was so focused on his work that he turned

 15     down and refused other treatment.                    You remember that?

 16     A.    That is correct.

 17     Q.    Okay.    So let's take a look -- let's take a look at the

 18     records.      By the way, do you recall during your examination,

 19     because -- if -- you showed -- if Mr. Kass showed you in front

 20     of the jury a single medical record?                       Do you recall?     Did you

 21     discuss any medical record of Dave Kleiman on your direct

 22     examination?      Actually showed it so the jury could see what the

 23     actual evidence is?       Do you recall that?

 24     A.    I don't remember whether he did.                     I don't think he did.

 25     Q.    You don't think he did.            Okay.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 36 of 178
                                                                                         36


  1          All right.    So let's start off -- let's start with -- let's

  2     just start with D101, 633.

  3                MR. BRENNER:     May we publish all these to the jury as

  4     they come up, Your Honor?

  5                THE COURT:   Yes.        They're in evidence.

  6     BY MR. BRENNER:

  7     Q.   Okay.   So let's orient the jury of what we're looking at.

  8     This is, in fact, a medical record that -- of Dave Kleiman,

  9     correct?

 10     A.   That is correct.

 11     Q.   One which you reviewed, correct?

 12     A.   That is correct.

 13     Q.   Okay.   And if you look down at the bottom part there, it

 14     says:   "Entry date, October 23rd," or:                       "Date of note, October

 15     23rd, 2010"?

 16     A.   That refers to another note.

 17     Q.   The date of note next to it, October -- you think -- is

 18     that the next note?

 19     A.   No.   Below that horizontal line is the next note.

 20                MR. BRENNER:     Okay.         So let's go one page before then,

 21     Ms. Vela, so we can get the date of this note.

 22                One more.

 23     BY MR. BRENNER:

 24     Q.   So this note is also actually October 23rd, right?

 25     A.   That's the date of this note, correct.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 37 of 178
                                                                                              37


  1     Q.   Let's go back to where we were.                    So you made reference in

  2     your direct examination that one of the issues because of

  3     Mr. Kleiman's condition -- and I think you attributed it to the

  4     pressure ulcers -- was that it wasn't impossible for him to lay

  5     down, but it was a position that the doctors would like to

  6     avoid when they can; is that right?

  7     A.   That's correct.

  8     Q.   Okay.   So here -- here, this note says:                         "Patient was

  9     received sitting up in bed working on his computer," right?

 10     A.   That is correct.

 11     Q.   Okay.   So let's go -- and we're just going to march through

 12     each month and see what we find.

 13     A.   There's more in that paragraph than just that line.

 14     Q.   There sure is.

 15     A.   I would also point out that:                 "Bilateral trochanter wounds

 16     cleaned and dressing changed per MD's order.                          Scrotal wound

 17     also cleaned and dressing changed, vac running continuously."

 18     A vac, by the way, is a dressing that's attached to a hose that

 19     goes out to a pump providing vacuum to the wound.                          It's a very

 20     good way.    Somebody should have gotten a Nobel Prize for that.

 21          So it shows how many interruptions were occurring during

 22     that shift.

 23     Q.   Okay.   So just so we get, again, what you want to --

 24     because you want to emphasize it.                   So now you want to also add

 25     to your list -- you want to emphasize scrotal cleaning, scrotal

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 38 of 178
                                                                                              38


  1     wounds?   That's what you want to emphasize?

  2     A.   That's one.

  3     Q.   Correct, Doctor?

  4     A.   That's one.

  5     Q.   Okay.    And that he was:          "Soiling from his stool."                 That

  6     means he had defecated on himself, right?

  7     A.   That's correct.

  8     Q.   You wanted to make sure that we didn't move past the record

  9     too quick.    You wanted the jury to understand that that's in

 10     there, right?

 11     A.   And those all provided interruptions.                            So we can't say he

 12     was sitting up in bed working on his computer during that

 13     entire shift.

 14     Q.   We can't say anything because we weren't there.                           What we

 15     know is that the nurse -- is this a nurse's note?

 16     A.   This is a nurse's note, that's correct.

 17     Q.   What we know is the nurse who was actually there, who no

 18     doubt in your mind is there to provide care to Mr. Kleiman --

 19     right?

 20     A.   I don't see anything else she should be doing.

 21     Q.   Right.   It's her job.         And part of her job is to -- is to

 22     note what she observes, right?

 23     A.   That is correct.

 24     Q.   She has no interest -- and this is in 2010, right?                           So she

 25     has no interest in how whatever she's observed is going to play

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 39 of 178
                                                                                           39


  1     in a courtroom 11 years later, right?

  2     A.   That is correct.

  3     Q.   Right.    And so what she observed is that:                      "Patient,"

  4     Mr. Kleiman, "was received sitting up in bed working on his

  5     computer."     Meaning when she came in, that's what he was doing?

  6     A.   That is correct.

  7     Q.   And then presumably while she was doing her cleaning -- was

  8     it cleaning the wounds we just talked about and helping

  9     Mr. Kleiman to clean himself, because unfortunately he had

 10     defecated -- you think that that interrupted the work on the

 11     computer and that's what you wanted the jury to understand?

 12     A.   That is correct.

 13     Q.   Okay.    Thank you, Doctor.

 14                MR. BRENNER:     Let's go to D101 at Page 707.

 15     BY MR. BRENNER:

 16     Q.   Okay.    This is a note -- as you see above, it's going to be

 17     October 20th, right?

 18     A.   That is correct.

 19     Q.   Okay.    So again, a progress note.                    This is a nursing note?

 20     A.   No.   That's not a nursing note.

 21     Q.   Okay.    It's a -- oh, this is an infectious disease note?

 22     A.   That is correct.     That's from what appears to be the

 23     infectious disease resident or fellow.

 24     Q.   Okay.    And that's -- looks like Alessandra, probably,

 25     Regatieri?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 40 of 178
                                                                                        40


  1     A.   That is correct.

  2     Q.   And she's the author of the note.                      And she notes -- now,

  3     this is someone who -- the residents, as you call -- or did you

  4     call them residents or interns?                 Just what did you say?

  5     A.   Could be a resident.         Could be an intern.

  6     Q.   Could also be a doctor, right?

  7     A.   Well, they are all doctors.

  8     Q.   Okay.    Sure.

  9     A.   Yeah.    Residents and interns are all graduate --

 10     Q.   They're MDs?

 11     A.   -- physicians.     They are MDs or DOs.

 12     Q.   Right.    Right.   Again, like the nurses, no question in your

 13     mind that Dr. Regatieri is there to provide care and treatment

 14     to Mr. Kleiman, correct?

 15     A.   That's correct.

 16     Q.   No question she is there to provide, as part of that care

 17     and treatment -- well, let's talk about this.                         There's

 18     something called continuity of care.                      Do you know that concept?

 19     A.   That is talked about a lot.

 20     Q.   Sure.    And one of the things that's important is, for

 21     doctors, nurses, psychologists -- it's important to note what's

 22     going on in the medical records because when the next doctor,

 23     nurse, psychologist comes, they see the medical records and

 24     they understand what they're looking at, what's gone on until

 25     that moment, right?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 41 of 178
                                                                                          41


  1     A.   That's one of the things that we work on a lot.                      There is a

  2     problem that occurs with the electronic medical record that

  3     frequently we're not as good as we should be in dealing with

  4     this sort of thing.

  5     Q.   Okay.   But everyone's trying, right?

  6     A.   Everyone tries.

  7     Q.   And here Dr. Regatieri says:                 "Patient always in his

  8     computer."     Probably meant "on his computer," right?

  9     A.   Yeah.   I guess 24/7 he was working on his computer,

 10     according to her.

 11     Q.   Really?

 12     A.   Well --

 13     Q.   Oh, so now you think Dr. Regatieri was exaggerating it?

 14     A.   Well, I think she was doing what she says the patient was

 15     being; very sarcastic.

 16     Q.   It doesn't say -- you said this to Mr. Kass, and it's just

 17     simply -- with all due respect, it's simply not true.                       This is

 18     not her saying:     "Mr. Kleiman told me:                     'I'm always in my

 19     computer.'" This is her observation based on her seeing Mr.

 20     Kleiman on his computer.

 21               MR. KASS:    Objection.             The document speaks for itself.

 22               THE COURT:    Overruled.              I'll allow it.

 23     BY MR. BRENNER:

 24     Q.   Yeah.   So that just wasn't really accurate.

 25          What really is happening here is the doctor walks in, or

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 42 of 178
                                                                                      42


  1     the nurse walks in, and he or she makes their own observation,

  2     right?

  3     A.   I can't say for sure that that is a correct observation.

  4     Q.   Okay.   And you're -- are you having difficulty deferring to

  5     the doctor who was there looking at him?

  6     A.   I guess then he was 24/7 sitting on a computer, always, or

  7     she was being sarcastic, like the patient was.

  8     Q.   Oh, so Dr. Regatieri may have been sarcastic?

  9     A.   Yeah, like the patient.

 10     Q.   Oh, so she -- okay.        She got in there and she's a trained

 11     doctor, right?     And she decided, instead of keeping an accurate

 12     medical record, she's going to mimic the patient and become

 13     sarcastic at herself and write:                 "Always in his computer"?

 14     That's your best assessment looking back 11 years later on what

 15     is before you?

 16     A.   Well, I can't figure out why she'd use the word "always"

 17     for any other reason.

 18     Q.   Well, would another reason be that every time she came into

 19     his room he was on his computer?                  Would that be -- excuse me,

 20     sir.   Let me finish.

 21          As you and I both understand the English language, would

 22     that be a reasonable way to report:                     "Every time I go in this

 23     guy's room, he's on his computer"?                     Would that be a reasonable

 24     way for Dr. Regatieri to report:                  "Patient always in his

 25     computer"?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 43 of 178
                                                                                     43


  1     A.   I think that's adding a lot to what she says.

  2     Q.   Okay.   Great.   Then let's look at a few more and see if we

  3     can fill in the picture of what was going on.

  4                MR. BRENNER:     If you would bring up, Ms. Vela, D101,

  5     Page 189.

  6     BY MR. BRENNER:

  7     Q.   Okay.   So this one, you saw this all the time, right?                 This

  8     is from November 2010.        Okay.         I'm not going to get fixated on

  9     if it's the 23rd or 24th.           It's November of 2010, right?

 10     A.   This is November 2010.           I can't say that I saw this all the

 11     time.

 12     Q.   No.   I didn't say -- I misspoke if I said -- not that you

 13     saw this all the time.        I misspoke if I said that.              In fact,

 14     you don't remember seeing a lot of these, right?

 15     A.   I saw several.    A lot.

 16     Q.   Several?   Hundreds?

 17     A.   I didn't count them.

 18     Q.   You didn't count them.           Okay.

 19          So this one says:      "Patient awake and alert and on his

 20     computer."

 21     A.   Correct.

 22     Q.   Consistent with what's throughout Mr. Kleiman's

 23     hospitalization, correct?

 24     A.   Well, it's mentioned in many places, yes.

 25                MR. BRENNER:     Okay.         So let's go to the next one, D101

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 44 of 178
                                                                                              44


  1     at Page 53.

  2     BY MR. BRENNER:

  3     Q.   We're now up to -- we're now up to December.                           I'm going to

  4     ask you to take my word for it.

  5               MR. BRENNER:      But you know what?                        Go back one page,

  6     please.

  7               Got to go one more.

  8     BY MR. BRENNER:

  9     Q.   See that "December 2010"?

 10     A.   It says:   "December 2nd, 2010."

 11               MR. BRENNER:      Okay.         So go to where we were, please.

 12     BY MR. BRENNER:

 13     Q.   And then again:    "Patient is alert and interactive."

 14     That's another assessment doctors make when they come into a

 15     room, right?    So if you walk into a room and a patient is,

 16     let's say, drugged out, they're on -- they're on -- you know,

 17     they're just sleepy, they're drugged out, they're coming down

 18     from surgery, you don't write:                "Alert and interactive" because

 19     they're not alert and interactive, right?

 20     A.   I think that's a fair assessment, yes.

 21     Q.   Right.   So Mr. Kleiman -- and we'll talk about your

 22     opinions on medications later, but at least on this day, he's

 23     quite alert and interactive and he's working on his computer,

 24     right?

 25     A.   That is correct.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 45 of 178
                                                                                        45


  1                 MR. BRENNER:     Okay.         So let's go to the next one,

  2     Ms. Vela, which is D100 at 251.

  3                 Let's focus on:        "Mr. Kleiman has been busy."             If you

  4     could just highlight that.

  5                 Can you get rid of all the highlighting and go back

  6     to:    "Mr. Kleiman has been busy"?

  7     BY MR. BRENNER:

  8     Q.    Okay.    "Mr. Kleiman has been busy with work and briefly

  9     discussed a conference that he was missing."

 10           You see that?

 11     A.    Okay.

 12     Q.    Okay.    He's been busy with work.                   Now, that is a quote from

 13     her.    That one we know is what Mr. Kleiman said because they

 14     put a quotation mark.        He told the nurse or physician he had

 15     been busy with work, right?

 16     A.    They are relating what the patient said to --

 17     Q.    Right.    So the nurses and the doctors know how to

 18     differentiate between what they are seeing and what the patient

 19     is saying.      And here's one where the patient is saying:                  "Hey,

 20     I'm really busy with work and even had to miss a conference,"

 21     right?

 22     A.    That's what this medical student said.

 23     Q.    Okay.    Actually, this one's signed by a Ph.D., right?

 24     A.    No.   Go up to the top.

 25                 MR. BRENNER:     Okay.         Take that down, please.         You can

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 46 of 178
                                                                                            46


  1     take that down, Ms. Vela.           Take down the callout.

  2                THE WITNESS:     "Student note."                   It's entitled "Student

  3     note."

  4     BY MR. BRENNER:

  5     Q.   Right.   So what happens is Steven Rosenstein is the

  6     student?

  7     A.   That's correct.

  8     Q.   And then there's a sign-off by a Ph.D., right?

  9     A.   That's correct.

 10     Q.   Okay.

 11     A.   That's the usual way of handling things.

 12                MR. BRENNER:     Okay.         So let's go to the next one,

 13     which is D100 at Page 1.

 14     BY MR. BRENNER:

 15     Q.   I think we're still in January.                    Again:        "Awake, alert, and

 16     interactive and working on his computer," right?

 17     A.   That is correct.     And there are many other notes in the

 18     record similar to that.

 19     Q.   Okay.    Hundreds?

 20     A.   I did not count them.

 21     Q.   Okay.    So let's go through.

 22                MR. BRENNER:     Let's go to D99 at 567.

 23     BY MR. BRENNER:

 24     Q.   We're now into March.          We've just done January and

 25     February.     Again:   "Alert, awake, appears active and working on

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 47 of 178
                                                                                          47


  1     his computer"?

  2     A.   That's what it says.

  3     Q.   Starting to sense a pattern?

  4     A.   I think I mentioned already that there are many notes of

  5     this type.

  6     Q.   Okay.

  7               MR. BRENNER:      One moment, Your Honor.

  8               THE COURT:    Certainly.

  9          (Pause in proceedings.)

 10               MR. BRENNER:      Okay.         So let's go on.             Let's go to the

 11     next month.    D99 at 360.

 12     BY MR. BRENNER:

 13     Q.   By the way, I know you didn't count them, but you

 14     understand -- and we'll tally them up a little at the end.                        But

 15     you understand this is taking place regularly, these types of

 16     notes, right?

 17     A.   There are many notes to that effect.

 18               MR. BRENNER:      Okay.         So let's go to April 2011.

 19               For the record, Your Honor, this is D99 at 363.

 20     BY MR. BRENNER:

 21     Q.   We're in April 2011 again.               "Patient was working on his

 22     computer," right?

 23     A.   That is correct.

 24     Q.   Again, observation of the people that are there caring for

 25     him in real time, right?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 48 of 178
                                                                                     48


  1     A.   That's right.

  2     Q.   They didn't walk in and he had no computer running and he

  3     said:   "Hey, I'm working on my computer" and they said:                  "Well,

  4     we don't see it, but we'll take your word for it"?                    That's not

  5     what's happening, right?

  6     A.   At the moment in question:               "Patient was working on his

  7     computer."

  8     Q.   Okay.

  9               MR. BRENNER:      Let's go to the next one, which is D98

 10     at 730.

 11     BY MR. BRENNER:

 12     Q.   Okay.   Okay.   Again, this is one of the ones you talked

 13     about how the -- it was the decision of the healthcare

 14     providers that were caring for Mr. Kleiman that it was better

 15     for his condition, to the extent they could do it, for him to

 16     be sitting up, right?       I mean, lying down was not great for his

 17     condition?

 18     A.   I think sitting up was -- I also mentioned that that's one

 19     of the worst positions.

 20     Q.   So sitting up was bad?

 21     A.   Sitting up was bad.

 22     Q.   And lying down is bad?

 23     A.   Lying down is bad.

 24     Q.   Everything's bad?

 25     A.   Not everything's bad.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 49 of 178
                                                                                              49


  1     Q.   What's good?     Standing up?            He can't stand up.

  2     A.   Lying on side, lying on his stomach.

  3     Q.   He can't stand.

  4                MR. KASS:    Objection, Your Honor.                        The witness is in

  5     the middle of speaking.

  6     BY MR. BRENNER:

  7     Q.   He can't stand, correct?

  8                MR. KASS:    Your Honor --

  9                THE COURT:    The objection is sustained.

 10                Dr. MacIntyre, did you conclude your answer?

 11     BY MR. BRENNER:

 12     Q.   You can go ahead, Dr. MacIntyre.

 13     A.   I think I've already gone over this.                         As regards to his

 14     pressure ulcers, his bedsores, there were two positions that

 15     are particularly bad.       One is sitting up and one is lying flat

 16     on his back.

 17     Q.   Okay.

 18     A.   All other positions were not as bad, but he couldn't stay

 19     for a long time in any other position or he'd have a new

 20     bedsore.

 21     Q.   Right.   Okay.    So this one, the note is:                       "He's received

 22     sitting up in bed, working on his computer, awake and alert,"

 23     right?

 24     A.   That is correct.

 25                MR. BRENNER:     Let's go to the next month, which is D98

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 50 of 178
                                                                                                 50


  1     at 568.

  2     BY MR. BRENNER:

  3     Q.   Again:    "Awake, alert, working on his computer and talking

  4     on the phone," right?

  5     A.   That's correct.

  6     Q.   In fact, it's generally the number one observation every

  7     time a healthcare professional walks into this gentleman's

  8     room, right?

  9     A.   I would not say that for sure.                    I would have to go back and

 10     review every note and do an analysis of how many times the

 11     first note -- the first thing noted was that.

 12          It is true that, in a physical exam, you usually have

 13     "general" as the first line and that would indicate usually the

 14     position of the patient, how alert he was, and so forth.                            That

 15     doesn't necessarily mean that's the most important observation.

 16     It just means it's the first in the template.

 17     Q.   No.   But it's the visual observation.                           They walk in the

 18     room, right?     Here's the patient.                They walk in.           They note his

 19     position, right?     Sometimes they note his position?

 20     A.   Sometimes.    That is correct.

 21     Q.   They almost always make some note about whether they're

 22     alert and active or interactive?

 23     A.   Well, they sometimes do.             Sometimes they don't bother to.

 24     Q.   Okay.    Well, here we seem to see it a lot, right?

 25     A.   That's correct.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 51 of 178
                                                                                              51


  1     Q.    And the other thing they observe generally -- they all do

  2     it.    Doesn't matter if it's a doctor, a student, a

  3     psychologist, a nurse.        The common theme is everyone notes that

  4     Dave Kleiman is a guy who's always working on his computer,

  5     right?

  6     A.    I wouldn't say everyone and I wouldn't say always.

  7     Q.    Okay.    You wouldn't because you didn't focus on that when

  8     you went through the records?

  9     A.    I think it would have been impossible for him to be working

 10     on the computer all the time with the amount of treatments and

 11     things that he was getting.

 12     Q.    So if I were being literal, you're right.                       It is impossible

 13     for him 24 hours a day, seven days a week to be working on his

 14     computer, right?

 15     A.    That is correct.

 16     Q.    Okay.    But you don't disagree that the medical records

 17     demonstrate a pattern that he's working on his computer a whole

 18     lot in the hospital, right?

 19     A.    I would say that he was frequently working on a computer.

 20     Q.    Okay.    Great.

 21     A.    I can't say what percent of his time he was working on the

 22     computer.      I can't say what he was doing on the computer.

 23     Q.    Right.    You didn't like my word "a lot."                      You went with

 24     "frequently"?

 25     A.    "Frequently," yeah.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 52 of 178
                                                                                              52


  1     Q.    Okay.    That's better.       We'll use "frequently."

  2                MR. BRENNER:     Next one's D98 at 124.

  3     BY MR. BRENNER:

  4     Q.    Now we're into July.        Again:          "Awake, alert, working on his

  5     computer."

  6     A.    That is correct.

  7     Q.    Okay.

  8                MR. BRENNER:     Okay.         So let's look at D97 at 571,

  9     which is in August.

 10     BY MR. BRENNER:

 11     Q.    Okay.    This is what the patient reports, correct?

 12     A.    That is correct.

 13     Q.    2011 he's reporting this, right?

 14     A.    That is correct.

 15     Q.    You understand he's reporting it to the people that are

 16     providing him care and treatment, correct?

 17     A.    I didn't have a chance to see what the source of this note

 18     is.    I thought it was a psychology note.

 19     Q.    Okay.    Let's go back.       Let's go back.                    Do you want to go --

 20     so this is from Natalie Bustillo, right?

 21     A.    Yeah.    It says up there it's a psychology note.

 22     Q.    Right.    A psychology note.            This one's not -- unlike the

 23     others -- I think the other psychology note was a student.

 24     This one is -- it doesn't say:                "Student," right?

 25     A.    Well, I'd have to look at the bottom and see who signed it

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 53 of 178
                                                                                  53


  1     off.

  2                MR. BRENNER:     Okay.         Let's go to the next page,

  3     please.

  4                Thank you, Ms. Vela.

  5     BY MR. BRENNER:

  6     Q.   The next page, it's signed off by Maria Pilar Somoza,

  7     Ph.D.?

  8     A.   She's a Ph.D. psychologist.

  9     Q.   And she is signing off for Natalie Bustillo, who's also a

 10     Ph.D.?

 11     A.   No.

 12                MR. BRENNER:     No.       No.       Up.       Up.

 13                THE WITNESS:     There.

 14                MR. BRENNER:     Yeah.

 15     BY MR. BRENNER:

 16     Q.   So Ms. Pilar Somoza.         And if we looked -- or Dr. Pilar

 17     Somoza -- excuse me -- if we looked at the previous page, she's

 18     the supervising Ph.D., right?

 19                MR. BRENNER:     Let's go to the previous page so you can

 20     see.

 21                THE WITNESS:     Yeah.         I don't see why they have two

 22     Ph.D. psychologists signing off on this note, but they do.

 23     BY MR. BRENNER:

 24     Q.   But they do.

 25          Okay.   Are you now comfortable that you know what the note

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 54 of 178
                                                                                           54


  1     is?

  2     A.    Well, yeah.   As I said before, a psychology note.

  3     Q.    Okay.    Great.   Next page.

  4           "He," meaning Dave Kleiman, "reported he works in the field

  5     of computer forensics and is able to conduct business from his

  6     hospital bed using his laptop computer."

  7           You see that?

  8     A.    That's right.     That's what the patient reported to the

  9     psychologist.

 10     Q.    And the patient actually said:                    "He indicated his ability

 11     to continue working has helped him cope with all his medical

 12     problems."     That's not unusual.               He uses his work to help him

 13     cope.    He had serious medical problems.                        We could agree with

 14     that, right?

 15     A.    He had serious medical problems.

 16     Q.    He had a serious accident.               He's got a serious permanent

 17     medical condition.       No question, he had serious medical

 18     problems, right?

 19     A.    That is correct.

 20     Q.    And he's telling the doctors one of the ways that he copes

 21     with the position he finds himself medically is he works?

 22     A.    That's what the psychologist reports him saying.

 23     Q.    Right.   And you have no reason to doubt that he said that,

 24     right?

 25     A.    No.   He said that.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 55 of 178
                                                                                      55


  1     Q.    Okay.   But do you have some doubt that he meant it?

  2     A.    I have no idea.    I'm not the psychologist.

  3     Q.    And you're not Dave Kleiman, right?

  4     A.    I don't know whether that's a true statement or not.

  5     Q.    Okay.   Let's go to September.                  This is an issue that you

  6     talked about with Mr. Kass, but we didn't see any records on

  7     it.    So let's take a look at that.

  8                  MR. BRENNER:     D97 at 239.

  9     BY MR. BRENNER:

 10     Q.    Doctor, I want to make sure you're oriented as to who is

 11     taking the note because that -- you want me to scroll up and

 12     let you see that?

 13     A.    That is correct.

 14                  MR. BRENNER:     Okay.         So let's go up.

 15                  Up.

 16                  So I guess -- no.          We go to the -- no.

 17     BY MR. BRENNER:

 18     Q.    It's -- the author is Scott Charlebois, right?

 19     A.    Yes.    That's a --

 20     Q.    He's an occupational therapist, right?

 21     A.    Okay.   That's occupational therapy, yeah.

 22     Q.    So now it's another -- another -- how would I put this --

 23     another category of healthcare providers that are visiting

 24     Mr. Kleiman?

 25     A.    They would have interrupted what he was doing, correct.

                                    Yvette Hernandez, Official Court Reporter
                                        400 North Miami Avenue, 10-2
                                             Miami, Florida 33128
                                                (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 56 of 178
                                                                                  56


  1     Q.   Right.    So Mr. -- well, yeah -- well, we'll see about that.

  2     So Mr. Charlebois comes in, and his reason for being there is

  3     he's going to provide -- he's going to provide occupational

  4     therapy, right?

  5     A.   That's correct.    He's an occupational therapist.

  6     Q.   Right.    And he's unable to do what he came to do because

  7     Mr. Kleiman says:     "I'm working on my computer"?

  8     A.   That's correct.

  9     Q.   Okay.    So that's the example of what you're talking about.

 10     He even -- Mr. Kleiman was so focused on his work in the

 11     hospital that sometimes -- and you probably don't think this is

 12     a good idea for him -- but sometimes he turned away medical

 13     treatment or, in this case, occupational therapy?

 14     A.   This is one of the ones that -- I believe I remember noting

 15     this one, that he would refuse his therapy sometimes.                 I also

 16     notice in this note that they measured his grip strength.                So

 17     they were able to do something with him.

 18     Q.   Correct.    He says that.

 19     A.   And the grip strength was impaired.

 20     Q.   Right.    He did something.            He did part -- I think he calls

 21     it a mini?

 22     A.   Mini grip strength.

 23     Q.   Right.    He does some, but then Mr. Kleiman says:

 24     "Mr. Charlebois, I'm not going to do the rest because I've got

 25     work to do"?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 57 of 178
                                                                                         57


  1     A.   Yeah.   That's interesting.               It's also interesting that he

  2     had diminished grip strength.                I hadn't noted that before.

  3     Q.   Okay.   Well -- because you weren't looking for this stuff,

  4     right?

  5     A.   I wasn't.   No.

  6     Q.   Okay.

  7                 MR. BRENNER:     Let's go to December, D96 at 336.

  8     BY MR. BRENNER:

  9     Q.   Okay.   Again, yet another record where the observation --

 10     when I say:    "The first observation," I'm not -- I don't know

 11     what the doctor felt was most important or not.                        But what he

 12     notes first, if this is a he -- what he or she notes is that:

 13     "The patient's alert," right?                Not looped out on drugs, right?

 14     A.   "Patient is alert."

 15     Q.   "Interactive"?

 16     A.   That's what they say.

 17     Q.   That means able to interact with the doctor or nurse or who

 18     is ever in there, correct?

 19     A.   That's correct.

 20     Q.   "And working on his computer"?

 21     A.   That's correct.

 22     Q.   Okay.

 23     A.   You'll also note that all of these, when it's a physical

 24     exam, the general template is to put "general" first.

 25     Q.   Yes.    No doubt.   No doubt.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 58 of 178
                                                                                        58


  1               MR. BRENNER:      Okay.         Let's go to the next one because

  2     I'm going to ask you -- let's bring up D96 at 105.

  3     BY MR. BRENNER:

  4     Q.   Sir, do you remember -- you talked about this -- that -- I

  5     think you said everyone on the jury would understand and you

  6     sort of smiled.     But you talked about how when you are in the

  7     hospital -- in this case the VA, but in the hospital too.                      It's

  8     no different -- that people talk about how like they feel like

  9     people are always coming in and prodding and poking them at all

 10     hours, right?

 11     A.   That is correct.

 12     Q.   Yeah.   It could be annoying.                I don't mean annoying that

 13     the doctors are doing anything wrong.                       They're doing what they

 14     need and the nurses are doing what they need to take care of

 15     the patient.    But for example, they may need to be taking

 16     temperature readings every few hours, and that's annoying if

 17     you're trying to sleep, right?

 18     A.   And they're also turning the patient every two hours.

 19     Q.   Okay.   I'm going to tie my shoe.                    Excuse me for one second.

 20          (Pause in proceedings.)

 21     BY MR. BRENNER:

 22     Q.   So did you notice when you went through the medical records

 23     that sometimes, because -- for whatever reason, they noted the

 24     time of when they were seeing Mr. Kleiman?

 25     A.   They're supposed to.         That's correct.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 59 of 178
                                                                                              59


  1     Q.   Okay.   So in this one, they're saying they're there in the

  2     early morning.     So they get there early morning.                       Now, in

  3     doctor speak, early morning is probably pretty early, right?

  4     A.   I don't know what this particular individual considers

  5     early in the morning.

  6     Q.   You know doctors round early in the morning, right?

  7     A.   Well, some do.    Some don't.

  8     Q.   Some do.   Some don't.         Okay.

  9     A.   Nurses frequently round early.

 10     Q.   Sure.

 11          And in this particular record, they note that it's early in

 12     the morning, and guess what?              Dave is what?               What's he doing?

 13     A.   You want me to read it?

 14     Q.   Sure.

 15     A.   "Patient was in a pleasant mood this early morning and

 16     worked on his computer."

 17     Q.   I've been working so hard doing the reading, I thought I

 18     would let you take a few.           Is that okay?

 19     A.   That's what it says.

 20     Q.   Okay.   Great.

 21               MR. BRENNER:      Let's go to the next one.                     February.

 22     D95 at 719.

 23     BY MR. BRENNER:

 24     Q.   Okay.   This is in February.               Again:          "Patient was alert and

 25     interactive and working on computer"?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 60 of 178
                                                                                           60


  1     A.   Yeah.   This is interesting.               That's the only thing he notes

  2     in his physical examination.

  3     Q.   Okay.   Interesting, right?

  4     A.   That's right.

  5                MR. BRENNER:     Okay.         Next, March 2012.           D95 at 346.

  6     BY MR. BRENNER:

  7     Q.   So this one says:      "Alert, interactive, working on his

  8     computer."     Do you see that?

  9     A.   He seems to have adopted that particular template for his

 10     exams.

 11     Q.   He?

 12     A.   Or she.

 13     Q.   No.   No.    Many.   It's across -- it's doctors, it's nurses,

 14     it's occupational therapists, it's psychologists.                       It's not

 15     "he."

 16     A.   Well, here, we see two word-for-word the same statements.

 17     I wouldn't be surprised if it was the same person who wrote it.

 18     Maybe not.

 19     Q.   You don't know?      You didn't look.

 20     A.   No -- well, I didn't have a chance to look.

 21     Q.   Did someone stop you -- was -- excuse me, let me --

 22     A.   You took this off pretty quickly.

 23     Q.   Oh, no.     You want to see the whole record?                    Well, first of

 24     all, we cut off half a word.              So let's not do that.           We don't

 25     mean to do -- so what would you like to see, Doctor?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 61 of 178
                                                                                            61


  1          When I said you didn't look, I mean you didn't look through

  2     the records to do this analysis to see if it was one doctor or

  3     a hundred doctors that are making this --

  4     A.   What I looked was through to see -- and as I stated on

  5     multiple occasions, frequently various caretakers make a

  6     statement that he was working on his computer.

  7     Q.   Got it.

  8                 MR. BRENNER:     And the next one, if you could bring up

  9     the full blowup that includes the word "neuro."

 10     BY MR. BRENNER:

 11     Q.   You see that right under "general"?

 12     A.   Yes.   Uh-huh.

 13     Q.   Okay, Doctor.    And that had been cut off and that was

 14     inadvertent.    In the "Neuro": "A times OX times three."                        That

 15     means alert and oriented times three, right?                           Or do you not use

 16     that?

 17     A.   I don't use that abbreviation.                     That's a rather weird

 18     abbreviation.

 19     Q.   But you're familiar with when doctors write that a patient

 20     is alert and oriented times three, right?

 21     A.   That's correct.

 22     Q.   And it means what?

 23     A.   It means he knows where he is; that's one.                         He knows who he

 24     is; that's two.     He knows when it is; that's three.

 25     Q.   Got it.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 62 of 178
                                                                                           62


  1               MR. BRENNER:      Okay.         Let's go to -- give me one

  2     second.

  3               Okay.     Let's go to April, which is D95 at 316.

  4     BY MR. BRENNER:

  5     Q.   So this is April 2012.           Again, you seemed to -- you seemed

  6     to think it was interesting they were using the same words, so

  7     here we're -- different words, right?                       Again, doctor or nurse

  8     is in there giving what they're observing, right?

  9     A.   Yeah.    This one was a nurse and she says the same thing.

 10     Q.   Well, yes.     She says the same thing:                      "Dave's working on

 11     his computer," but you seemed to point out before that you

 12     thought it was sort of a template.                     So I'm just pointing out to

 13     you she uses different words, right?

 14     A.   This particular one is using different words.                        It's

 15     probably a different person writing the note.

 16     Q.   Okay.    So:   "Patient was received sitting up in bed and

 17     working on his computer", "patient was awake and alert," right?

 18     A.   Right.

 19               MR. BRENNER:      Okay.         Let's go to the next one, May.

 20     D94 at 725.

 21               I'm sorry, Ms. Vela.              I don't mean to make you read my

 22     mind.

 23     BY MR. BRENNER:

 24     Q.   Again, this is a nursing note from Tyrone Boyd, right?

 25     A.   That is correct.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 63 of 178
                                                                                  63


  1     Q.   No question in your mind that Tyrone Boyd is being an

  2     honest and accurate recorder of what he is observing at that

  3     moment?

  4     A.   That is correct.

  5     Q.   And he observes that he:             "Received the patient in bed,

  6     alert and oriented times three, working on computer, breathing

  7     even and unlabored," right?

  8     A.   That is correct.     Like frequently occurred elsewhere in the

  9     notes.

 10     Q.   Right.

 11               MR. BRENNER:      Okay.         Let's go to -- let's go to D94 at

 12     604, which is June.

 13     BY MR. BRENNER:

 14     Q.   Again:   "Patient was received in bed -- received sitting up

 15     in bed working on his computer," right?

 16     A.   That's what it says.

 17               MR. BRENNER:      Okay.         Let's go to July 2012, which is

 18     D94 at 221.

 19     BY MR. BRENNER:

 20     Q.   Are you ready to read one?

 21     A.   If you would like me to, I'll read it.

 22     Q.   I would.

 23     A.   "Received patient in bed, alert, oriented times three.

 24     Working" --

 25          (Court reporter interruption.)

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 64 of 178
                                                                                   64


  1               THE WITNESS:      "Received patient in bed, alert,

  2     oriented times three, working on computer, breathing even and

  3     unlabored.     No signs or symptoms of distress or complaint of

  4     pain noted.     Skin dry and warm to touch, indwelling catheter."

  5     BY MR. BRENNER:

  6     Q.   Okay.    The last part is he's not -- that means -- "or CO

  7     pain," that means he's not complaining of pain?

  8     A.   That's correct.

  9               MR. BRENNER:      Let's go to D94 at 27.

 10     BY MR. BRENNER:

 11     Q.   And, Doctor, just so you know, we're in August now of 2012.

 12     Again:   "Received patient in bed, alert and oriented times

 13     three, working on computer, breathing even and unlabored.

 14     No" -- what's SS?      I'm sorry.           I didn't catch it last time.

 15     A.   Signs or symptoms.       This is exactly the same wording as the

 16     last note.

 17     Q.   Correct.    Correct.     This is Tyrone Boyd again, right?

 18     A.   He seems to like that particular formula.

 19     Q.   Right.    But -- he likes that formula, but you have no doubt

 20     what he's saying is what he's observing, right?

 21     A.   I think it's fair to state that, yes.

 22     Q.   Yeah.    Okay.   But he likes a particular way to word it,

 23     Mr. Boyd.

 24               MR. BRENNER:      Okay.         Let's go to September 2012, which

 25     is D93 at 659.     It says -- can you blow up the whole thing that

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 65 of 178
                                                                               65


  1     says:   "Activities"?

  2     BY MR. BRENNER:

  3     Q.   It says:    "Activities," although it's spelled wrong.           It

  4     says "OOB"?     Is that out of bed?

  5     A.   Out of bed.

  6     Q.   Out of bed.    Okay.

  7          So on this time, he's out of bed and he's working on his

  8     computer.     And does the slash mean he's also getting rehab

  9     while he was working on his computer?

 10     A.   That is what the patient reports to this particular

 11     therapist as what he does, his activities.

 12     Q.   Okay.    So he tells the therapist --

 13     A.   That's what he tells the therapist.

 14     Q.   Right.    He's basically got two things going on in his life

 15     at that point.

 16     A.   He says:    "Working on computer and rehab."

 17     Q.   Right.    He does both.        Right?

 18     A.   That's correct.

 19     Q.   Okay.

 20     A.   He doesn't seem to mention all the other -- well, of

 21     course, under rehab, would be the wound care and so forth.

 22     Q.   Sure.    Did you want to talk about his painful and -- wound

 23     care again?

 24     A.   Well, I didn't say:        "Painful," but there are many other

 25     things going on that he doesn't mention.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 66 of 178
                                                                                               66


  1     Q.   Sure.   Because he's focused on his work, right?                         That's

  2     what he's focused on?

  3     A.   That's what he tells the therapist that he's doing.

  4     Q.   Okay.   You have no basis or reason to deny -- to call into

  5     question that Mr. Kleiman is being honest with his healthcare

  6     professionals, right?

  7     A.   He was working on his computer many, many times is

  8     definitely in the record.

  9               MR. BRENNER:      Okay.         Let's go to D93 at 455.

 10     BY MR. BRENNER:

 11     Q.   We're up to October.         Again, this is a different nurse.

 12     This is Valerie Allison, right?

 13     A.   That is correct.

 14     Q.   She's a staff nurse.         So she's an LPN.                    What's an LPN?

 15     A.   Licensed practical nurse.

 16     Q.   Okay.   And Ms. Allison says that -- again, her

 17     observations.     First comment she notes:                      "Received the patient

 18     sitting up in bed, talking on the phone, and working on his

 19     computer"?

 20     A.   Now, also:    "Patient denied pain but admitted to not

 21     feeling well."

 22     Q.   Okay.   Well, I don't want to deprive you of the opportunity

 23     to talk about the records.            So let's blow it up.

 24          Let's see.    Did you find other things here that you thought

 25     would be important for the jury to know?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 67 of 178
                                                                                                67


  1     A.   Well, I found it interesting he's not feeling well.

  2     Q.   Okay.   Feeling well or not feeling well, he's still working

  3     on his computer, right?

  4     A.   That's right.

  5     Q.   Okay.   Are you good with that record?                           Can we move on?

  6     A.   Well, I'm sure you have another 50 of these to go over, so

  7     let's go.

  8     Q.   You have to be somewhere?

  9     A.   No.   It's just that we have been doing the same thing for

 10     the last hour.

 11     Q.   Okay.

 12     A.   I will agree that there are many references in the record

 13     that he was working on a computer.

 14     Q.   Okay.

 15                MR. BRENNER:     Let's go to the next one, D93 at Page

 16     78, 79.

 17     BY MR. BRENNER:

 18     Q.   Here, it's actually -- it's not -- this is -- this is

 19     Ms. Somoza.    Dr. Somoza, if you recall from the prior record,

 20     she's the supervising Ph.D., right?

 21     A.   That is correct.

 22     Q.   And in other records we saw Dr. Somoza was signing off on

 23     the records of -- in one case, another Ph.D.; in another case,

 24     one of her students.      Do you recall that?

 25     A.   That is correct.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 68 of 178
                                                                                            68


  1     Q.   Here it appears to me, and you correct me if I'm wrong,

  2     that Dr. Somoza herself is making the observation, right?

  3     A.   That is correct.

  4     Q.   And she says Mr. Kleiman was working at the time of the

  5     visit, right?

  6     A.   That is correct.

  7     Q.   And while she's there, he continues to work, right?

  8     A.   That is correct.

  9     Q.   Okay.

 10               MR. BRENNER:      Your Honor, I could do one more and then

 11     take a small break before we get to 2013.

 12               THE COURT:    Yes.        Of course.

 13               MR. BRENNER:      So let's do the last one for 2012.                     It's

 14     D93 at Page 1.

 15     BY MR. BRENNER:

 16     Q.   And again:    "Patient" -- "received patient in bed."                     This

 17     is Mr. Boyd.    He's actually using different language than he

 18     used before, right?     Or was this his language?

 19     A.   What's the question?

 20     Q.   Yeah.   This is Mr. Boyd.            I think he's using different

 21     language.    You said he always does the same thing.                      I think

 22     this one's different, right?

 23     A.   It's somewhat different.

 24     Q.   Says:   "Received patient in bed."                     Again:    "Alert and

 25     oriented."

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 69 of 178
                                                                                           69


  1     A.   "Working on computer, breathing even and labored."                        Again,

  2     as I said, there are many, many times -- frequently there are

  3     references to him working on a computer.

  4               MR. BRENNER:      Your Honor, can we take a brief recess?

  5               THE COURT:    Yes.

  6               MR. BRENNER:      Thank you.

  7               THE COURT:    All right.              Ladies and Gentlemen, let's

  8     take a 20-minute recess.

  9          (Jury not present, 11:23 a.m.)

 10               THE COURT:    Okay.         We're on a 20-minute recess.

 11               MR. BRENNER:      Thank you, Judge.

 12          (Recess from 11:24 a.m. to 11:44 a.m.)

 13               THE COURT:    All right.              Welcome back.

 14               All right.    Dr. MacIntyre, come forward.

 15               Anything we need to address?                      Are we ready to

 16     continue?

 17               MR. BRENNER:      Ready from the Plaintiffs.

 18               MR. RIVERO:     Defendant is ready, Your Honor.

 19               THE COURT:    Okay.         Let's bring in the jury.

 20          (Before the Jury, 11:44 a.m.)

 21               THE COURT:    All right.              Welcome back.          Please be

 22     seated.

 23               And we'll continue with the questioning.

 24     BY MR. BRENNER:

 25     Q.   Good afternoon again, Dr. MacIntyre.                         Still good morning.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 70 of 178
                                                                                                70


  1          Okay.   I'm going to pick up where we left off, but I'm

  2     going to move a little more quickly through the records.                            I

  3     said we would talk about 2013.                 So let's do a couple from then,

  4     okay?

  5     A.   Okay.

  6                 MR. BRENNER:     Ms. Vela, if you could bring up D92 at

  7     657.

  8     BY MR. BRENNER:

  9     Q.   Okay.   So this is from January 11th, 2013.                       See that?

 10     A.   Yes, I do.

 11     Q.   And it's a nurse's note.              See that?             Valerie Allison?

 12     We've seen Ms. Allison before.

 13     A.   Yes.    Uh-huh.

 14     Q.   Nursing note, right?

 15                 MR. BRENNER:     Oh, I'm sorry.                  Can we publish that?

 16     BY MR. BRENNER:

 17     Q.   Let's start over.       Dr. MacIntyre, you have in front of you

 18     D92 at Page 657.       It's a nursing note from January 11th, 2013.

 19     You see that?

 20     A.   Yes, I do.

 21     Q.   And we've seen Ms. Allison before, right?

 22     A.   Yes, I do.

 23     Q.   Okay.   So this one, remember we talked about earlier the

 24     note that Dave Kleiman's working on his computer early in the

 25     morning?

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 71 of 178
                                                                                            71


  1     A.   Yes.

  2     Q.   So this one's actually at 2000 hour; that's 8:00 at night

  3     in military time?

  4     A.   That is correct.

  5     Q.   Okay.   So here's a note at 8:00 at night, right?

  6     A.   That is correct.

  7     Q.   And, again, whether it's early morning or late at night,

  8     he's just sitting up in bed working on his computer, right?

  9     A.   That is correct.

 10                 MR. BRENNER:     So let's go to one more, which is D92 at

 11     316.

 12     BY MR. BRENNER:

 13     Q.   This one is -- so we have early morning.                          We have 8:00 at

 14     night.   Now this one says that he's sleeping when they walked

 15     up -- when they walk up, right?

 16     A.   That's what it says.

 17     Q.   And it says the reason he's sleeping this time is because

 18     he stayed up late last night working, right?

 19     A.   That's what it said.

 20     Q.   Okay.   Well, yes.      He's sleeping when the nurse sees him.

 21     And he explains to her why he's sleeping, right, because he

 22     needs to sleep late because he was up late working, right?

 23     A.   That's what he said.

 24     Q.   Okay.   Great.

 25          Doctor, would you have any reason to dispute that there are

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 72 of 178
                                                                                      72


  1     over 250 references in Dave's medical records to him working in

  2     the VA?

  3     A.   As I said before, I didn't count them myself but they are

  4     frequently referred to.

  5     Q.   Would you have any reason to dispute there are 520

  6     references to him working on his computer?

  7     A.   The same story.    I didn't count them myself but it's

  8     frequently referred to.

  9     Q.   Any reason to dispute there's over 3,000 references to him

 10     being oriented?

 11     A.   Well, I would presume because that's a standard statement

 12     for anybody as a part of the general physical examination.

 13     Q.   And over 4,000 references to him being alert.                    Any reason

 14     to dispute that?

 15     A.   And, again, that's one of the standard statements being

 16     made.

 17     Q.   Okay.    And there's nothing in Dave's physical condition

 18     that prevented him from using his computers, correct?

 19     A.   Well, I wouldn't say that that's always the case.                   But in

 20     many -- most of the time, there's nothing to prevent him from

 21     working.     The problem would be that he's being interrupted

 22     frequently as he worked.

 23     Q.   Right.    So he could be working all day, except when they

 24     come in and have to do their stuff to help provide care to him,

 25     right?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 73 of 178
                                                                                   73


  1     A.   Which would be a large part of the day, yes.

  2     Q.   Okay.    I want to talk just about a couple more items.              You

  3     talked urinary tract infections.                  You say basically he had a

  4     constant urinary tract infection?

  5     A.   That he was -- there was an underlying presence of bacteria

  6     in the urine at all times.            But then there were -- an acute

  7     anachronic problem, that he would have acute exacerbations with

  8     some occasions leading to bacteremia.

  9     Q.   Right.    We'll talk about -- say that word again?

 10     A.   Bacteremia.

 11     Q.   Bacteremia.

 12     A.   Presence of bacteria in the bloodstream.

 13     Q.   Okay.    I was going to miss one of those syllables.              Thank

 14     you.

 15          The truth is, between 1995 and 2013, there's only five or

 16     six times that Dave Kleiman had a symptomatic infection,

 17     urinary tract infection?          Twenty-year period?

 18     A.   I think that would be what has been recorded, but that

 19     doesn't mean that he didn't have a chronic problem with the

 20     urinary tract.

 21     Q.   In the medical records you reviewed, five or six times over

 22     a 20-year period he is noted to have a symptomatic urinary

 23     tract infection?

 24     A.   That is correct.     And also during that entire time he

 25     required catheterization for the urine.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 74 of 178
                                                                                          74


  1     Q.   Right.    We talked about the bladder sphincter, that he had

  2     lost control of that?

  3     A.   That is correct.     Not just the sphincter, the ability of

  4     the bladder to contract.          I didn't mention that before, but

  5     that's part of the problem.

  6     Q.   Okay.    So Dave needs help passing urine, right?

  7     A.   That's correct.

  8     Q.   And other than the times that there is bacteremia, a UTI

  9     would not affect someone's mental ability, correct?

 10     A.   In general, that is correct.

 11     Q.   Okay.    And you told me in deposition Dave had bacteremia a

 12     total of three times?

 13     A.   That's what I found in the record during this particular

 14     hospitalization.

 15     Q.   That's all you have to go by.

 16     A.   During this hospitalization, that's correct.

 17     Q.   Sure.    Each time, it lasted only a short period of time,

 18     correct?

 19     A.   Well, it was adequately treated.

 20     Q.   Right.    And you saw no evidence that these three short

 21     periods had any effect on Dave's mental state, correct?

 22     A.   Well, in general, bacteremia can do that.                        But I don't see

 23     anything in the record specifying that.

 24     Q.   Right.    Can; just didn't with Dave?                      No record that it did

 25     with Dave?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 75 of 178
                                                                                                75


  1     A.   Not specified in the record.

  2     Q.   Okay.    And that's all we have to go by, right?

  3     A.   Well, again, one of the problems with medical records,

  4     there is an overlying idea that if it's not recorded, it didn't

  5     happen.   But that is never necessarily the case.                           We miss out

  6     on things frequently in the medical record.                            So I would not

  7     agree with the statement if it's not recorded, it didn't

  8     happen.

  9     Q.   Okay.    We'll move on to another subject, which is

 10     surgeries.     Just real quick, seven surgeries between 2010 and

 11     2013, right?

 12     A.   Yeah.    I accounted -- I counted seven formal surgical

 13     procedures.     That's not counting bedside debridements.

 14     Q.   Right.    And you're not offering an opinion in this case

 15     that any of Dave's surgeries had any -- caused any sustained

 16     impairment on Dave's ability to think, correct?

 17     A.   Correct.    The key word being "sustained."

 18     Q.   Right.    Well, when he's under anesthesia, he's not thinking

 19     great, right?

 20     A.   That's correct.

 21     Q.   And the anesthesia takes like a day to wear off, maybe two

 22     days?

 23     A.   One to two days is what I said before, yes.

 24     Q.   Seven surgeries.     Let's give him two.                         Let's give you the

 25     bonus day.     That would be 14 days over a -- I tried to count

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 76 of 178
                                                                                    76


  1     it.

  2                  MR BRENNER:   How many days was it, Mr. Holtzman?

  3     BY MR. BRENNER:

  4     Q.    Nine hundred days that you looked at?

  5     A.    It is counted up in one of those exhibits that came by

  6     yesterday.

  7     Q.    Okay.    So I think it's like high 800s, whatever it is.              So

  8     14 of those days, he may have had the effect of anesthesia?

  9     A.    That are recorded, that's correct.

 10     Q.    Right.    Just that are recorded in Dave's medical records,

 11     right?

 12     A.    That's correct.

 13     Q.    Okay.    Let's just talk briefly about medication.               You sort

 14     of broad-brushed it a little bit, so let me break it down.                  You

 15     mentioned -- you told us in your expert opinion -- just so the

 16     jury understands, you gave an expert report in this case.                  You

 17     recall that?

 18     A.    Well, I gave --

 19     Q.    Two.

 20     A.    -- two reports.

 21     Q.    My bad.    You gave two.         You gave one in December of '19, I

 22     think?

 23     A.    Yes.

 24     Q.    And then you gave -- I forgot if you called it a

 25     supplemental or amended, something you gave in April of 2020?

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 77 of 178
                                                                                           77


  1     A.   That is correct.

  2     Q.   Right.   And in those reports, you outline for us -- because

  3     that's what the rules require, you outlined what your opinions

  4     were, right?

  5     A.   That is correct.

  6     Q.   And then I had an opportunity to take your deposition to

  7     make sure that your report adequately covered your opinions.

  8     You remember that?

  9     A.   That is also correct.

 10     Q.   Right.   And in your report, you identified two medications

 11     that could -- remember the word "could" -- could have had an

 12     effect on Dave Kleiman's mental ability?

 13     A.   That is also correct.

 14     Q.   One of them was -- and you're going to have to help me with

 15     the pronunciation -- it's called Ertapenem?

 16     A.   That's an antibiotic, yes.

 17     Q.   So that was your antibiotic opinion.                         And do you recall,

 18     did you look -- so he -- Dave definitely was subscribed --

 19     prescribed, not subscribed -- prescribed Ertapenem while he was

 20     in the hospital, right?

 21     A.   He had a course of Ertapenem, that's correct.

 22     Q.   And I think -- let's just for -- so we could move it along,

 23     let's assume there's about 850 to 900 days that you looked at

 24     records, okay?

 25     A.   Well, sure.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 78 of 178
                                                                                           78


  1     Q.   Okay.    Dave was prescribed Ertapenem for a total of -- do

  2     you remember?

  3     A.   I don't remember, but the usual -- it would be from one to

  4     six weeks.

  5     Q.   Right.    He had 10 days total.

  6     A.   Well, I would have to go back and see that.                      He didn't

  7     receive it for a long period of time.

  8     Q.   He did not -- or what did you say?

  9     A.   He did not receive it for a long period of time.                      Of course

 10     it depends on your definition of long.                        He had one course of

 11     Ertapenem.

 12     Q.   Mine's 10 days.    Are we calling that long or short?

 13     A.   I'll agree to that.

 14     Q.   You'll agree to that.          So 10 days he received this

 15     antibiotic.     And you agree with me that the side effect of --

 16     that it has some sort of effect on your alertness or whatever

 17     is a rare side effect of Ertapenem.                     Do you agree with that?

 18     A.   It is unusual.    I've seen it once.

 19     Q.   It's not usual.    And none of the medical records note that

 20     Dave had any effect from Ertapenem, right?

 21     A.   That is correct.

 22     Q.   Okay.    Then you also mentioned Valium, right?                    That was

 23     this other drug you mentioned?

 24     A.   That is correct.

 25     Q.   And I think there's Valium -- there's another name for it,

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 79 of 178
                                                                                           79


  1     right?

  2     A.    Well, the generic name is diazepam.

  3     Q.    Got it.    So we'll call it Valium.                   That's what you called

  4     it on direct.      You don't know if Valium had any -- well, strike

  5     that.

  6           There's no record that Valium had any negative effect -- in

  7     Dave's medical records, there's no medical record that

  8     demonstrates that Valium had any negative effect on Dave's

  9     mental state?

 10     A.    It's not specifically recorded as such.

 11     Q.    Right.    It's not generally recorded.                      There's no record of

 12     it?

 13     A.    It's not specifically recorded as such.

 14     Q.    Okay.    In fact, there isn't a single notation in the

 15     medical records that -- medical records that you reviewed that

 16     Dave ever had a decreased mental state because of any

 17     medication that he was prescribed at the VA, correct?

 18     A.    It's not specifically recorded as such.

 19     Q.    In fact, you went and looked for that, didn't you, Doctor?

 20     A.    In general, yes.

 21     Q.    And you didn't find it, right?

 22     A.    I didn't find any, no.

 23                MR. BRENNER:     Okay.         Let me check with my colleagues,

 24     Judge.

 25                THE COURT:    Certainly.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 80 of 178
                                                                                          80


  1          (Pause in proceedings.)

  2                 MR. BRENNER:     Doctor, thank you so much for your time.

  3                 Your Honor, I have no further questions.

  4                 THE COURT:    All right.             Any redirect?

  5                 MR. KASS:    Yes, Your Honor.

  6                                REDIRECT EXAMINATION

  7     BY MR. KASS:

  8     Q.   Dr. MacIntyre, do you remember being asked whether Dave's

  9     medical records were introduced into evidence yesterday?

 10     A.   Whether I was asked if his medical record was introduced

 11     into evidence?

 12     Q.   Yes.    Do you recall that?

 13     A.   I'm trying to remember.             I'm sure it was, but ...

 14     Q.   Well, I'll make this easier.

 15                 MR. KASS:    Mr. Reed, if you could pull up D091.                D091.

 16           (Pause in proceedings.)

 17                 MR. KASS:    If we could show D091 to the witness and

 18     the jury.

 19          (Pause in proceedings.)

 20                 THE COURT:    Liz, do you want to call IT?                 He might

 21     have a problem on his end.

 22                 Oh, there we go.         Okay.

 23                 MR. KASS:    I'm sorry, but if you could take that down.

 24     I don't believe that's 091.

 25                 There we go.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 81 of 178
                                                                                             81


  1     BY MR. KASS:

  2     Q.   Dr. MacIntyre, I believe we have the exhibit up.                        Do you

  3     recall being shown this document yesterday?

  4     A.   I remember seeing this.            Yes.        Uh-huh.

  5                 MR. KASS:   And, Mr. Reed, if you could go down to the

  6     second page.

  7     BY MR. KASS:

  8     Q.   And do you recognize this as the medical records that you

  9     were shown yesterday?

 10     A.   That is correct.     It says at the bottom:                      "Page 2 of

 11     1,000."     What happened was it was divided up into packets of

 12     1,000 pages each.

 13     Q.   Do you recall if this document was admitted into evidence

 14     yesterday by counsel for the Defense?

 15     A.   Yes.

 16     Q.   And do you recall if the other sections of this medical

 17     record that was broken down was introduced into evidence

 18     yesterday?

 19     A.   My understanding is that all those over 10,000 pages were

 20     introduced.     That is correct.

 21     Q.   Right.    And would that include D091, D092, D093, D094,

 22     D095, D096, D097, D098, D099, D100, D101, and D102?

 23     A.   Yes.    I remember that list being read off.                      Each one of

 24     those is one of those packets of a thousand pages.

 25     Q.   And those are the ones that were introduced into evidence

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 82 of 178
                                                                                       82


  1     yesterday by counsel for Defense?

  2     A.   That is correct.

  3     Q.   Mr. Brenner spent a significant amount of time going

  4     through Mr. Kleiman's medical records, methodically pointing

  5     out certain instances where Dave was noted to have been working

  6     on his computer.     Do you recall approximately around how many

  7     times they were, how many documents he had shown you?

  8     A.   Well, again, as I said with him, I didn't add them up or

  9     count them out.     I believe he asked:                   "Do you think it would

 10     have been 100 times," and I would have to agree with that.                     It

 11     may be more.

 12     Q.   But would you be surprised if he had shown you more than 25

 13     in this courtroom today?

 14     A.   Yeah.   It was getting to be a bit repetitious.

 15     Q.   Okay.   Now, Mr. -- and as far as -- so if he showed you

 16     around 25 pages today of Dave Kleiman's medical records -- and

 17     we know Dave Kleiman's medical records are how many thousands

 18     of pages, did you say?

 19     A.   Around 11,000.

 20     Q.   Okay.   Percentage-wise, do you have any idea -- you would

 21     agree it's a pretty small percentage, correct?

 22     A.   It's a lot of paper.

 23     Q.   Okay.

 24               MR. KASS:    Mr. Reed, if you could pull up the

 25     demonstrative exhibit showing the days Dave Kleiman was in the

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 83 of 178
                                                                                  83


  1     hospital.

  2                 COURTROOM DEPUTY:         Mr. Kass, is that for everyone to

  3     see?

  4                 MR. KASS:   Yes, it is.             It was shown yesterday without

  5     objection.

  6          (Pause in proceedings.)

  7                 MR. KASS:   If you can go to the slide right before

  8     that where you see the total amount of days.

  9                 Okay.   Perfect.

 10     BY MR. KASS:

 11     Q.   Dr. MacIntyre, do you recall being shown this yesterday?

 12     A.   Yes, I do.

 13     Q.   And is it a calendar showing the total amount of days that

 14     Dave Kleiman was in the hospital?

 15     A.   That is correct.     During this particular hospitalization.

 16     Q.   And as far as 2011 and 2012, it's a complete year, correct?

 17     Each time is a complete year.

 18     A.   That is correct.

 19     Q.   So 365 plus 365, about 700 days?

 20     A.   That is correct.

 21     Q.   And if we look in 2011, there's another three months.               So

 22     then we have to add another 90 days?

 23     A.   Yes.

 24     Q.   So already we're at 790.             And then we have, in 2011, about

 25     another three months, right?

                                  Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 84 of 178
                                                                                               84


  1     A.   Yeah, or another two and a half months.                           Whatever.

  2     Q.   Another two and a half months.                     So we're talking 850 days,

  3     give or take, continuous hospital stays?

  4     A.   That is correct.      Yes.

  5     Q.   We had discussed how there were interruptions when Dave

  6     Kleiman was in the hospital, correct?

  7     A.   That is correct.

  8     Q.   And I believe you had discussed how there were doctors

  9     coming into his room checking up on him?

 10                 MR. BRENNER:     Objection.              Leading.

 11                 THE COURT:   Sustained.

 12                 THE WITNESS:     That is correct.

 13                 THE COURT:   The objection is sustained.                       Rephrase.

 14                 MR. KASS:    Okay.

 15     BY MR. KASS:

 16     Q.   Were there interruptions during Dave Kleiman's stay in the

 17     hospital?

 18     A.   Yes.   I think I went over this previously.                         There are many

 19     interruptions that occur.            There are administration of

 20     medications by the nurses.             There's this turning every two

 21     hours that has been talked about.                    There's interruption for

 22     wound care, each one of which would have taken not just a

 23     couple of minutes but longer than that.

 24          Then there was physical therapy and occupational therapy,

 25     and there were notes from those mentioned during the previous

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 85 of 178
                                                                                       85


  1     discussions.    Then there were interruptions from the multiple

  2     medical teams coming in from different subspecialties in a

  3     teaching hospital.

  4          Over and all, there were multiple many interruptions

  5     throughout the day for this patient or any patient, in

  6     particular this patient because of the type of problems that he

  7     had.   The pressure ulcers, the Foley catheter, the IVs, all of

  8     those lead to interruptions.

  9     Q.   Dr. MacIntyre, how do you know all of that occurred with

 10     Dave Kleiman?

 11     A.   Well, I know from two ways.                One is the documentation in

 12     the record that the people who are doing the interrupting

 13     documented what they did.

 14          And secondly, from a personal knowledge of what happens in

 15     hospitals.    So I work in hospitals.                   I know what goes on.   I

 16     was a patient last April in a hospital and I know what happened

 17     to me.

 18     Q.   With respect to Dave Kleiman, around how many times would

 19     there be notes from a doctor or a physical therapist or a nurse

 20     on a daily basis?

 21     A.   Oh, I would have to go back and do a little addition and

 22     subtraction, but I would say from five to 10.

 23     Q.   So on every day, there were five to 10 notes with regards

 24     to treatment of Dave Kleiman?

 25               MR. BRENNER:      Objection.              Leading.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 86 of 178
                                                                                             86


  1                THE COURT:   (No verbal response.)

  2                THE WITNESS:     Correct.

  3     BY MR. KASS:

  4     Q.   And any of those notes could have talked about what Dave

  5     Kleiman was doing at that point in time?

  6     A.   Well, it was either at the time or at the end of a shift,

  7     the nurse would write a summary note for the shift.

  8     Q.   But the note would include something about Dave Kleiman,

  9     correct?

 10                MR. BRENNER:     Objection.              Leading.

 11                THE COURT:   The objection is sustained.

 12                THE WITNESS:     There might be --

 13                THE COURT:   Hold on.            Hold on.            There's no pending

 14     question.    The objection is sustained.

 15     BY MR. KASS:

 16     Q.   So what would what those note -- what would those eight to

 17     10 notes each day state?

 18     A.   They would state physical findings on the patient, items

 19     related by the patient to the therapist, and what the therapist

 20     did to the patient during the time.

 21     Q.   Okay.   If we do a little multiplication over here.                      It's

 22     going to be simple.     It's going to be factor of 10, so it

 23     shouldn't be too hard.

 24          We had discussed there was about 810 -- 850 days that Dave

 25     Kleiman was in the hospital during this last hospital stay?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 87 of 178
                                                                                      87


  1                MR. BRENNER:     Objection.              Leading.

  2                THE COURT:   Sustained.

  3     BY MR. KASS:

  4     Q.   How many days had you testified approximately Dave Kleiman

  5     was in the hospital during this last hospital stay?

  6     A.   Well, we just added it up and it came to around 850.

  7     Q.   And how many -- approximately how many times a day would

  8     there be notes with respect to Dave Kleiman?

  9     A.   Well, I believe I said before five to 10, although I would

 10     have to go back and do a little addition and subtraction to see

 11     exactly.

 12     Q.   If we do some rough, rough arithmetic, around how many

 13     notes would there be about Dave Kleiman's condition all

 14     throughout that stay?

 15     A.   Well, again, five to 10.

 16     Q.   Well, if you were to multiply the 850 by five to 10, what

 17     would you get?

 18     A.   I did pass high school math, but I can't do that

 19     multiplication in my head without writing something down.                 But

 20     it's a high number.

 21     Q.   Okay.

 22     A.   850 times five -- well, times 10 would be 8,500.                 Times

 23     five, it would be half of that.                 So somewhere between 4,250 and

 24     8,500.   How's that for mental addition and subtraction?

 25     Q.   Thank you.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 88 of 178
                                                                                        88


  1          And I just want to ask you one final thing.                      Did anything

  2     that Mr. Brenner -- well, sorry.                  One thing before the one

  3     final thing.

  4          Was there any condition -- so I believe you had testified

  5     that Dave Kleiman sitting down or on his back wasn't a good

  6     position for him, correct?

  7               MR. BRENNER:      Objection.              Leading.

  8               THE COURT:    Sustained.

  9     BY MR. KASS:

 10     Q.   New question.    Okay.       What was the best position for Dave

 11     Kleiman to be resting in?

 12     A.   Well, the best position would be either lying on one side

 13     or lying on his belly.        Now, that doesn't mean that he couldn't

 14     lie on his back, so long as it wasn't for a prolonged period of

 15     time.   And it doesn't mean he couldn't sit down as in a

 16     wheelchair or bed.     It's just that he should interrupt that

 17     every so often to offload -- like I used the terminology

 18     before, to offload the pressure ulcers.

 19     Q.   And this will be the final round of questions.                     Was there

 20     anything that Mr. Brenner asked you that changed your opinions

 21     with respect to the interruptions that Dave Kleiman had

 22     throughout the day?

 23     A.   I would say no.

 24     Q.   Did anything that he asked you change your opinion with

 25     respect to Dave Kleiman's medical condition?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 89 of 178
                                                                                             89


  1     A.   I would also say no.

  2     Q.   Was there anything that he said that would change your

  3     opinion with respect to the medications that Dave Kleiman was

  4     taking?

  5     A.   Again, I would say no.

  6                MR. KASS:    That's all, Your Honor.

  7                THE COURT:    All right.             Thank you, sir.

  8                Ladies and Gentlemen, you have the right to ask

  9     Dr. MacIntyre questions.          Do any of you have any questions for

 10     Dr. MacIntyre?

 11                If so, if you'll raise your hand.                          Let me give you the

 12     opportunity to write down your question.

 13          (Pause in proceedings.)

 14                THE COURT:    All right.             And may I see the attorneys

 15     sidebar, please?

 16          (At sidebar on the record.)

 17                THE COURT:    All right.             The first question reads as

 18     follows:    "When a patient is given a special overnight pass,

 19     does the patient need to fulfill certain qualifications to be

 20     able to leave the hospital?"

 21                Any objection?

 22                MR. FREEDMAN:      Nope.

 23                MR. BRENNER:     No objection.

 24                THE COURT:    Okay.        I just need one person from the

 25     Plaintiffs and one person from the Defendant.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 90 of 178
                                                                                          90


  1               MR. BRENNER:      No objection from the Plaintiff.

  2               THE COURT:    Mr. Kass, since you are --

  3               MR. KASS:    No objection from the Defendant.

  4               THE COURT:    All right.              Second question:        "Is the

  5     patient required to have a companion (friend or family member)

  6     to be able to leave the hospital?"

  7               MR. BRENNER:      Your Honor, I would object.                  That

  8     potentially runs afoul of your motion in limine that said there

  9     can't be anything about friend and family support.                       It is in

 10     the order you ordered.        I think it's in the motion in limine.

 11     I could grab it, but I think it would run afoul.

 12               MR. KASS:    Your Honor, we have no objections to it.

 13     They're simply asking what the requirements are, not whether

 14     there was a friend or family member there.

 15               MR. BRENNER:      And also, I don't think it's relevant to

 16     any of the issues in the case whether a friend or family member

 17     was there.    I think it runs afoul of your order.

 18               THE COURT:    I think it relates to capacity.                    It

 19     doesn't speak of a particular sibling.                        The objection is noted.

 20     It's overruled and the questions are proper.

 21          (End of discussion at sidebar.)

 22               THE COURT:    All right.              Ladies and Gentlemen, I want

 23     to thank you for your questions.

 24               There are two questions, Dr. MacIntyre, and they read

 25     as follows:

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 91 of 178
                                                                                           91


  1               The first question is:                "When a patient is given a

  2     special overnight pass, does the patient need to fulfill

  3     certain qualifications to be able to leave the hospital?"

  4               THE WITNESS:      That is up to the physician who

  5     authorizes the pass.      In other words, if the patient is felt

  6     not to qualify to be out for overnight by that physician, he

  7     will not sign off on the pass.                So I can't give specific

  8     qualifications because it depends on the circumstances and

  9     which physician it is that's authorizing it.                          But in the

 10     opinion of that physician, the patient could have the pass

 11     without it being detrimental to his treatment or health.

 12               THE COURT:    The second question reads as follows:                      "Is

 13     the patient required to have a companion (friend or family

 14     member) to be able to leave the hospital?"

 15               THE WITNESS:      I'm not familiar with the specific

 16     requirement in that for this particular hospital.                         That would

 17     probably be up to the physician that does the ordering.

 18               In general, it would be prudent to have a companion

 19     available to take the patient out of the hospital, but I can't

 20     say specifically whether there was a regulation to that effect.

 21               THE COURT:    All right.              Thank you, Dr. MacIntyre.

 22               Any follow-up by the attorneys on behalf of the

 23     Defendant?

 24               MR. KASS:    No, Your Honor.

 25               THE COURT:    On behalf of the Plaintiffs?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 92 of 178
                                                                                    92


  1                MR. BRENNER:     No, Your Honor.

  2                THE COURT:    All right.             Is Dr. MacIntyre excused?

  3                MR. KASS:    Yes, Your Honor.

  4                MR. BRENNER:     Yes, Your Honor.

  5                THE COURT:    All right.             Thank you, sir.

  6                You are excused.

  7          (Witness excused.)

  8                THE COURT:    And the Defendant's next witness.

  9                MR. MESTRE:    The Defense calls Kimon Andreou.

 10                THE COURT:    All right.             Thank you.

 11          (Pause in proceedings.)

 12                THE COURT:    All right.             Mr. Andreou, if you'll step

 13     forward.    If you'll remain standing, raise your right hand to

 14     be placed under oath.

 15          KIMON ANDREOU, DEFENSE WITNESS, SWORN

 16                COURTROOM DEPUTY:          Have a seat, please.

 17                If you can just state your name and also spell it for

 18     the record.

 19                THE WITNESS:     Kimon Andreou.                  K-I-M-O-N.

 20     A-N-D-R-E-O-U.

 21                THE COURT:    Mr. Andreou, consistent with the CDC

 22     guidelines, if you are fully vaccinated and you feel

 23     comfortable, you are permitted to take your mask off while you

 24     are testifying.

 25                THE WITNESS:     Thank you.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 93 of 178
                                                                                   93


  1                                DIRECT EXAMINATION

  2     BY MR. MESTRE:

  3     Q.   Good morning, Mr. Andreou.

  4     A.   Good morning.

  5     Q.   Can you give the jury a brief history of your educational

  6     background?

  7     A.   Okay.   I have an undergrad in accounting and finance, a

  8     master's degree in management information systems -- oh, sorry.

  9     An undergrad in accounting and finance, a master's in

 10     management information systems, and I am halfway through a

 11     doctorate degree in information systems.

 12     Q.   And can you give the jury a brief description of your work

 13     background?

 14     A.   My entire career, over 20 years, has been in the broader IT

 15     space: network security, network administration, software

 16     development, and data analytics.                  And that has been the primary

 17     focus of my career over the past -- well, the majority of my

 18     career.

 19     Q.   And where do you work now?

 20     A.   General Motors.

 21     Q.   And what do you do at General Motors?

 22     A.   I head up the data analytics team for the contact centers

 23     there.

 24     Q.   Now, did you know David Kleiman?

 25     A.   Yes.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 94 of 178
                                                                                           94


  1     Q.   When did you first meet him?

  2     A.   I met him in 2002 or '3, when we both worked for S-Doc, a

  3     software -- security software company in West Palm Beach.

  4     Q.   What did you do at S-Doc?

  5     A.   I headed up the application development and the QA, quality

  6     assurance, which is testing of software.                          And then it evolved

  7     to also do sales engineering, which also added to my portfolio,

  8     supporting the sales team on the field.

  9     Q.   What did Dave Kleiman do at S-Doc?

 10     A.   He was the chief information security officer, so he was

 11     responsible for the server security side, the network security

 12     side of the company and of the software we would sell.

 13     Q.   Did you work with him after S-Doc?

 14     A.   On occasion, he would ask me to -- on cases that he would

 15     do for forensic work that he did, whenever he needed any sort

 16     of programming help, he would come to me and I would write a

 17     quick script or a quick program for him or any such thing.

 18     Q.   And why would he ask you to do that?

 19               MR. BRENNER:      Objection.              Calls for speculation.

 20               THE COURT:    Overruled.

 21               THE WITNESS:      He asked me because he just didn't know

 22     how to program.     So he knew that I knew how to program, so he

 23     would ask me to do it.

 24     BY MR. MESTRE:

 25     Q.   Dave Kleiman was not a programmer?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 95 of 178
                                                                               95


  1                 MR. BRENNER:     Objection.              Leading.

  2                 THE COURT:   Sustained.

  3     BY MR. MESTRE:

  4     Q.   Was Dave Kleiman a programmer?

  5     A.   No.

  6     Q.   Would it -- while you worked with him, did you get to know

  7     his background and skill set?

  8     A.   Yes.

  9     Q.   Did you develop a friendship with Dave?

 10     A.   Yes.

 11     Q.   And how did that friendship develop?

 12     A.   We worked together for a few years and we would just spend

 13     time outside of work as well, either going to dinner or going

 14     to a gun show or just hanging out.

 15     Q.   Was he a good friend?

 16     A.   Yes.

 17     Q.   Would you consider him your closest friend?

 18     A.   He would be among my closest, yes.

 19     Q.   After you -- and I think you said you met him in 2002,

 20     2003?

 21     A.   Yes.

 22     Q.   After you met him in 2002 or 2003, was he ever

 23     hospitalized?

 24     A.   Yes.

 25     Q.   When was the first time that you know that he was

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 96 of 178
                                                                                   96


  1     hospitalized?

  2     A.   I don't remember when, but he always had issues.                 He was in

  3     a wheelchair, so he would always get some sort of infection

  4     which would require him to be hospitalized.

  5     Q.   And how would that affect his ability to -- how would that

  6     affect his day-to-day life?

  7     A.   Well, he would be in the hospital, so he couldn't -- he

  8     wouldn't be at home.      He wouldn't have access to all his

  9     equipment.    But until the last hospital stay, his stays, to my

 10     recollection, were not lengthy.

 11     Q.   When was the -- what you're calling the last hospital stay,

 12     when was that?

 13     A.   The one that he -- I don't know if he entered -- was it in

 14     2010 or '11, but he was -- the one where -- the last hospital

 15     stay before he died.

 16     Q.   Okay.   So let me show you what I believe is in evidence.

 17               MR. MESTRE:     Mr. Reed, if you could pull up Joint

 18     Exhibit 55 for me.

 19               I believe this is in evidence, Your Honor.

 20               MS. McGOVERN:       It is.

 21               MR. MESTRE:     Okay.         Can you publish this to the jury,

 22     please.

 23     BY MR. MESTRE:

 24     Q.   This is already a document in evidence, Mr. Andreou.                If

 25     you look at the email from Dave Kleiman on April 9th, 2008 at

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 97 of 178
                                                                                           97


  1     2:18 a.m.

  2               MR. MESTRE:     If you could call that part out for me,

  3     Mr. Reed.

  4     BY MR. MESTRE:

  5     Q.   He says:   "I've been laid up for a bit."                        And then a few

  6     lines down he says:     "I haven't worked in about 10 days."

  7          Do you remember that?          I know this is not an email to you.

  8     But do you remember him being laid up at this time in 2008?

  9     A.   I -- I honestly don't remember that time frame, but he had

 10     been -- he would end up in the hospital every now and then

 11     because of those infections.              I don't recall this particular

 12     case.

 13     Q.   Okay.   Let me pull up another exhibit.

 14               MR. MESTRE:     Mr. Reed, if you can pull up Joint

 15     Exhibit 52, which I think is also in evidence, and publish it

 16     to the jury, please.

 17     BY MR. MESTRE:

 18     Q.   So this is an email, Mr. Andreou, from Dave Kleiman to

 19     Craig Wright on February 19th of 2009.                        He says:   "Actually, I

 20     had some minor surgery."

 21          Do you know what he was having surgery for at this time in

 22     2009?

 23     A.   I'm not certain what it was.                 But no, I don't know -- I

 24     can't say.

 25     Q.   But is that --

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 98 of 178
                                                                                            98


  1     A.   I can't say definitively.

  2     Q.   Apologies.     But is that consistent with your testimony that

  3     he was in and out of the hospital?

  4     A.   Yes.    Yes.   Yes.   Because of his wheelchair, he would get

  5     any minor scrape or scratch or whatever.                           He had -- because he

  6     had no sense below the waist, it would end up getting infected.

  7     Q.   Okay.   I'm going to show you another exhibit that's in

  8     evidence.    It's D1021.

  9                 MR. MESTRE:    If you could pull that up, Mr. Reed.

 10          (Pause in proceedings.)

 11                 MR. MESTRE:    That's the wrong exhibit, but I don't

 12     think I need it.

 13     BY MR. MESTRE:

 14     Q.   If I told you that -- so the second time period that you're

 15     talking about, what you called the last time period that he was

 16     in the hospital, would that have been from September of 2010 to

 17     March of 2013?      Is that the period you're speaking about?

 18     A.   Yes.    Yes.

 19     Q.   Okay.

 20                 MR. MESTRE:    You can take down the exhibit, Mr. Reed.

 21     BY MR. MESTRE:

 22     Q.   So during that -- we'll call it the last hospitalization or

 23     the most recent -- would you visit Dave Kleiman?

 24     A.   Yes.    Regularly.

 25     Q.   And where did you work at the time?

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 99 of 178
                                                                                      99


  1     A.   I worked for Royal Caribbean at the Port of Miami.                   So it

  2     was a straight shot from the office to the VA.

  3     Q.   At that time, was Dave Kleiman at the Miami VA?

  4     A.   Yes.

  5     Q.   Where is the Miami VA?

  6     A.   It's right off of 395.           So just take that from the office

  7     over there, take the exit, and it was right off of the exit

  8     straight.     It would only take me maybe 10 minutes to get there.

  9     Q.   And would you go after work to visit?

 10     A.   After work.    So I would usually show up between 6:00 and

 11     7:00, I think.

 12     Q.   How often would you go?

 13     A.   Daily.    Monday through Friday.                  Because I was in the office

 14     and I would just go there.            I would bring him food.

 15     Q.   Every day?

 16     A.   Almost.

 17     Q.   Did he ever ask you to take him Hooters wings, for example?

 18     A.   That was his favorite.

 19     Q.   Was there a Hooters on the way?

 20     A.   Yes.

 21     Q.   Can you describe the hospital room?

 22     A.   Sure.    It was in the unit for spinal injuries, towards the

 23     back of that.     And he -- even though it was a two-bedroom,

 24     usually he was on his own in there.                     And his bed was closest to

 25     the door and he would have all of his stuff there.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 100 of 178
                                                                              100


   1    Q.   Were there times where he shared it with another patient?

   2    A.   Yes.

   3    Q.   Why would you go so often?

   4    A.   He was my friend.

   5    Q.   Your close friend?

   6    A.   Yeah.

   7    Q.   Did you ever visit him at home?

   8    A.   No.

   9    Q.   Do you know, when he was home, if he needed help with his

  10    daily activities?

  11    A.   Not to my knowledge.

  12    Q.   Was Dave Kleiman shy?

  13    A.   He was private, not shy.

  14    Q.   Was he timid?

  15    A.   No.

  16    Q.   Strong personality?

  17    A.   Very strong.

  18    Q.   Do you know if he had a business partnership with Carter

  19    Conrad and Patrick Paige?

  20    A.   Yes.

  21    Q.   How did you know that?

  22    A.   He told me.

  23    Q.   He didn't keep it secret?

  24    A.   No.

  25    Q.   Given his physical limitations, do you know whether Patrick

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 101 of 178
                                                                                             101


   1    Paige and Carter Conrad helped him with his engagements?

   2    A.   I'm not aware of that.

   3    Q.   I should ask them.

   4         I want to talk a little bit now about David Kleiman's skill

   5    set, which I think you said you are familiar with.                         And you

   6    have already said that he was not a programmer.                         Was Dave

   7    Kleiman a coder?

   8    A.   No.

   9    Q.   Did you ever tell him that he couldn't code?

  10    A.   Yes.

  11    Q.   What did you tell him?

  12    A.   I would tease him --

  13                MR. BRENNER:     Objection.              Calls for hearsay, Your

  14    Honor.

  15                THE COURT:   Sustained.

  16    BY MR. MESTRE:

  17    Q.   In your opinion, could Dave Kleiman code himself out of a

  18    paper bag?

  19    A.   No.

  20                MR. BRENNER:     Objection, Your Honor.                    Argumentative

  21    and calls for speculation.

  22                THE COURT:   Sustained.

  23    BY MR. MESTRE:

  24    Q.   How would you describe his ability to code?

  25    A.   It was minimal to nil.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 102 of 178
                                                                                         102


   1    Q.   Did he ever reach out to you and ask you for help with

   2    coding?

   3                MR. BRENNER:     Objection.              Asked and answered.

   4                THE COURT:    Sustained.

   5                MR. MESTRE:    Your Honor, I asked about the

   6    programming.     I haven't asked --

   7                THE COURT:    The coding?

   8                MR. MESTRE:    He has testified that he called him about

   9    programming because he could program.                        I haven't asked him yet

  10    if he called him about coding.                 It's not asked and answered.

  11                THE COURT:    I'll allow it.

  12    BY MR. MESTRE:

  13    Q.   Did he ever call you about coding?

  14    A.   Yes.

  15    Q.   Why did he do that?

  16                MR. BRENNER:     Objection.              Calls for speculation.

  17                THE COURT:    Overruled.

  18                THE WITNESS:     Because he didn't know how and he knew

  19    that I knew how to do that.

  20    BY MR. MESTRE:

  21    Q.   I want to talk to you now about some papers that David

  22    Kleiman was involved with.             Did he ever discuss with you any

  23    papers that he wrote?

  24    A.   Yes.

  25    Q.   Was he proud about the papers that he wrote?

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 103 of 178
                                                                              103


   1    A.   Very much so.

   2    Q.   Did he keep papers that he wrote secret from you?

   3    A.   If he did, I wouldn't know.

   4    Q.   That's a good point.         Did he ever mention a paper about

   5    overwriting data that he worked on with Craig Wright?

   6    A.   Yes.

   7    Q.   Was that paper about secure wiping?

   8    A.   Yes.

   9    Q.   Was it also about recovering information from computer

  10    devices?

  11    A.   It was about preventing the recovery.

  12    Q.   You improved my question.              That's right.

  13         Was it also about -- was it about overwriting data?

  14    A.   Yes.

  15    Q.   Would it be fair -- have you heard that paper referred to

  16    or did he ever refer to that paper as a data wipe fallacy

  17    paper?

  18    A.   I don't remember him using those words.

  19    Q.   But this paper that we're talking about now, was he proud

  20    of it?

  21    A.   Yes.

  22    Q.   Did he mention it to you more than once?

  23    A.   Yes.

  24    Q.   How many times did he mention it to you?

  25    A.   Several times.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 104 of 178
                                                                                   104


   1    Q.   So I want to talk to you about a thumb drive that there's

   2    been testimony about.        Do you know if he had a thumb drive that

   3    he kept with him?

   4    A.   Yes.

   5    Q.   Did you ever see what was on it?

   6    A.   No.

   7    Q.   Did he always have it on his person?

   8    A.   Yes.

   9    Q.   Did he take good care of it?

  10    A.   Yes.

  11    Q.   Where did he keep it?

  12    A.   He kept it with his keys, usually attached to his

  13    wheelchair or in his backpack.

  14    Q.   Did it ever leave his sight?

  15    A.   Not that I'm aware of.            He was very careful about it.

  16    Q.   Do you know whether or not it was encrypted?

  17    A.   Yes, it was.    He had encrypted information on it.               I don't

  18    remember if the whole thing was encrypted or parts of it, but

  19    there was encrypted data on it, yes.

  20    Q.   And how do you know that?

  21    A.   Because he would tell me.               And when he needed something, he

  22    would have to type in his password.

  23    Q.   Is it fair to say that whatever was on it was very

  24    important to him?

  25                MR. BRENNER:     Objection.              Leading.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 105 of 178
                                                                                         105


   1                THE COURT:    Sustained.

   2    BY MR. MESTRE:

   3    Q.   Was whatever was on it important to him?

   4                MR. BRENNER:     Objection.              Leading.

   5                THE COURT:    Sustained.             Rephrase.

   6                MR. MESTRE:    I think I've made the point.

   7    BY MR. MESTRE:

   8    Q.   I want to get to his finances now, Dave Kleiman's finances.

   9    Do you know whether or not he was having financial

  10    difficulties?

  11    A.   Yes.    He did have.

  12    Q.   Were they serious or pretty bad difficulties?

  13    A.   Yes.    His house -- he was always behind in his house

  14    payments, in his FP&L payments, power; all sorts of bills he

  15    was behind on.

  16    Q.   Okay.    So let me break that down.                     Was he having problems

  17    making his mortgage payments?

  18    A.   Yes.

  19    Q.   Did he ever tell you that his house was going to go into

  20    short sale?

  21                MR. BRENNER:     Objection.              Leading.

  22                MR. MESTRE:    That's not a leading question.

  23                THE COURT:    I'll allow it.                 Overruled.

  24                THE WITNESS:     Yes.        He did tell me.

  25

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 106 of 178
                                                                                           106


   1    BY MR. MESTRE:

   2    Q.   Did he ever tell you that it might go into foreclosure?

   3    A.   Yes.

   4    Q.   Do you know whether or not he was trying to refinance?

   5    A.   I believe he mentioned that.

   6    Q.   He said to you -- he said that to you?

   7    A.   Yes.

   8                MR. BRENNER:     Objection.              Leading.

   9                THE COURT:   Overruled at this point.

  10    BY MR. MESTRE:

  11    Q.   Was he trying to refinance because he wanted to keep his

  12    house?

  13    A.   That is the conclusion I came to.                       Why else would he do it?

  14    Q.   I don't know if you said this already, but I want to make

  15    it clear.    Was he also having problems paying for the

  16    utilities?

  17    A.   Yes.

  18    Q.   Do you know if he was having trouble paying for his Comcast

  19    bill?

  20    A.   I don't know that one specifically.                         I remember he would

  21    complain that he's behind on his bills.

  22    Q.   Did Dave Kleiman like playing the Lotto?

  23    A.   Yes.

  24    Q.   Would you buy Lotto tickets for Dave Kleiman?

  25    A.   Yes.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 107 of 178
                                                                                            107


   1    Q.   How often would you play with him?

   2    A.   Maybe once a month, but it was pretty frequent.

   3    Q.   Would you text with him?

   4    A.   Yes.

   5                MR. MESTRE:    If you could pull up only for counsel and

   6    the witness and the Court what's exhibit Plaintiffs' 463.                          It's

   7    also Defendant's 480.

   8    BY MR. MESTRE:

   9    Q.   And, Mr. Andreou, I'd ask if you recognize these

  10    documents -- this document, and we can scroll through it if you

  11    need.

  12    A.   Okay.

  13                MR. BRENNER:     Can you do it a little slower, please?

  14                MR. MESTRE:    That's as far as I think you need to go.

  15    BY MR. MESTRE:

  16    Q.   Do you recognize this?

  17    A.   Yeah.   This is an exchange that I had with Dave.

  18                MR. MESTRE:    Can you go to the first page, Mr. Reed,

  19    please.

  20    BY MR. MESTRE:

  21    Q.   Are these text messages that you had with Dave?

  22    A.   Yes.

  23    Q.   Do you see a phone number where it says:                          "Participants"

  24    and it says:     "Dave Kleiman"?

  25    A.   Yep.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 108 of 178
                                                                                              108


   1    Q.   Was that his phone number?

   2    A.   I don't -- I don't remember it by heart, but it's -- he did

   3    have a 561 number.

   4    Q.   Okay.   I think these days nobody remembers a phone number

   5    by heart.

   6               MR. MESTRE:    Your Honor, I'd move for the admission of

   7    Defendant's 480, Plaintiffs' 463.

   8               MR. BRENNER:     Mr. Mestre, we saw eight pages.                    Do you

   9    know how many pages this is?

  10               MR. MESTRE:    It is about 198 pages.                      It's an exhibit

  11    that was on the Plaintiffs' exhibit list.

  12               THE COURT:    Is there any objection?

  13               MR. BRENNER:     No objection, Your Honor.

  14               THE COURT:    Admitted into evidence.

  15         (Defendant's Exhibit 480 received into evidence.)

  16               MR. MESTRE:    If we could go, Mr. Reed -- and I'm going

  17    to take you through some of these texts.                          If we could go to

  18    Page 36, which is Kimon, a bunch of zeros, 59.                         So the Bates

  19    number is 59.      The page number is 36.

  20               Okay.   There we are.            And if you could highlight first

  21    the date.    It's Thursday, November 4th.

  22               You don't need to call it out.                       If you could just

  23    highlight it, just because it's hard to see.

  24    BY MR. MESTRE:

  25    Q.   Do you see that's November 4th, 2010?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 109 of 178
                                                                               109


   1    A.   Yes.

   2    Q.   Okay.   Would that have been the date of this text message?

   3    A.   Yeah.

   4                MR. MESTRE:    Okay.         And if you could highlight -- and

   5    if we could publish all of this to the jury now, please.

   6    BY MR. MESTRE:

   7    Q.   You see it says:      "Jody might not come on Saturday, sigh,

   8    so you have to pick up the vaca frita."

   9         Do you see that?

  10    A.   Yeah.

  11    Q.   That was from Dave?

  12    A.   Yes.

  13    Q.   Who was Jody?

  14    A.   Jody was a coworker from S-Doc.

  15    Q.   Coworker of yours and Dave's?

  16    A.   Yes.

  17    Q.   Did you know Jody?

  18    A.   Yes.

  19    Q.   Was Jody a friend of Dave Kleiman's?

  20    A.   Yes.

  21    Q.   Do you know if Jody would help him physically at his house,

  22    for example?

  23                MR. BRENNER:     Your Honor, objection to the relevance

  24    of this line of questioning.

  25                THE COURT:    Overruled.             I'll allow it.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 110 of 178
                                                                                               110


   1                THE WITNESS:     I know that Jody would visit him at

   2    home.    I don't know what they did.

   3                MR. MESTRE:    Okay.         If we can go, Mr. Reed, to -- do

   4    you prefer the page number or the Bates number?

   5                The Bates.

   6                Okay.   So Bates 69.           The first three or four messages

   7    and the date, if you could call that out.

   8    BY MR. MESTRE:

   9    Q.   Okay.   So you see here, Mr. Andreou, a text from Dave

  10    Kleiman on December 24th.            I'm going to read it.                It says:

  11    "Okay.    Well, that got all screwed up.                       The OR doctors saw

  12    something wrong with my knee, called X-ray to the OR, and they

  13    saw one of the many metal rods I have was causing the infection

  14    so they had to cancel the current surgery and open my knee.

  15    Now they have to schedule to have the rod removed and

  16    reschedule the other surgery.                Whatever.             Guess I will live

  17    here forever."

  18         So do you see that?

  19    A.   Yes.

  20    Q.   So did you visit him around this time?

  21    A.   Well, from the date -- that's Christmas Eve, so I wouldn't

  22    have visited him until January when I got back.

  23    Q.   Not necessarily this day, but around that time, would you

  24    have seen him?

  25    A.   Yeah.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 111 of 178
                                                                                          111


   1    Q.   And how -- how was he doing physically at this point?

   2    A.   Well, he was laid up in bed in the hospital, as expected,

   3    but his mood was down because he wanted to get out.

   4    Q.   Were there other times during this hospital stay, this last

   5    hospital stay, where his mood was down?

   6    A.   Yes.

   7    Q.   And what were some of the ways in which you observed that?

   8    A.   Well, when he would -- he wouldn't have his usual upbeat

   9    personality.     He wouldn't crack jokes.                     He wouldn't make

  10    comments like he's making here, like:                       "Whatever.   I guess I'll

  11    live here forever."

  12                MR. MESTRE:   Let me go to Kimon 77.

  13                And from "brought to ICU" to the end, if you can call

  14    that whole thing out.

  15    BY MR. MESTRE:

  16    Q.   So let's keep looking at how he was doing.                       Okay.   This --

  17    and I will -- we can go back and look at it, but I will

  18    represent that that is a text from Friday, March 4th, 2011.

  19                MR. MESTRE:   He found it as fast as I could say it.

  20                Thank you.

  21                So we can go to the next page.

  22    BY MR. MESTRE:

  23    Q.   So let's see how he's doing.                 He says -- so Dave says:

  24    "Brought to ICU," intensive care unit.                        "Only have phone for

  25    five minutes.     If you have anything important, let me know.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 112 of 178
                                                                                          112


   1    Will check text messages once I'm okay."

   2         You say:    "How can you be okay and be taken to ICU?                      Does

   3    not compute."

   4         Dave says:    "I was not okay, but now okay.                     Dorky."

   5         "Ah.    So what happened?          Was it acute steak deficiency,

   6    which is fine?"

   7         "Yes."

   8         He, still in ICU:      "Yes, but they took the tube out of my

   9    nose."

  10         So do you see that?        Did I read that accurately?

  11    A.   Yes.

  12    Q.   Okay.    So were you worried that he was in the intensive

  13    care unit?

  14    A.   Yes.

  15    Q.   Okay.    And were you concerned that he had a tube in his

  16    nose?

  17    A.   When I found out, yes.

  18    Q.   Okay.    And did you visit him at about this time?

  19    A.   I don't remember, but I would not have visited him if he

  20    was in the ICU.

  21    Q.   Would you have visited him after perhaps?

  22    A.   Yeah.    When he was back in his room, yes.

  23    Q.   Okay.    Do you remember visiting him after this particular

  24    time?

  25    A.   I know I did visit him after this.                       I don't remember which

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 113 of 178
                                                                                            113


   1    day, though, when I started going back.

   2    Q.   He wouldn't be working while he was in intensive care?

   3               MR. BRENNER:     Objection.              Leading.

   4               THE COURT:    Sustained.

   5               MR. MESTRE:    Let's go to Kimon 87.

   6    BY MR. MESTRE:

   7    Q.   And this is a page -- you see at the top it says:                         "Monday,

   8    April 25th, 2011."      So that's the date.                     And about the middle

   9    of the page, it says --

  10               MR. MESTRE:    I want to highlight where it says:                      "I

  11    know, but it's" -- exactly.

  12               And the rest of the page.

  13               Great.

  14    BY MR. MESTRE:

  15    Q.   So Dave says:     "I know, but it is like I cannot even go

  16    down the hall to get soda out of the soda machine.                          Do you know

  17    how imprisoned, weak, useless that makes you feel, especially

  18    if you deal with it for months upon months?                           I bet just a few

  19    weeks of that would drive a normal person insane."

  20         Now, this must have been very hard for you to see.                         But how

  21    did you -- what was your view about his mental health at this

  22    point?

  23               MR. BRENNER:     Objection.              Calls for expert opinion.

  24               THE COURT:    Sustained.

  25

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 114 of 178
                                                                                             114


   1    BY MR. MESTRE:

   2    Q.   How did you think he was doing?

   3    A.   He was obviously unhappy.

   4    Q.   Did you see him shortly after this or before?

   5    A.   Most likely.

   6    Q.   Do you remember?

   7    A.   I know that I would visit him regularly.                         I just don't

   8    remember the dates.

   9    Q.   But do you remember -- were there any moments that you saw

  10    him where he may have felt or acted in a way consistent with

  11    this text message?

  12               MR. BRENNER:     Objection.              Leading.

  13               THE COURT:    Overruled.             I'll allow it.

  14               THE WITNESS:     Yes.

  15    BY MR. MESTRE:

  16    Q.   And how was he?

  17    A.   He would be down, wouldn't want to talk too much.                        And he

  18    just -- Dave usually was very jovial, would always want to talk

  19    about something, no matter what it is.                        When he would be --

  20    when he would be down, he just wouldn't want to talk about

  21    anything.    He would just close up.

  22               MR. BRENNER:     Your Honor, may we approach for one

  23    minute?

  24               THE COURT:    All right.             Come on forward.

  25         (At sidebar on the record.)

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 115 of 178
                                                                                      115


   1               MR. BRENNER:     Thank you, Judge.

   2               I asked to approach because I'm concerned where this

   3    is heading.     I want to make sure the witness has been

   4    adequately counseled.       Your Honor has entered an order

   5    regarding they can't put into evidence that he was suicidal or

   6    having suicidal thoughts.           And I don't --

   7               MR. MESTRE:    That is absolutely not where I'm headed.

   8               MR. BRENNER:     I'm not suggesting Mr. Mestre is heading

   9    there, but I am suggesting that I'm afraid the witness is.

  10    I've been letting it go, but as we keep going --

  11               THE COURT:    Yeah.        Maybe the witness is unaware.

  12               So how far are we going here?

  13               MR. MESTRE:    I'm trying to establish his physical

  14    ability during this period of time and his mental ability,

  15    which they have put into question.                     He just spent an hour with

  16    our previous expert doing that, and this is a firsthand

  17    recollection of what happened.

  18               THE COURT:    Okay.        I just -- I merely asked how far.

  19               MR. MESTRE:    I have no intent to ask that question

  20    remotely.    I don't believe I'm going to elicit that testimony.

  21    But Mr. Brenner, I understand what you're saying, but I'm not

  22    going to ask any question that I think comes near that.

  23               THE COURT:    Is this witness aware of the Court's

  24    prohibition on that topic?

  25               MR. MESTRE:    I couldn't tell you specifically because

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 116 of 178
                                                                                           116


   1    my intent was never to do that.

   2               THE COURT:    Well, that's why I asked how far you're

   3    going.

   4               MR. MESTRE:    We didn't talk about that.                     I have never

   5    spoken to him about the suicide --

   6               THE COURT:    That's why there's a danger here if we

   7    continue.

   8               MR. MESTRE:    Well, you know, I mean, we can -- may I

   9    consult for a moment?

  10         (Pause in proceedings.)

  11               MR. MESTRE:    So I can move on from this subject matter

  12    now.   We're going to have the lunch break in 10 minutes and

  13    then I can give him that admonition.

  14               THE COURT:    Okay.        That's fair.

  15               MR. BRENNER:     And when you do, I would just ask he

  16    also be advised of the other Court's order regarding the

  17    familial relationship part of the order.                          So we make sure he

  18    doesn't --

  19               THE COURT:    Right.         You're not going to be asking who

  20    else may have been at his house or anything about --

  21               MR. MESTRE:    I'm sorry.              I'm also losing my hearing.

  22               THE COURT:    You're not asking about who may have been

  23    at the house or the hospital or his relationship with his

  24    brother, correct?

  25               MR. MESTRE:    I wasn't intending to ask that either.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 117 of 178
                                                                                                117


   1                THE COURT:    Okay.        Then I think we're good.

   2                MR. BRENNER:     Thank you, Judge.

   3                THE COURT:    All right.             Yvette, thank you.

   4         (End of discussion at sidebar.)

   5                THE COURT:    All right.             Let us continue.

   6                MR. MESTRE:    Read me the last question, please.

   7         (Read back.)

   8                MR. MESTRE:    I'm going to move on.                       I'll come back to

   9    that.    And if we can go to Bates number 88, the very next one.

  10    BY MR. MESTRE:

  11    Q.   And if you look in the middle of the page, and I think --

  12    and the date is on the page before.                      The date, I'll just

  13    represent this is -- this is Monday, May 2nd, 2011, just for

  14    context.    So he says:      "Oh, yeah, on the 19th.                     Who knows if

  15    I'll even make it through this one."

  16         Do you see that?

  17    A.   Yes.

  18    Q.   Is that yet another surgery?

  19    A.   Yes.

  20    Q.   Did you visit him after this surgery?

  21    A.   Most likely.

  22    Q.   And do you recall how he was doing physically after that

  23    surgery?

  24    A.   I don't recall this particular surgery.                           He had several

  25    surgeries while he was there.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 118 of 178
                                                                                      118


   1                MR. MESTRE:   So let me move on now to Kimon 90.

   2    BY MR. MESTRE:

   3    Q.   And this is a text message.                The dates are hard to see.

   4    Tuesday, May 3rd, 2011.         Do you see that, just for context?

   5    A.   Yes.

   6    Q.   Okay.    So Dave says -- and I want to talk a little bit

   7    about the financial troubles now.                   Okay?

   8         So Dave says:     "So my electric is good for another four

   9    months, my water for three months, 40 a month even if I don't

  10    use any water.     I have to pay 300 to Comcast before they will

  11    disconnect the service."

  12         You say:    "And how many months is the penalty waived?"

  13         "No.    I owe them a back bill from last month.                  My account

  14    is suspended, so they can't do anything until I pay it."

  15         "Oh, okay."

  16         "Funny, I was watching HBO this weekend on Xfinity.                   Lady

  17    said my account has been suspended for 11 days."

  18         Do you see that?

  19    A.   Yes.

  20    Q.   Have I read that accurately?

  21    A.   Yes.

  22    Q.   Okay.    Is this an example of the financial troubles that

  23    you testified about before a few minutes ago?

  24    A.   Yes.

  25                MR. MESTRE:   Okay.         So if we can move to Kimon 104.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 119 of 178
                                                                                                119


   1    BY MR. MESTRE:

   2    Q.   And he says near the bottom -- and the date here from the

   3    prior page, it's May -- goodness -- May 31st, 2011.                            And he

   4    says --

   5                MR. MESTRE:   If you can now go to 104.

   6    BY MR. MESTRE:

   7    Q.   -- "Whenever you go home later, you have to stop at your

   8    Publix or whatever for Powerball tickets.                             It's huge tonight,"

   9    gives a number.     "Quick Picks for me, please.                         If I win, I'll

  10    give you 20 million."

  11         Do you see that?

  12    A.   Yes.

  13    Q.   Did you believe him?

  14    A.   Yes.

  15    Q.   Was he a generous person?

  16    A.   When he could.

  17    Q.   Sir, I want to get back to the health issues.

  18                MR. MESTRE:   If we can go to 114, Kimon 114.

  19                Now, this is Saturday, July 30th, 2011.                         If you can

  20    bring up the rest of it.

  21                Exactly.

  22    BY MR. MESTRE:

  23    Q.   So Dave says:     "Out of surgery.                 In ICU."

  24         When he says:     "In ICU," do you know if he meant the

  25    intensive care unit?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 120 of 178
                                                                                            120


   1    A.   Yes.

   2    Q.   Okay.   So he says:      "Out of surgery.                    In ICU.   Everything

   3    is fine.     Just got my phone.           Forgot to leave it off on

   4    Wednesday, so the battery's only 35 percent.                          So my phone may

   5    be off today.      Text messages are easiest, as the intensive care

   6    unit is supposed to be a quiet place."

   7         "Got it.    I called SICU yesterday" -- that's you.                       What is

   8    SICU?

   9    A.   I believe it was the spinal ICU.

  10    Q.   Spinal intensive care unit.

  11         Okay.   So:   "I called SICU yesterday to ask about you, but

  12    you were sleeping.      I take it everything went well?"

  13         So was this yet another surgery?

  14    A.   Yeah.   He had -- it was surgery after surgery after surgery

  15    with him.

  16    Q.   Do you know what this one was for?

  17    A.   No.    I don't recall.

  18    Q.   Do you recall what his physical condition was while he was

  19    in the intensive care unit?

  20    A.   I didn't visit him there, but he -- he was not well.

  21    That's why they kept him at the VA.                     He would get infections.

  22    He would have -- they would have to scrape his -- scrape the

  23    bone.    So he would always have issues while there.

  24    Q.   Okay.   And I know that this -- I know this is hard.                        So I'm

  25    going through it, but I understand that it's your friend and

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 121 of 178
                                                                                             121


   1    it's not easy.

   2                MR. MESTRE:   So if you go -- let's go to Page Kimon

   3    115.   Same date.    This is the same string.

   4    BY MR. MESTRE:

   5    Q.   So you say:    "No more surgeries, right?"

   6         He says:    "Nope.   Woo-hoo.            So Chima in October."

   7         Is Chima a restaurant?

   8    A.   Yes.

   9    Q.   Okay.   And he says:       "You are buying because I'm broke."

  10    You see that?

  11    A.   Yeah.

  12    Q.   Okay.   Is that consistent again with the money issues that

  13    he was having that you testified about before?

  14    A.   Yes.

  15    Q.   Did you think he was broke?

  16    A.   He had no reason to lie.

  17                MR. MESTRE:   So if we can go to Kimon 130.

  18    BY MR. MESTRE:

  19    Q.   And this is -- if you look at the page before -- oh, we

  20    don't need to look at the page before.                        It's right there.     So

  21    it's Sunday, October 30th, 2011.                  Do you see that?

  22    A.   Yes.

  23    Q.   Okay.   So he says -- Dave says to you:                          "Had fever every

  24    night all week.     Going for CAT scan today."

  25         Do you see that?     Did I read that correctly?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 122 of 178
                                                                                        122


   1    A.   Yes.

   2    Q.   Okay.    So were there -- well, do you have any idea what

   3    this particular CAT scan might have been for?

   4    A.   No.    Just by reading the texts.

   5    Q.   Did he often have -- we've talked about surgeries, but this

   6    is not a surgery.      This is a CAT scan and he says he has a

   7    fever.     Other than the surgeries, were there instances like

   8    this one, others where he's not feeling well because he's

   9    having procedures done at the hospital?

  10    A.   Yes.

  11    Q.   And did that happen often during the time that he was there

  12    from 2011 to 2013?

  13    A.   I don't know how often, but it would happen frequently

  14    enough.     He wouldn't always tell me.                    As you could see here, he

  15    wouldn't always tell me.

  16                MR. MESTRE:    Your Honor, this may be a good moment to

  17    break.

  18                THE COURT:    All right.             Ladies and Gentlemen, let's

  19    take our one-hour recess for lunch.                      I'll see you go back here

  20    at 2:00.     Have a pleasant lunch.

  21         (Jury not present, 12:58 p.m.)

  22                THE COURT:    Mr. Andreou, we'll see you back here at

  23    2:00.

  24                Okay.   Have a pleasant lunch.

  25                MR. BRENNER:     Thank you, Your Honor.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 123 of 178
                                                                              123


   1         (Adjourned for lunch 12:58 p.m.)

   2

   3

   4

   5

   6

   7

   8

   9

  10

  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 124 of 178
                                                                              124


   1    UNITED STATES OF AMERICA                  )

   2    ss:

   3    SOUTHERN DISTRICT OF FLORIDA              )

   4                             C E R T I F I C A T E

   5                I, Yvette Hernandez, Certified Shorthand Reporter in

   6    and for the United States District Court for the Southern

   7    District of Florida, do hereby certify that I was present at

   8    and reported in machine shorthand the proceedings had the 18th

   9    day of November, 2021, in the above-mentioned court; and that

  10    the foregoing transcript is a true, correct, and complete

  11    transcript of my stenographic notes.

  12                I further certify that this transcript contains pages

  13    1 - 124.

  14                IN WITNESS WHEREOF, I have hereunto set my hand at

  15    Miami, Florida this 28th day of November, 2021.

  16

  17                            /s/Yvette Hernandez
                                Yvette Hernandez, CSR, RPR, CLR, CRR, RMR
  18                            400 North Miami Avenue, 10-2
                                Miami, Florida 33128
  19                            (305) 523-5698
                                yvette_hernandez@flsd.uscourts.gov
  20

  21

  22

  23

  24

  25

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
                               MR. Entered
Case 9:18-cv-80176-BB Document 848  HOLTZMAN:
                                           on FLSD[1]      24/6 25/21
                                                   Docket 12/20/2021 Page 26/6
                                                                          125 of 178
   COURTROOM DEPUTY:           3/16                        36/5 41/22 47/8
   [3] 3/10 83/2               MR. KASS: [24]              49/9 68/12 69/5
   92/16                       4/9 17/12 20/17             69/7 69/10 69/13
   MR BRENNER: [1]             21/8 25/17 25/20            69/19 69/21 79/25
   76/2                        26/4 41/21 49/4             80/4 80/20 84/11
   MR. BRENNER: [96]           49/8 80/5 80/15             84/13 86/1 86/11
   3/4 3/14 5/1 5/8            80/17 80/23 81/5            86/13 87/2 88/8
   5/15 5/22 5/25              82/24 83/4 83/7             89/7 89/14 89/17
   16/14 17/7 17/14            84/14 89/6 90/3             89/24 90/2 90/4
   21/11 21/14 24/5            90/12 91/24 92/3            90/18 90/22 91/12
   27/21 36/3 36/20            MR. MESTRE: [43]            91/21 91/25 92/2
   39/14 43/4 43/25            4/11 92/9 96/17             92/5 92/8 92/10
   44/5 44/11 45/1             96/21 97/2 97/14            92/12 92/21 94/20
   45/25 46/12 46/22           98/9 98/11 98/20            95/2 101/15 101/22
   47/7 47/10 47/18            102/5 102/8 105/6           102/4 102/7 102/11
   48/9 49/25 52/2             105/22 107/5                102/17 105/1 105/5
   52/8 53/2 53/12             107/14 107/18               105/23 106/9
   53/14 53/19 55/8            108/6 108/10                108/12 108/14
   55/14 57/7 58/1             108/16 109/4 110/3          109/25 113/4
   59/21 60/5 61/8             111/12 111/19               113/24 114/13
   62/1 62/19 63/11            113/5 113/10 115/7          114/24 115/11
   63/17 64/9 64/24            115/13 115/19               115/18 115/23
   66/9 67/15 68/10            115/25 116/4 116/8          116/2 116/6 116/14
   68/13 69/4 69/6             116/11 116/21               116/19 116/22
   69/11 69/17 70/6            116/25 117/6 117/8          117/1 117/3 117/5
   70/15 71/10 79/23           118/1 118/25 119/5          122/18 122/22
   80/2 84/10 85/25            119/18 121/2                THE WITNESS: [20]
   86/10 87/1 88/7             121/17 122/16               17/9 17/15 25/18
   89/23 90/1 90/7             MR. RIVERO: [4]             25/22 46/2 53/13
   90/15 92/1 92/4             4/3 4/15 4/21               53/21 64/1 84/12
   94/19 95/1 101/13           69/18                       86/2 86/12 91/4
   101/20 102/3                MR. ROCHE: [1]              91/15 92/19 92/25
   102/16 104/25               3/20                        94/21 102/18
   105/4 105/21 106/8          MR. ZACK: [1]               105/24 110/1
   107/13 108/8                3/22                        114/14
                               MS. McGOVERN: [2]
   108/13 109/23
                               4/7 96/20
                                                          '
   113/3 113/23                                           '11 [1] 96/14
   114/12 114/22               THE COURT: [91]
                               3/2 3/5 3/24 4/2           '19 [2] 32/11
   115/1 115/8 116/15                                      76/21
   117/2 122/25                4/13 4/17 4/23 5/6
                               5/9 5/20 5/23 6/1          '3 [1] 94/2
   MR. FREEDMAN: [3]                                      '70s [1] 10/12
   3/18 3/25 89/22             6/4 16/17 17/10
                               20/19 21/9 21/12           'I'm [1] 41/18
  / 9:18-cv-80176-BB Document14848[2]
Case                                    75/25
                                   Entered       76/8
                                           on FLSD         63/17 64/11
                                                   Docket 12/20/2021       64/24
                                                                     Page 126 of 178
  /s/Yvette [1]      15 [1] 24/3                           68/13 83/16
   124/17            18 [1] 1/5                           2013 [11] 19/17
                     18-80176 [1] 3/10                     20/24 23/15 68/11
  0                  189 [1] 43/5                          70/3 70/9 70/18
  091 [1] 80/24      18th [1] 124/8                        73/15 75/11 98/17
                     198 [1] 108/10                        122/12
  1                  1995 [2] 23/13                       2019 [1] 22/1
  1,000 [2] 81/11     73/15                               2020 [6] 21/24
   81/12             19th [2] 97/19                        22/1 24/8 24/23
  10 [17] 1/11 28/15 117/14                                32/11 76/25
   28/16 78/5 78/12                                       2021 [3] 1/5 124/9
   78/14 85/22 85/23 2                                     124/15
   86/17 86/22 87/9  20 [3] 5/5 93/14                     20th [1] 39/17
   87/15 87/16 87/22  119/10                              21 [1] 2/6
   97/6 99/8 116/12  20-minute [2] 69/8                   221 [1] 63/18
  10,000 [1] 81/19    69/10                               239 [1] 55/8
  10-2 [2] 1/24      20-year [1] 73/22                    23rd [4] 36/14
   124/18            200 [1] 1/14                          36/15 36/24 43/9
  100 [2] 1/17 82/10 2000 [1] 71/2                        24 [1] 51/13
  1000 [1] 1/21      2002 [3] 94/2                        24/7 [2] 41/9 42/6
  104 [2] 118/25      95/19 95/22                         24th [2] 43/9
   119/5             2003 [2] 95/20                        110/10
  105 [1] 58/2        95/22                               25 [2] 82/12 82/16
  108 [2] 2/11 2/11 2008 [2] 96/25                        250 [1] 72/1
  10:02 [1] 6/3       97/8                                251 [1] 45/2
  11 [3] 39/1 42/14 2009 [2] 97/19                        2525 [1] 1/21
   118/17             97/22                               25th [1] 113/8
  11,000 [1] 82/19   2010 [23] 23/9                       27 [1] 64/9
  114 [2] 119/18      23/12 23/15 23/20                   2800 [1] 1/17
   119/18             23/23 23/25 24/16                   28th [1] 124/15
  115 [1] 121/3       24/19 24/22 25/2                    2:00 [2] 122/20
  11:23 [1] 69/9      25/5 25/15 36/15                     122/23
  11:24 [1] 69/12     38/24 43/8 43/9                     2:18 [1] 97/1
  11:44 [2] 69/12     43/10 44/9 44/10                    2nd [3] 1/17 44/10
   69/20              75/10 96/14 98/16                    117/13
  11th [2] 70/9       108/25
   70/18             2011 [14] 47/18                      3
  12 [1] 1/9          47/21 52/13 83/16                   3,000 [1] 72/9
  124 [4] 1/8 2/2     83/21 83/24 111/18                  30 [8] 5/5 28/10
   52/2 124/13        113/8 117/13 118/4                   28/10 28/11 28/11
  12:58 [2] 122/21    119/3 119/19                         28/12 28/12 28/13
   123/1              121/21 122/12                       30/30 [1] 28/13
  130 [1] 121/17     2012 [7] 60/5 62/5                   300 [1] 118/10
  3 9:18-cv-80176-BB Document54848[1]
Case                                    24/3
                                   Entered on FLSD Docket 9
                                                          12/20/2021 Page 127 of 178
  305 [1] 124/19              55 [1] 96/18                90 [2] 83/22 118/1
  30th [2] 119/19             5500 [1] 1/14               900 [1] 77/23
   121/21                     561 [1] 108/3               920 [1] 27/24
  316 [2] 62/3 71/11          567 [1] 46/22               93 [1] 2/8
  31st [1] 119/3              568 [1] 50/1                9:18-cv-80176-BB
  33128 [2] 1/24              5698 [1] 124/19              [1] 1/2
   124/18                     571 [1] 52/8                9:59 [2] 1/6 3/1
  33131 [2] 1/14              59 [2] 108/18               9th [1] 96/25
   1/18                        108/19
                                                          A
  33134 [1] 1/22              6
  336 [1] 57/7                         a.m [8] 1/6 3/1
                    604 [1] 63/12       6/3 69/9 69/12
  346 [1] 60/5      633 [1] 36/2
  35 [1] 120/4                          69/12 69/20 97/1
                    657 [2] 70/7 70/18 abbreviation [2]
  36 [2] 108/18     659 [1] 64/25
   108/19                               61/17 61/18
                    69 [1] 110/6       ability [22] 13/24
  360 [1] 47/11     6:00 [1] 99/10
  363 [1] 47/19                         16/21 23/19 23/23
  365 [2] 83/19     7                   23/25 24/16 24/16
   83/19            700 [1] 83/19       24/19 25/1 25/4
  395 [1] 99/6      707 [1] 39/14       27/9 29/12 29/15
  3rd [1] 118/4     719 [1] 59/22       54/10 74/3 74/9
                    725 [1] 62/20       75/16 77/12 96/5
  4                 730 [1] 48/10       101/24 115/14
  4,000 [1] 72/13   77 [1] 111/12       115/14
  4,250 [1] 87/23   78 [1] 67/16       able [9] 33/22
  40 [1] 118/9      79 [1] 67/16        34/5 54/5 56/17
  400 [2] 1/24      790 [1] 83/24       57/17 89/20 90/6
   124/18           7:00 [1] 99/11      91/3 91/14
  455 [1] 66/9                         about [95] 6/18
  463 [2] 107/6     8                   6/22 7/8 10/19
   108/7            8,500 [2] 87/22     16/15 17/5 18/2
  480 [4] 2/11 107/7 87/24              19/10 22/14 22/16
   108/7 108/15     80 [1] 2/7          22/20 23/10 23/14
  4th [3] 108/21    800s [1] 76/7       23/22 24/15 25/1
   108/25 111/18    80176 [1] 3/10      25/4 25/16 29/7
                    810 [1] 86/24       29/24 29/25 30/10
  5                 850 [6] 77/23 84/2 31/2 31/14 31/15
  50 [1] 67/6        86/24 87/6 87/16   31/24 31/25 33/11
  52 [1] 97/15       87/22              33/22 34/11 34/22
  520 [1] 72/5      87 [1] 113/5        39/8 40/17 40/19
  523-5698 [1]      88 [1] 117/9        44/21 48/13 50/21
   124/19           8:00 [3] 71/2 71/5 55/6 56/1 56/9
  53 [1] 44/1        71/13              58/4 58/6 58/8
  A 9:18-cv-80176-BB Documentaccording
Case                                      [3]
                              848 Entered on FLSD Docket Adjourned    [1]
                                                         12/20/2021 Page 128 of 178
  about... [52]               29/21 29/21 41/10           123/1
   65/22 66/23 70/3          account [2] 118/13          administered [2]
   70/23 73/2 73/9            118/17                      14/10 29/19
   74/1 76/13 77/23          accounted [1]               administration [3]
   83/19 83/24 84/21          75/12                       18/14 84/19 93/15
   86/4 86/8 86/24           accounting [2]              admission [1]
   87/13 90/9 97/6            93/7 93/9                   108/6
   98/15 98/17 101/4         accurate [3] 41/24          admitted [4] 2/10
   102/5 102/8 102/10         42/11 63/2                  66/20 81/13 108/14
   102/13 102/21             accurately [2]              admonition [1]
   102/25 103/4 103/7         112/10 118/20               116/13
   103/9 103/11              across [2] 35/8             adopted [1] 60/9
   103/13 103/13              60/13                      advised [1] 116/16
   103/19 104/1 104/2        acted [1] 114/10            affect [3] 74/9
   104/15 108/10             active [2] 46/25             96/5 96/6
   112/18 113/8               50/22                      affected [1] 16/20
   113/21 114/19             activities [4]              affecting [1]
   114/20 116/4 116/5         65/1 65/3 65/11             12/15
   116/20 116/22              100/10                     afoul [3] 90/8
   118/7 118/23              actual [2] 26/14             90/11 90/17
   120/11 121/13              35/23                      afraid [1] 115/9
   122/5                     actually [16] 9/5           after [21] 5/13
  above [2] 39/16             15/8 15/20 26/10            5/17 7/19 7/20
   124/9                      26/19 29/11 33/12           7/22 19/23 19/24
  above-mentioned [1]         35/22 36/24 38/17           32/14 94/13 95/19
    124/9                     45/23 54/10 67/18           95/22 99/9 99/10
  abscess [2] 9/9             68/17 71/2 97/19            112/21 112/23
   9/10                      acute [4] 11/7               112/25 114/4
  absence [4] 19/13           73/6 73/7 112/5             117/20 117/22
   19/14 19/17 19/22         add [4] 32/23                120/14 120/14
  absolutely [1]              37/24 82/8 83/22           afternoon [2] 5/13
   115/7                     added [2] 87/6               69/25
  abstract [2] 28/23          94/7                       afterthought [1]
   28/24                     adding [1] 43/1              32/6
  abstracted [1]             addition [6] 7/17           again [40] 15/2
   23/1                       9/3 9/20 85/21              22/3 29/9 31/9
  acceptable [2] 5/7          87/10 87/24                 32/10 32/14 37/23
   5/10                      additional [2]               39/19 40/12 44/13
  access [2] 11/11            25/8 25/12                  46/15 46/25 47/21
   96/8                      address [3] 4/24             47/24 48/12 50/3
  accident [3] 30/17          5/24 69/15                  52/4 57/9 59/24
   30/21 54/16               adequately [3]               62/5 62/7 62/24
                              74/19 77/7 115/4            63/14 64/12 64/17
                              38/11
  A 9:18-cv-80176-BB Document 848
Case                                  40/7
                                  Entered    40/9Docket 12/20/2021
                                          on FLSD        57/23 58/18     65/8
                                                                   Page 129 of 178
  again... [15]               41/17 43/7 43/10           66/20 73/24 77/9
   65/23 66/11 66/16          43/13 45/5 49/18           77/13 78/22 89/1
   68/16 68/24 69/1           51/1 51/10 54/11           90/15 92/17 94/7
   69/25 71/7 72/15           57/23 58/9 60/24           94/7 97/15 103/9
   73/9 75/3 82/8             65/20 69/7 69/13           103/13 106/15
   87/15 89/5 121/12          69/14 69/21 72/23          107/7 116/16
  against [1] 8/11            73/6 74/15 75/2            116/21
  ago [1] 118/23              80/4 81/19 85/4           alter [1] 13/24
  agree [10] 26/13            85/7 85/9 87/13           alternative [1]
   54/13 67/12 75/7           89/6 89/7 89/14            21/21
   78/13 78/14 78/15          89/17 90/4 90/22          although [3] 12/25
   78/17 82/10 82/21          91/21 92/2 92/5            65/3 87/9
  Ah [1] 112/5                92/10 92/12 96/8          always [21] 10/10
  ahead [2] 3/5               99/25 105/14 109/5         41/7 41/18 42/6
   49/12                      110/11 114/24              42/13 42/16 42/24
  alcohol [3] 14/2            117/3 117/5 121/24         50/21 51/4 51/6
   14/4 14/8                  122/18                     58/9 68/21 72/19
  alcoholic [1] 14/5         Allison [5] 66/12           96/2 96/3 104/7
  alert [25] 43/19            66/16 70/11 70/12          105/13 114/18
   44/13 44/18 44/19          70/21                      120/23 122/14
   44/23 46/15 46/25         allow [6] 5/7               122/15
   49/22 50/3 50/14           41/22 102/11              am [5] 1/9 23/10
   50/22 52/4 57/13           105/23 109/25              29/2 93/10 115/9
   57/14 59/24 60/7           114/13                    AMANDA [2] 1/20
   61/15 61/20 62/17         almost [4] 7/9              4/7
   63/6 63/23 64/1            32/6 50/21 99/16          amended [2] 33/17
   64/12 68/24 72/13         along [1] 77/22             76/25
  alert and [1]              already [9] 8/21           AMERICA [1] 124/1
   44/13                      16/23 17/21 47/4          among [1] 95/18
  alertness [1]               49/13 83/24 96/24         amount [4] 51/10
   78/16                      101/6 106/14               82/3 83/8 83/13
  Alessandra [1]             also [54] 7/12             anachronic [1]
   39/24                      7/25 8/17 8/18             73/7
  ALEXANDER [2] 1/17          8/25 9/9 9/12             anal [1] 31/11
   3/16                       12/11 12/15 12/19         analysis [2] 50/10
  all [72] 3/2 3/5            12/22 13/7 13/21           61/2
   3/9 4/17 4/23 4/24         14/22 15/11 16/4          analytics [2]
   7/23 11/3 12/25            17/17 18/10 18/16          93/16 93/22
   17/2 18/11 18/17           22/15 22/18 23/8          ANDREOU [12] 2/8
   21/9 27/22 27/23           23/22 25/1 32/1            92/9 92/12 92/15
   29/7 29/15 32/25           36/24 37/15 37/17          92/19 92/21 93/3
   33/10 36/1 36/3            37/24 40/6 48/18           96/24 97/18 107/9
                              53/9 56/15 57/1            110/9 122/22
  A 9:18-cv-80176-BB Documentany
Case                          848 [61]    4/23
                                  Entered on FLSD5/24
                                                  Docket application
                                                         12/20/2021 Page [1]
                                                                         130 of 178
  ANDRES [2] 1/19             7/5 7/20 9/17               94/5
   4/3                        10/17 13/23 15/4           applied [1] 12/19
  ANDREW [2] 1/16             15/21 17/3 18/1            appreciate [2]
   3/14                       18/23 19/2 21/4             4/21 6/8
  anesthesia [5]              22/13 22/16 22/19          approach [2]
   7/21 7/22 75/18            23/18 27/13 27/18           114/22 115/2
   75/21 76/8                 29/3 29/14 34/4            approximately [3]
  anesthetic [4]              34/18 35/21 42/17           82/6 87/4 87/7
   7/23 8/2 9/1 13/1          49/19 55/6 71/25           April [11] 24/2
  annoying [3] 58/12          72/5 72/9 72/13             24/8 24/23 47/18
   58/12 58/16                74/21 75/15 75/15           47/21 62/3 62/5
  another [32] 10/10          75/15 78/20 79/4            76/25 85/16 96/25
   12/10 13/20 14/6           79/6 79/8 79/16             113/8
   19/25 32/17 32/18          79/22 80/4 82/20           are [86] 4/23 4/24
   32/22 33/8 36/16           85/5 86/4 88/4              5/2 8/10 8/15 8/25
   42/18 44/14 55/22          89/9 89/9 89/21             10/8 10/9 12/5
   55/22 55/23 57/9           90/16 91/22 94/15           12/13 13/13 13/20
   67/6 67/23 67/23           94/17 98/5 102/22           14/1 14/2 14/6
   75/9 78/25 83/21           108/12 114/9                14/14 14/25 15/1
   83/22 83/25 84/1           115/22 118/10               15/2 15/9 15/11
   84/2 97/13 98/7            122/2                       16/7 17/9 17/19
   100/1 117/18 118/8        any condition [1]            18/11 21/17 22/9
   120/13                     88/4                        24/1 25/7 26/14
  answer [5] 24/17           anybody [2] 18/1             27/2 27/22 30/10
   24/21 25/21 30/22          72/12                       33/6 40/7 40/9
   49/10                     anyone [1] 15/19             40/11 42/4 45/16
  answered [2] 102/3         anything [18]                45/18 46/17 47/4
   102/10                     16/20 24/15 24/15           47/17 47/24 49/15
  answers [2] 24/14           29/4 38/14 38/20            52/15 53/25 55/23
   24/22                      58/13 69/15 74/23           58/6 58/9 58/13
  ante [1] 14/15              88/1 88/20 88/24            58/14 61/3 63/20
  ante-cubital [1]            89/2 90/9 111/25            65/24 67/5 67/12
   14/15                      114/21 116/20               69/2 69/2 69/15
  antibiotic [6]              118/14                      71/25 72/3 72/5
   12/2 14/18 16/10          anywhere [2] 30/20           76/9 76/10 78/12
   77/16 77/17 78/15          30/20                       81/25 82/17 84/18
  antibiotics [13]           Apologies [1] 98/2           84/19 85/12 90/2
   11/16 11/19 12/3          appearances [2]              90/13 90/20 90/24
   12/5 12/12 12/14           1/12 3/12                   92/6 92/22 92/23
   12/16 12/18 16/4          appearing [1]                92/24 101/5 107/21
   16/6 16/7 16/9             15/25                       108/20 115/12
   16/12                     appears [4] 27/6             118/3 120/5 121/9
                              39/22 46/25 68/1           area [3] 8/13
  A 9:18-cv-80176-BB Documentask
Case                          848 [17]    32/7
                                  Entered on FLSD44/4
                                                  Docket authorizing
                                                         12/20/2021 Page [1]
                                                                         131 of 178
  area... [2] 13/11           58/2 88/1 89/8              91/9
   31/22                      94/14 94/18 94/23          available [1]
  Argumentative [1]           99/17 101/3 102/1           91/19
   101/20                     107/9 115/19               Avenue [2] 1/24
  arithmetic [1]              115/22 116/15               124/18
   87/12                      116/25 120/11              avoid [3] 9/16
  arm [3] 14/25 15/7         asked [21] 19/25             9/20 37/6
   15/10                      24/13 26/11 30/2           awake [7] 43/19
  around [16] 5/5             30/24 34/17 34/18           46/15 46/25 49/22
   13/15 15/8 15/8            80/8 80/10 82/9             50/3 52/4 62/17
   15/9 15/15 18/16           88/20 88/24 94/21          aware [3] 101/2
   23/12 82/6 82/16           102/3 102/5 102/6           104/15 115/23
   82/19 85/18 87/6           102/9 102/10 115/2         away [3] 17/8
   87/12 110/20               115/18 116/2                30/10 56/12
   110/23                    asking [3] 90/13            AWOL [1] 20/11
                              116/19 116/22
  arrangements [1]
                             assesses [1] 26/24
                                                         B
   21/3                                                  back [40] 8/4 8/17
  artificial [1]             assessment [3]
                              42/14 44/14 44/20           9/17 9/18 9/19
   10/24                                                  9/23 10/11 17/13
  as [62] 1/3 4/6            assessments [1]
                              26/19                       23/12 25/7 25/14
   6/6 7/1 12/9 14/2                                      30/14 31/14 32/23
   15/17 15/23 15/24         associated [1]
                              18/15                       37/1 42/14 44/5
   17/20 19/5 21/4                                        45/5 49/16 50/9
   23/13 28/14 29/11         assume [1] 77/23
                             assurance [1] 94/6           52/19 52/19 69/13
   30/17 32/6 35/3                                        69/21 78/6 85/21
   35/5 36/3 39/16           attached [8] 11/13
                              14/17 14/23 15/2            87/10 88/5 88/14
   40/3 40/16 41/3                                        99/23 110/22
   41/3 42/21 49/13           15/12 15/17 37/18
                              104/12                      111/17 112/22
   49/18 50/13 54/2                                       113/1 117/7 117/8
   55/10 61/4 64/15          attempt [1] 9/6
                             attempted [1] 20/3           118/13 119/17
   65/11 69/2 72/3                                        122/19 122/22
   72/12 72/22 79/10         attention [1] 6/7
                             attorneys [2]               background [3]
   79/13 79/18 81/8                                       93/6 93/13 95/7
   82/8 82/15 82/15           89/14 91/22
                             attributed [1]              backpack [1]
   83/16 83/16 88/14                                      104/13
   88/15 89/17 90/25          37/3
                             August [2] 52/9             backs [1] 17/8
   91/12 95/13 103/16                                    bacteremia [8]
   107/14 107/14              64/11
                             aureus [1] 12/8              11/5 11/8 73/8
   111/2 111/19                                           73/10 73/11 74/8
   111/19 115/10             author [2] 40/2
                              55/18                       74/11 74/22
   120/5 122/14                                          bacteria [13] 11/5
  aside [1] 23/2             authorizes [1]
                              91/5                        11/10 11/13 11/15
                              72/21
  B 9:18-cv-80176-BB Document 848
Case                                  72/23
                                  Entered      73/1
                                          on FLSD         54/6 62/16
                                                  Docket 12/20/2021 Page 63/5
                                                                         132 of 178
  bacteria... [9]             73/18 75/25 78/3            63/14 63/15 63/23
   11/17 12/6 12/7            82/11 82/12 82/14           64/1 64/12 65/4
   12/11 12/13 12/14          85/19 86/12 86/22           65/5 65/6 65/7
   12/15 73/5 73/12           86/22 86/23 87/8            66/18 68/16 68/24
  bacterial [2]               87/13 87/22 87/23           71/8 88/16 99/24
   10/17 10/21                88/11 88/12 88/19           111/2
  bad [10] 48/20              89/19 90/6 90/9            bedroom [1] 99/23
   48/21 48/22 48/23          91/3 91/6 91/14            bedside [3] 7/17
   48/24 48/25 49/15          91/17 91/18 92/14           8/25 75/13
   49/18 76/21 105/12         95/18 96/4 96/7            bedsore [1] 49/20
  bag [4] 14/18 15/3          96/8 103/15 112/2          bedsores [2] 32/2
   15/13 101/18               112/2 113/2 114/17          49/14
  base [1] 23/6               114/19 114/20              been [38] 4/18
  based [3] 13/23             116/16 116/19               4/20 6/7 10/23
   24/1 41/19                 120/5 120/6 122/16          15/20 16/9 18/1
  basically [4]              BEACH [2] 1/2 94/3           21/3 22/1 27/11
   10/21 15/10 65/14         bearing [1] 7/3              42/8 45/3 45/6
   73/3                      Beats [1] 21/21              45/8 45/12 45/15
  basis [2] 66/4             became [1] 4/22              51/9 59/17 61/13
   85/20                     because [56] 7/1             67/9 73/18 82/5
  Bates [5] 108/18            7/5 7/7 7/12 8/2            82/10 84/21 93/14
   110/4 110/5 110/6          9/7 9/8 9/9 9/12            93/16 97/5 97/10
   117/9                      11/13 12/22 13/12           98/16 104/2 109/2
  bathroom [1] 19/19          15/12 18/9 21/1             113/20 115/3
  battery's [1]               28/4 28/6 35/19             115/10 116/20
   120/4                      37/2 37/24 38/14            116/22 118/17
  BB [1] 1/2                  39/9 40/22 44/18            122/3
  be [91] 5/4 6/5             45/13 51/7 55/11           before [40] 1/10
   7/11 9/8 9/15 9/23         56/6 56/24 57/3             4/4 4/24 5/21 6/3
   9/24 9/24 10/1             58/1 58/23 66/1             10/23 14/19 23/23
   12/5 13/14 15/9            71/17 71/21 71/22           24/16 25/2 25/5
   15/13 15/16 15/19          72/11 77/2 79/16            26/3 32/8 32/10
   17/4 17/23 19/15           85/6 91/8 94/21             32/12 36/20 42/15
   20/25 21/4 25/22           97/11 98/4 98/5             54/2 57/2 62/11
   26/12 26/13 27/23          99/13 102/9 102/18          68/11 68/18 69/20
   38/20 39/16 39/22          104/21 106/11               70/12 70/21 72/3
   40/5 40/5 40/6             108/23 111/3 115/2          74/4 75/23 83/7
   41/3 42/18 42/19           115/25 121/9 122/8          87/9 88/2 88/18
   42/22 42/23 48/16         become [6] 6/6 7/3           96/15 114/4 117/12
   51/9 51/13 58/12           11/13 12/12 13/12           118/10 118/23
   58/15 60/17 65/21          42/12                       121/13 121/19
   66/25 67/8 69/21          bed [23] 37/9                121/20
                              38/12 39/4 49/22           beginning [1]
                              37/15
  B 9:18-cv-80176-BB Document 848
Case                              Entered on FLSD Docket Boulevard    [1]
                                                         12/20/2021 Page     1/21
                                                                         133 of 178
  beginning... [1]           bill [2] 106/19             Boyd [6] 62/24
   22/22                      118/13                      63/1 64/17 64/23
  behalf [9] 2/4             bills [2] 105/14             68/17 68/20
   3/15 3/17 3/19             106/21                     brain [4] 16/3
   3/21 3/23 4/10            biofilm [2] 11/14            30/21 34/15 34/17
   91/22 91/25                11/17                      break [6] 12/14
  behind [3] 105/13          Biscayne [1] 1/14            68/11 76/14 105/16
   105/15 106/21             bit [12] 10/19               116/12 122/17
  being [25] 5/4              14/9 17/5 19/10            breathing [4] 63/6
   16/11 17/2 17/24           19/14 29/24 35/1            64/2 64/13 69/1
   18/7 20/11 20/15           76/14 82/14 97/5           BRENNER [8] 1/16
   34/9 41/15 42/7            101/4 118/6                 2/6 3/15 17/11
   51/12 56/2 63/1           bladder [5] 10/25            82/3 88/2 88/20
   66/5 72/10 72/13           11/3 31/5 74/1              115/21
   72/15 72/21 75/17          74/4                       brief [3] 69/4
   80/8 81/3 81/23           bleeding [1] 9/8             93/5 93/12
   83/11 91/11 97/8          blood [1] 13/22             briefly [2] 45/8
  believe [18] 6/18          bloodstream [2]              76/13
   8/5 20/22 22/1             11/5 73/12                 bring [9] 6/2
   30/3 56/14 80/24          BLOOM [1] 1/10               27/21 43/4 58/2
   81/2 82/9 84/8            blow [2] 64/25               61/8 69/19 70/6
   87/9 88/4 96/16            66/23                       99/14 119/20
   96/19 106/5 115/20        blowup [1] 61/9             brittle [3] 7/1
   119/13 120/9              board [1] 35/8               7/8 31/15
  belly [2] 10/1             body [4] 12/25              brittleness [1]
   88/13                      13/11 31/20 34/12           31/19
  below [3] 8/1              BOIES [1] 1/15              broad [1] 76/14
   36/19 98/6                bone [9] 7/13 8/11          broad-brushed [1]
  best [5] 7/1 26/14          11/9 11/11 11/12            76/14
   42/14 88/10 88/12          11/12 11/13 11/14          broader [1] 93/14
  bet [1] 113/18              120/23                     broke [3] 7/11
  beta [3] 12/13             bones [11] 6/23              121/9 121/15
   12/13 12/15                6/25 7/3 7/6 7/8           broken [1] 81/17
  beta-lactamase [3]          7/9 8/16 9/9 31/16         brother [1] 116/24
   12/13 12/13 12/15          31/19 34/11                brought [2] 111/13
  BETH [1] 1/10              bonus [1] 75/25              111/24
  better [4] 16/11           bony [2] 8/10               brushed [1] 76/14
   35/2 48/14 52/1            11/18                      bunch [1] 108/18
  between [6] 23/15          both [4] 4/18               business [5] 5/20
   45/18 73/15 75/10          42/21 65/17 94/2            5/22 22/19 54/5
   87/23 99/10               bother [1] 50/23             100/18
  Bilateral [1]              bottom [4] 36/13            Bustillo [2] 52/20
                              52/25 81/10 119/2           53/9
                              64/25
  B 9:18-cv-80176-BB Document 848
Case                                  67/5
                                  Entered    69/4Docket 12/20/2021
                                          on FLSD        48/14 Page 134 of 178
  busy [6] 45/3 45/6  70/15 74/22 74/24              Carter [2] 100/18
   45/8 45/12 45/15   83/7 92/17 93/5                 101/1
   45/20              93/12 96/21 97/14              case [24] 1/2 3/6
  buy [1] 106/24      98/20 99/21 107/10              3/10 8/14 12/4
  buying [1] 121/9    107/13 107/18                   13/9 14/12 14/23
                      110/3 111/13                    27/8 27/8 27/9
  C                   111/17 111/21                   32/8 33/11 33/14
  calcium [1] 7/3     112/2 116/8 116/11              56/13 58/7 67/23
  calendar [1] 83/13 116/13 117/9                     67/23 72/19 75/5
  call [15] 3/1 3/6   118/25 119/5                    75/14 76/16 90/16
   14/24 20/2 40/3    119/18 119/19                   97/12
   40/4 66/4 79/3     121/17                         cases [2] 12/5
   80/20 97/2 98/22  can't [20] 29/14                 94/14
   102/13 108/22      30/22 38/11 38/14              CAT [3] 121/24
   110/7 111/13       42/3 42/16 43/10                122/3 122/6
  called [21] 11/5    49/1 49/3 49/7                 catch [1] 64/14
   11/14 12/12 13/7   51/21 51/22 87/18              category [1] 55/23
   19/24 20/7 27/3    90/9 91/7 91/19                catheter [4] 11/1
   28/11 31/15 32/2   97/24 98/1 115/5                14/25 64/4 85/7
   33/17 40/18 76/24  118/14                         catheterization [2]
   77/15 79/3 98/15  cancel [1] 110/14                 11/1 73/25
   102/8 102/10      cannot [2] 29/16                caused [2] 30/21
   110/12 120/7       113/15                          75/15
   120/11            capacity [5] 26/19              causing [3] 8/12
  calling [3] 3/10    27/19 34/18 34/20               16/4 110/13
   78/12 96/11        90/18                          CDC [1] 92/21
  callout [1] 46/1   care [24] 9/2                   center [1] 16/2
  calls [8] 26/4      18/18 18/19 18/21              centers [2] 16/2
   56/20 92/9 94/19   21/7 21/7 38/18                 93/22
   101/13 101/21      40/13 40/16 40/18              central [4] 13/13
   102/16 113/23      52/16 58/14 65/21               14/23 14/24 15/11
  came [7] 26/3 39/5 65/23 72/24 84/22               certain [6] 9/15
   42/18 56/6 76/5    104/9 111/24                    15/12 82/5 89/19
   87/6 106/13        112/13 113/2                    91/3 97/23
  can [57] 5/13 9/7   119/25 120/5                   certainly [5] 4/18
   11/4 11/24 12/6    120/10 120/19                   6/7 30/12 47/8
   13/14 13/14 15/8  career [3] 93/14                 79/25
   15/9 15/16 15/18   93/17 93/18                    Certificate [1]
   15/24 16/3 16/6   careful [1] 104/15               2/2
   21/11 25/23 29/7  caretakers [1]                  Certified [1]
   32/23 32/23 36/21  61/5                            124/5
   37/6 43/3 45/5    Caribbean [1] 99/1              certify [2] 124/7
   45/25 49/12 53/19 caring [2] 47/24                 124/12
  C 9:18-cv-80176-BB DocumentCLR
Case                              Entered124/17
                              848 [1]     on FLSD Docket complete    [3]13583/16
                                                         12/20/2021 Page    of 178
  chance [3] 5/16            CO [1] 64/6                 83/17 124/10
   52/17 60/20               code [4] 25/5              completed [1] 9/11
  change [2] 88/24            101/9 101/17              complex [4] 23/19
   89/2                       101/24                     28/23 28/23 28/24
  changed [3] 37/16          coder [1] 101/7            comprehension [1]
   37/17 88/20               coding [4] 102/2            28/21
  changes [1] 15/24           102/7 102/10              computations [1]
  Charlebois [3]              102/13                     23/20
   55/18 56/2 56/24          cold [1] 14/5              compute [1] 112/3
  check [2] 79/23            colleagues [3]             computer [70]
   112/1                      22/19 33/5 79/23           18/23 19/1 19/3
  checking [1] 84/9          colloquial [1]              19/4 19/7 22/6
  chief [1] 94/10             32/3                       25/5 34/23 35/6
  Chima [2] 121/6            Comcast [2] 106/18          35/9 35/11 37/9
   121/7                      118/10                     38/12 39/5 39/11
  Christmas [1]              come [9] 3/9 36/4           41/8 41/8 41/9
   110/21                     44/14 69/14 72/24          41/20 42/6 42/13
  chronic [4] 10/21           94/16 109/7 114/24         42/19 42/23 42/25
   10/22 11/9 73/19           117/8                      43/20 44/23 46/16
  chronically [2]            comes [4] 16/10             47/1 47/22 48/2
   11/6 13/10                 40/23 56/2 115/22          48/3 48/7 49/22
  chunk [1] 31/24            comfortable [2]             50/3 51/4 51/10
  circuits [1] 13/12          53/25 92/23                51/14 51/17 51/19
  circulation [1]            coming [4] 44/17            51/22 51/22 52/5
   8/13                       58/9 84/9 85/2             54/5 54/6 56/7
  circumstances [2]          comment [1] 66/17           57/20 59/16 59/25
   19/8 91/8                 comments [2] 25/16          60/8 61/6 62/11
  Civil [1] 3/10              111/10                     62/17 63/6 63/15
  claim [4] 33/21            common [2] 32/3             64/2 64/13 65/8
   34/4 34/9 34/11            51/3                       65/9 65/16 66/7
  clarify [1] 33/3           communications [1]          66/19 67/3 67/13
  clean [1] 39/9              26/5                       69/1 69/3 70/24
  cleaned [2] 37/16          companion [3] 90/5          71/8 72/6 82/6
   37/17                      91/13 91/18                103/9
  cleaning [4] 8/23          company [2] 94/3           computer.' [1]
   37/25 39/7 39/8            94/12                      41/19
  clear [2] 22/9             complain [1]               computers [1]
   106/15                     106/21                     72/18
  close [3] 6/7              complaining [1]            concentrated [1]
   100/5 114/21               64/7                       31/20
  closest [3] 95/17          complaint [4]              concept [2] 19/12
   95/18 99/24                33/16 33/18 34/2           40/18
                              64/3                      concerned [2]
  C 9:18-cv-80176-BB Documentcontinues
Case                                      [1]
                              848 Entered on FLSD68/7     9/24 49/18
                                                  Docket 12/20/2021 Page 88/13
                                                                         136 of 178
  concerned... [2]           continuity [1]               88/15 96/7 101/9
   112/15 115/2               40/18                       115/25
  conclude [2] 5/14          continuous [3]              counsel [8] 3/12
   49/10                      10/25 16/21 84/3            3/13 3/25 4/4 26/2
  conclusion [1]             continuously [1]             81/14 82/1 107/5
   106/13                     37/17                      counseled [1]
  condition [16]             contract [1] 74/4            115/4
   6/22 6/25 7/6             control [9] 7/2             count [8] 43/17
   20/13 30/4 31/8            13/13 14/3 16/1             43/18 46/20 47/13
   31/9 37/3 48/15            31/5 31/11 33/22            72/3 72/7 75/25
   48/17 54/17 72/17          34/6 74/2                   82/9
   87/13 88/4 88/25          conversations [1]           counted [3] 7/16
   120/18                     33/10                       75/12 76/5
  conditions [1]             cope [2] 54/11              counting [1] 75/13
   6/19                       54/13                      couple [6] 19/7
  conduct [1] 54/5           copes [1] 54/20              21/22 22/9 70/3
  conference [2]             copy [1] 33/15               73/2 84/23
   45/9 45/20                Coral [1] 1/22              course [17] 7/21
  Conrad [2] 100/19          correct [164]                9/6 11/11 13/5
   101/1                     correctly [1]                14/17 17/20 18/7
  consider [1] 95/17          121/25                      18/13 20/19 21/12
  considered [3]             could [58] 5/16              34/10 34/10 65/21
   20/6 20/11 20/16           5/17 8/8 10/19              68/12 77/21 78/9
  considers [1] 59/4          14/9 15/19 16/20            78/10
  consistent [5]              17/5 17/12 19/9            court [15] 1/1
   43/22 92/21 98/2           20/4 20/17 20/24            1/23 1/23 3/1 5/7
   114/10 121/12              26/12 26/12 27/22           5/10 5/17 5/17 6/8
  constant [1] 73/4           27/24 28/15 35/22           17/12 21/14 63/25
  constantly [2]              40/5 40/5 40/6              107/6 124/6 124/9
   35/9 35/11                 45/4 48/15 54/13           Court's [2] 115/23
  consult [1] 116/9           58/12 61/8 68/10            116/16
  contact [3] 20/3            70/6 72/23 77/11           courtroom [2] 39/1
   20/4 93/22                 77/11 77/11 77/22           82/13
  contains [2] 14/18          80/15 80/17 80/23          covered [1] 77/7
   124/12                     81/5 82/24 86/4            coworker [2]
  context [2] 117/14          90/11 91/10 96/17           109/14 109/15
   118/4                      97/2 98/9 101/17           crack [2] 4/5
  continue [6] 6/11           102/9 107/5 108/16          111/9
   54/11 69/16 69/23          108/17 108/20              CRAIG [4] 1/7 3/11
   116/7 117/5                108/22 109/4 109/5          97/19 103/5
  CONTINUED [2] 2/6           110/7 111/19               CROSS [3] 2/6
   6/13                       119/16 122/14               21/10 21/15
                             couldn't [8] 9/17           CROSS-EXAMINATION
                                                          [3] 2/6 21/10
Case                          47/11
  C 9:18-cv-80176-BB Document 848     47/19
                                  Entered                 107/17 107/21
                                          on FLSD Docket 12/20/2021 Page 137 of 178
  CROSS-EXAMINATION..        dah [9] 10/12                107/24 109/11
  . [1] 21/15                 10/12 10/12 10/12           109/19 110/9
  CRR [1] 124/17              10/12 10/12 10/12           111/23 112/4
  CSR [1] 124/17              10/13 10/13                 113/15 114/18
  cubital [1] 14/15          daily [4] 18/19              118/6 118/8 119/23
  current [1] 110/14          85/20 99/13 100/10          121/23
  cursory [1] 25/15          damage [1] 30/21            Dave's [18] 23/15
  cut [3] 13/13              danger [1] 116/6             25/1 25/4 27/9
   60/24 61/13               data [6] 93/16               29/11 29/14 34/15
  cv [1] 1/2                  93/22 103/5 103/13          62/10 72/1 72/17
                              103/16 104/19               74/21 75/15 75/16
  D                          date [15] 22/2               76/10 79/7 79/8
  D091 [4] 80/15              36/14 36/14 36/17           80/8 109/15
   80/15 80/17 81/21          36/21 36/25 108/21         David [13] 1/4
  D092 [1] 81/21              109/2 110/7 110/21          6/19 6/23 9/14
  D093 [1] 81/21              113/8 117/12                10/17 15/21 18/4
  D094 [1] 81/21              117/12 119/2 121/3          18/18 18/23 19/2
  D095 [1] 81/22             dates [2] 114/8              93/24 101/4 102/21
  D096 [1] 81/22              118/3                      David's [1] 11/21
  D097 [1] 81/22             Dave [83] 7/5 7/15          day [29] 1/9 5/22
  D098 [1] 81/22              7/20 8/5 8/19               6/6 6/18 16/10
  D099 [1] 81/22              14/10 15/4 16/19            19/23 19/24 19/25
  D100 [3] 45/2               19/8 19/10 20/11            20/2 30/2 30/11
   46/13 81/22                20/22 22/13 22/24           44/22 51/13 72/23
  D101 [5] 36/2               23/4 23/19 28/10            73/1 75/21 75/25
   39/14 43/4 43/25           35/21 36/8 51/4             85/5 85/23 86/17
   81/22                      54/4 55/3 59/12             87/7 88/22 96/6
  D102 [1] 81/22              70/24 73/16 74/6            96/6 99/15 110/23
  D1021 [1] 98/8              74/11 74/24 74/25           113/1 124/9 124/15
  D91 [1] 27/24               77/12 77/18 78/1           days [23] 20/5
  D92 [3] 70/6 70/18          78/20 79/16 82/5            51/13 75/22 75/23
   71/10                      82/16 82/17 82/25           75/25 76/2 76/4
  D93 [4] 64/25 66/9          83/14 84/5 84/16            76/8 77/23 78/5
   67/15 68/14                85/10 85/18 85/24           78/12 78/14 82/25
  D94 [4] 62/20               86/4 86/8 86/24             83/8 83/13 83/19
   63/11 63/18 64/9           87/4 87/8 87/13             83/22 84/2 86/24
  D95 [3] 59/22 60/5          88/5 88/10 88/21            87/4 97/6 108/4
   62/3                       88/25 89/3 94/9             118/17
  D96 [2] 57/7 58/2           94/25 95/4 95/9            de [1] 1/21
  D97 [2] 52/8 55/8           96/25 97/18 98/23          dead [1] 8/22
  D98 [3] 48/9 49/25          99/3 100/12 101/6          deadline [2] 5/2
   52/2                       101/17 105/8                5/10
  D99 [3] 46/22               106/22 106/24              deal [1] 113/18
  D 9:18-cv-80176-BB Documentdemonstrates
Case                          848 Entered on FLSD         33/23 34/16
                                               [1]Docket 12/20/2021       35/20
                                                                    Page 138 of 178
  dealing [1] 41/3            79/8               35/24 35/24 35/25
  dealt [1] 7/11             demonstrative [1]   40/3 40/4 46/20
  debridement [1]             82/25              49/10 56/20 56/20
   8/22                      demonstratives [1]  58/22 60/21 65/22
  debridements [2]            23/2               66/24 74/24 77/18
   8/25 75/13                denervation [1]     78/8 78/8 78/9
  debriding [1] 7/17          13/13              82/18 85/13 86/20
  December [6] 44/3          denied [1] 66/20    87/18 88/1 88/24
   44/9 44/10 57/7           deny [1] 66/4       93/24 94/1 94/4
   76/21 110/10              depends [3] 25/11   94/9 94/13 94/15
  decent [1] 31/24            78/10 91/8         95/6 95/9 95/11
  decided [1] 42/11          deposition [11]     98/25 99/17 100/7
  decision [1] 48/13          21/24 24/2 24/8    100/21 101/9
  decreased [1]               25/6 25/8 25/13    101/11 102/1
   79/16                      25/19 25/24 32/14  102/13 102/15
  defecated [2] 38/6          74/11 77/6         102/22 103/2 103/3
   39/10                     depressant [1]      103/4 103/16
  defecation [1]              14/2               103/22 103/24
   34/6                      depressive [3]      104/5 104/7 104/9
  Defendant [7] 1/8           13/9 16/5 16/24    104/11 104/14
   1/19 2/4 69/18            deprive [1] 66/22   105/11 105/19
   89/25 90/3 91/23          describe [3] 30/3   105/24 106/2
  Defendant's [5]             99/21 101/24       106/22 108/2
   2/11 92/8 107/7           described [2] 7/1   109/17 110/2
   108/7 108/15               33/14              110/20 112/10
  defense [7] 1/4            description [1]     112/18 112/25
   33/21 34/5 81/14           93/12              113/21 114/2 114/4
   82/1 92/9 92/15           detrimental [1]     117/20 119/13
  deferring [1] 42/4          91/11              121/15 121/25
  deficiency [1]             develop [4] 9/25    122/5 122/11
   112/5                      12/6 95/9 95/11   didn't [38] 9/7
  definitely [4]             development [2]     25/24 27/13 32/21
   10/18 21/6 66/8            93/16 94/5         33/13 38/8 43/12
   77/18                     devices [1] 103/10 43/17 43/18 47/13
  definition [2]             DEVIN [1] 1/13      48/2 51/7 51/23
   25/11 78/10               diazepam [2] 13/7   52/17 55/6 60/19
  definitively [1]            79/2               60/20 61/1 61/1
   98/1                      did [95] 7/5 10/17 64/14 65/24 72/3
  degree [3] 15/12            15/4 16/20 18/18   72/7 73/19 74/4
   93/8 93/11                 18/23 19/2 20/2    74/24 75/4 75/7
  demonstrate [1]             22/3 23/12 25/18   78/6 79/19 79/21
   51/17                      26/2 26/8 27/8     79/22 82/8 94/21
                              27/10 27/14 27/15  100/23 102/18
  D 9:18-cv-80176-BB Documentdiscussion
Case                          848 Entered on[2]           85/13 Page 139 of 178
                                             FLSD Docket 12/20/2021
  didn't... [2]              90/21 117/4              documents [2] 82/7
   116/4 120/20             discussions [2]            107/10
  died [1] 96/15             34/3 85/1                does [11] 8/2
  different [17]            disease [8] 12/1           21/25 56/23 65/8
   7/14 12/16 12/18          18/7 18/8 22/10           65/11 65/17 68/21
   18/4 18/5 18/6            27/16 27/17 39/21         89/19 91/2 91/17
   58/8 62/7 62/13           39/23                     112/2
   62/14 62/15 66/11        disease-related [1]       doesn't [13] 9/17
   68/17 68/20 68/22          27/16                    12/25 41/16 50/15
   68/23 85/2               dispute [4] 71/25          51/2 52/24 65/20
  differentiate [1]          72/5 72/9 72/14           65/25 73/19 88/13
   45/18                    distress [1] 64/3          88/15 90/19 116/18
  difficult [1]             DISTRICT [7] 1/1          doing [25] 19/3
   11/16                     1/1 1/10 1/23             19/4 34/24 35/3
  difficulties [2]           124/3 124/6 124/7         38/20 39/5 39/7
   105/10 105/12            divided [1] 81/11          41/14 51/22 55/25
  difficulty [4]            DIVISION [1] 1/2           58/13 58/13 58/14
   28/22 29/7 31/4          do [144]                   59/12 59/17 66/3
   42/4                     Doc [5] 94/2 94/4          67/9 85/12 86/5
  diminished [3]             94/9 94/13 109/14         111/1 111/16
   29/12 29/15 57/2         doctor [25] 22/10          111/23 114/2
  dinner [1] 95/13           27/17 27/18 29/18         115/16 117/22
  direct [8] 2/6 2/8         38/3 39/13 40/6          don't [63] 5/9
   6/13 26/12 35/21          40/22 41/25 42/5          20/5 24/19 27/5
   37/2 79/4 93/1            42/11 51/2 55/10          28/2 28/5 29/2
  directly [1] 11/11         57/11 57/17 59/3          29/3 29/8 29/11
  disagree [1] 51/16         60/25 61/2 61/13          33/1 34/23 35/24
  discharge [4] 20/8         62/7 64/11 71/25          35/24 35/25 38/20
   20/15 20/16 20/23         79/19 80/2 85/19          43/14 44/18 48/4
  discharged [2]            doctorate [1]              50/23 51/16 53/21
   20/7 20/25                93/11                     55/4 56/11 57/10
  disconnect [2]            doctors [16] 18/4          58/12 59/4 59/7
   16/2 118/11               26/19 35/7 37/5           59/8 60/19 60/24
  discontinued [1]           40/7 40/21 44/14          61/17 62/21 66/22
   16/7                      45/17 54/20 58/13         74/22 78/3 79/4
  discuss [2] 35/21          59/6 60/13 61/3           80/24 90/15 96/2
   102/22                    61/19 84/8 110/11         96/13 97/9 97/11
  discussed [6]             document [6] 33/14         97/23 98/11 103/18
   19/12 33/4 45/9           41/21 81/3 81/13          104/17 106/14
   84/5 84/8 86/24           96/24 107/10              106/20 108/2 108/2
  discussing [1]            documentation [1]          108/22 110/2
   33/1                      85/11                     112/19 112/25
                            documented [1]             114/7 115/6 115/20
                              85/9Entered
  D 9:18-cv-80176-BB Document 848
Case                                89/9on89/10         37/12 74/17
                                           FLSD Docket 12/20/2021       81/12
                                                                  Page 140 of 178
  don't... [5]                90/24 91/21 92/2  81/23 83/17 84/22
   117/24 118/9              Dr. Craig [1] 3/11 86/17
   120/17 121/20             Dr. MacIntyre [24]earlier [1] 70/23
   122/13                     3/8 6/1 6/10 6/15early [13] 33/12
  done [4] 25/7               11/21 16/15 16/19 59/2 59/2 59/3
   27/13 46/24 122/9          20/22 21/17 25/21 59/3 59/5 59/6
  door [1] 99/25              32/22 49/10 49/12 59/9 59/11 59/15
  Dorky [1] 112/4             69/14 69/25 80/8  70/24 71/7 71/13
  DOs [1] 40/11               81/2 83/11 85/9  easier [1] 80/14
  dose [1] 14/7               89/9 89/10 90/24 easiest [1] 120/5
  doubt [8] 4/19              91/21 92/2       easy [1] 121/1
   28/25 38/18 54/23         Dr. Pilar [1]     educational [1]
   55/1 57/25 57/25           53/16             93/5
   64/19                     Dr. Regatieri [3] effect [15] 15/4
  down [33] 7/1 8/16          40/13 42/8 42/24  15/24 16/5 16/12
   8/17 9/21 10/3            Dr. Somoza [3]     47/17 74/21 76/8
   12/14 31/14 35/15          67/19 67/22 68/2  77/12 78/15 78/16
   36/13 37/5 44/17          drainage [1] 10/24 78/17 78/20 79/6
   45/25 46/1 46/1           dressing [3] 37/16 79/8 91/20
   48/16 48/22 48/23          37/17 37/18      effects [5] 14/1
   76/14 80/23 81/5          drive [3] 104/1    14/1 15/22 15/25
   81/17 87/19 88/5           104/2 113/19      16/24
   88/15 89/12 97/6          drug [1] 78/23    eight [2] 86/16
   98/20 105/16 111/3        drugged [2] 44/16  108/8
   111/5 113/16               44/17            either [8] 8/12
   114/17 114/20             drugs [1] 57/13    9/25 10/25 15/1
  downtime [2] 7/20          dry [1] 64/4       86/6 88/12 95/13
   7/22                      due [2] 9/15 41/17 116/25
  DR [13] 2/5 4/5            DUGALD [1] 2/5    electric [1] 118/8
   4/8 4/10 4/11 26/2        during [21] 7/10  electronic [1]
   32/22 33/6 33/20           7/22 14/22 22/3   41/2
   34/3 41/7 41/13            30/4 35/18 37/21 elicit [1] 115/20
   70/17                      38/12 73/24 74/13eliminate [1]
  Dr. [32] 3/8 3/11           74/16 83/15 84/16 12/25
   6/1 6/10 6/15              84/25 86/20 86/25else [3] 38/20
   11/21 16/15 16/19          87/5 98/22 111/4  106/13 116/20
   20/22 21/17 25/21          115/14 122/11    elsewhere [2] 8/2
   32/22 40/13 42/8          during Zoom [1]    63/8
   42/24 49/10 49/12          22/3             email [3] 96/25
                                                97/7 97/18
   53/16 67/19 67/22         E                 emphasize [3]
   68/2 69/14 69/25          each [12] 4/2 4/13 37/24 37/25 38/1
   80/8 81/2 83/11            6/6 7/21 18/14   encountered [1]
                              1/19Entered
  E 9:18-cv-80176-BB Document 848
Case                                1/20on1/20
                                           FLSD Docket evidence    [24]
                                                       12/20/2021 Page     23/3
                                                                       141 of 178
  encountered... [1]         1/21                       26/15 27/22 28/22
   9/9                      essence [1] 8/23            29/4 29/5 29/6
  encrypted [4]             essentially [1]             30/20 35/23 36/5
   104/16 104/17             16/1                       74/20 80/9 80/11
   104/18 104/19            establish [1]               81/13 81/17 81/25
  end [19] 5/4 5/11          115/13                     96/16 96/19 96/24
   5/20 5/22 6/18           Estate [1] 1/4              97/15 98/8 108/14
   6/22 19/11 30/2          evaluate [2] 34/17          108/15 115/5
   30/11 32/6 34/21          34/18                     evident [3] 13/25
   47/14 80/21 86/6         Eve [1] 110/21              16/12 16/13
   90/21 97/10 98/6         even [11] 35/14            evolved [1] 94/6
   111/13 117/4              45/20 56/10 63/7          EX [1] 2/10
  endeavoring [1]            64/2 64/13 69/1           exacerbations [1]
   5/2                       99/23 113/15               73/7
  ended [1] 31/13            117/15 118/9              exactly [5] 20/5
  engagements [1]           evening [1] 5/12            64/15 87/11 113/11
   101/1                    eventually [1]              119/21
  engineering [1]            33/13                     exaggerating [1]
   94/7                     ever [17] 15/20             41/13
  English [1] 42/21          29/12 57/18 79/16         exam [5] 27/4 28/2
  enough [1] 122/14          95/22 99/17 100/7          28/9 50/12 57/24
  entered [2] 96/13          101/9 102/1 102/13        examination [16]
   115/4                     102/22 103/4               2/6 2/6 2/7 2/8
  entire [3] 38/13           103/16 104/5               6/13 21/10 21/15
   73/24 93/14               104/14 105/19              22/22 26/12 35/18
  entirely [1] 9/6           106/2                      35/22 37/2 60/2
  entitled [1] 46/2         every [17] 9/23             72/12 80/6 93/1
  Entry [1] 36/14            10/2 10/11 10/15          example [5] 56/9
  enzymes [1] 12/13          13/18 42/18 42/22          58/15 99/17 109/22
  episodes [1] 11/7          50/6 50/10 58/16           118/22
  equipment [2]              58/18 84/20 85/23         exams [1] 60/10
   19/20 96/9                88/17 97/10 99/15         except [1] 72/23
  Ertapenem [7]              121/23                    exceptional [4]
   77/15 77/19 77/21        everyone [8] 3/2            4/20 5/6 5/7 5/8
   78/1 78/11 78/17          3/3 34/12 41/6            excessive [1] 9/8
   78/20                     51/3 51/6 58/5            exchange [1]
  ESBL [1] 12/14             83/2                       107/17
  escape [1] 11/4           everyone's [1]             excrete [1] 11/15
  especially [1]             41/5                      excuse [4] 42/19
   113/17                   everything [2]              53/17 58/19 60/21
  ESQ [9] 1/13 1/13          120/2 120/12              excused [3] 92/2
   1/16 1/16 1/17           everything's [2]            92/6 92/7
                             48/24 48/25               exhibit [12] 81/2
                              29/2Entered
  E 9:18-cv-80176-BB Document 848
Case                                61/19    91/15
                                          on FLSD         88/1 88/3
                                                  Docket 12/20/2021 Page88/19
                                                                         142 of 178
  exhibit... [11]     101/5                              finally [1] 20/6
   82/25 96/18 97/13 family [5] 90/5                     finance [2] 93/7
   97/15 98/7 98/11   90/9 90/14 90/16                    93/9
   98/20 107/6 108/10 91/13                              finances [2] 105/8
   108/11 108/15     far [6] 82/15                        105/8
  exhibits [4] 4/20   83/16 107/14                       financial [3]
   22/23 23/1 76/5    115/12 115/18                       105/9 118/7 118/22
  exit [2] 99/7 99/7  116/2                              find [5] 27/13
  expand [1] 14/9    fast [1] 111/19                      37/12 66/24 79/21
  expected [1] 111/2 favorite [1] 99/18                   79/22
  experience [1]     feature [1] 35/8                    finding [1] 5/3
   13/23             February [4] 46/25                  findings [4] 28/25
  expert [4] 76/15    59/21 59/24 97/19                   29/19 29/22 86/18
   76/16 113/23      February 19th [1]                   finds [1] 54/21
   115/16             97/19                              fine [3] 5/19
  explain [1] 20/24  feel [4] 16/11                       112/6 120/3
  explains [1] 71/21  58/8 92/22 113/17                  finish [2] 25/21
  expressed [1]      feeling [5] 66/21                    42/20
   22/12              67/1 67/2 67/2                     finished [2] 29/24
  extended [3] 12/12  122/8                               29/25
   12/15 20/14       feet [1] 8/18                       first [22] 9/5
  extended-spectrum  fellow [2] 4/4                       9/11 12/1 16/22
   [1] 12/12          39/23                               31/4 32/10 50/11
  extension [1]      fellows [1] 18/15                    50/11 50/13 50/16
   19/25             felt [7] 30/25                       57/10 57/12 57/24
  extent [1] 48/15    31/2 31/2 31/9                      60/23 66/17 89/17
  extra [1] 5/3       57/11 91/5 114/10                   91/1 94/1 95/25
                     femur [1] 7/9                        107/18 108/20
  F                  fentanyl [2] 13/4                    110/6
  facility [1] 19/19 14/19                               firsthand [1]
  fact [10] 14/3     fever [2] 121/23                     115/16
   17/1 18/8 30/13    122/7                              five [10] 73/15
   35/13 36/8 43/13  few [7] 43/2 58/16                   73/21 85/22 85/23
   50/6 79/14 79/19   59/18 95/12 97/5                    87/9 87/15 87/16
  factor [1] 86/22    113/18 118/23                       87/22 87/23 111/25
  fair [5] 44/20     field [6] 12/1                      fixated [1] 43/8
   64/21 103/15       26/24 29/9 30/22                   flat [1] 49/15
   104/23 116/14      54/4 94/8                          FLEXNER [1] 1/15
  fall [1] 15/8      figure [1] 42/16                    floor [1] 31/1
  fallacy [1] 103/16 filing [1] 5/2                      FLORIDA [9] 1/1
  familial [1]       fill [1] 43/3                        1/14 1/18 1/22
   116/17            filmy [1] 11/15                      1/24 124/3 124/7
  familiar [5] 28/18 final [4] 23/15                      124/15 124/18
                              112/17
  F 9:18-cv-80176-BB Document 848
Case                              Entered on FLSD Docket gain
                                                         12/20/2021   11/11
                                                                [1] Page 143 of 178
  flsd.uscourts.gov          four [2] 110/6              gave [10] 24/14
   [2] 1/25 124/19            118/8                       24/22 31/1 32/8
  focus [5] 16/16            FP [1] 105/14                76/16 76/18 76/21
   28/6 45/3 51/7            fracture [2] 7/4             76/21 76/24 76/25
   93/17                      7/9                        general [14] 16/5
  focused [4] 35/14          frame [1] 97/9               23/24 26/16 50/13
   56/10 66/1 66/2           FREEDMAN [4] 1/12            57/24 57/24 61/11
  Foley [2] 11/1              1/13 3/18 33/4              72/12 74/10 74/22
   85/7                      frequent [2] 10/9            79/20 91/18 93/20
  folks [1] 33/5              107/2                       93/21
  follow [1] 91/22           frequently [19]             generally [6] 8/10
  follow-up [1]               11/20 12/8 12/19            18/19 33/11 50/6
   91/22                      13/1 17/25 41/3             51/1 79/11
  following [1] 20/2          51/19 51/24 51/25          generic [1] 79/2
  follows [3] 89/18           52/1 59/9 61/5             generous [1]
   90/25 91/12                63/8 69/2 72/4              119/15
  Folstein [2] 27/3           72/8 72/22 75/6            gentleman's [1]
   28/2                       122/13                      50/7
  fond [1] 4/22              Friday [2] 99/13            Gentlemen [5] 6/4
  food [1] 99/14              111/18                      69/7 89/8 90/22
  forearm [1] 14/15          friend [11] 90/5             122/18
  foreclosure [1]             90/9 90/14 90/16           get [20] 5/17
   106/2                      91/13 95/15 95/17           11/16 22/9 28/15
  foregoing [1]               100/4 100/5 109/19          36/21 37/23 43/8
   124/10                     120/25                      45/5 59/2 68/11
  forensic [1] 94/15         friends [1] 22/16            87/17 95/6 96/3
  forensics [1] 54/5         friendship [2]               98/4 99/8 105/8
  forever [2] 110/17          95/9 95/11                  111/3 113/16
   111/11                    frita [1] 109/8              119/17 120/21
  forgot [2] 76/24           front [2] 35/19             getting [5] 8/1
   120/3                      70/17                       51/11 65/8 82/14
  formal [3] 7/16            frontal [1] 16/2             98/6
   8/25 75/12                fulfill [2] 89/19           give [15] 5/11
  formula [2] 64/18           91/2                        5/16 14/7 20/17
   64/19                     full [1] 61/9                35/1 62/1 75/24
  forth [5] 7/18             fully [1] 92/22              75/24 84/3 89/11
   13/22 17/3 50/14          Funny [1] 118/16             91/7 93/5 93/12
   65/21                     furlough [1] 19/13           116/13 119/10
  forward [4] 3/9            further [2] 80/3            given [18] 12/5
   69/14 92/13 114/24         124/12                      12/18 12/19 13/4
                                                          13/5 13/6 13/17
  found [5] 12/11            G                            17/16 19/17 19/18
   67/1 74/13 111/19         Gables [1]       1/22        21/4 23/4 27/3
  G 9:18-cv-80176-BB Documentgoing
Case                          848 Entered  5/4 Docket graduate
                                    [48]on FLSD                   [1]14440/9
                                                      12/20/2021 Page    of 178
  given... [5] 33/13         17/4 18/5 23/15          granted [1] 20/1
   33/15 89/18 91/1          24/3 26/10 26/15         gravity [1] 9/19
   100/25                    27/7 30/25 37/11         great [16] 24/25
  gives [1] 119/9            38/25 39/16 40/22         26/17 28/8 29/17
  giving [1] 62/8            42/12 43/3 43/8           29/23 30/23 33/19
  go [91] 3/5 8/4            44/3 56/3 56/3            35/12 43/2 48/16
   14/5 18/16 24/2           56/24 58/2 58/19          51/20 54/3 59/20
   24/3 26/10 28/14          65/14 65/25 70/1          71/24 75/19 113/13
   30/11 30/25 32/23         70/2 73/13 77/14         grip [4] 56/16
   36/20 37/1 37/11          82/3 86/22 86/22          56/19 56/22 57/2
   39/14 42/22 43/25         95/13 95/13 98/7         group [4] 12/20
   44/5 44/7 44/11           105/19 108/16             13/19 18/15 18/16
   45/1 45/5 45/24           110/10 113/1             guess [6] 41/9
   46/12 46/21 46/22         115/10 115/12             42/6 55/16 59/12
   47/10 47/10 47/18         115/20 115/22             110/16 111/10
   48/9 49/12 49/25          116/3 116/12             guidelines [1]
   50/9 52/19 52/19          116/19 117/8              92/22
   52/19 53/2 53/19          120/25 121/24            gun [1] 95/14
   55/5 55/14 55/16         gone [5] 16/23            gut [1] 12/11
   57/7 58/1 59/21           25/7 28/4 40/24          guy [1] 51/4
   62/1 62/3 62/19           49/13                    guy's [1] 42/23
                            Gonzalez [1] 4/6
   63/11 63/11 63/17
                            good [36] 3/2 3/4
                                                      H
   64/9 64/24 66/9                                    had [92] 6/18 6/19
   67/6 67/7 67/15           3/14 3/16 3/18
                             3/20 3/22 3/24 4/2        7/7 7/9 7/11 7/12
   71/10 74/15 75/2                                    7/15 7/17 7/20 8/5
   78/6 80/22 80/25          4/3 4/7 4/9 4/12
                             4/13 6/1 6/4 6/15         8/14 8/18 9/3 9/4
   81/5 83/7 85/21                                     9/4 9/8 9/12 9/16
   87/10 99/9 99/12          6/16 21/17 21/18
                             37/20 41/3 49/1           9/18 9/20 9/22
   99/14 100/3 105/19                                  10/1 10/21 10/23
   106/2 107/14              56/12 67/5 69/25
                             69/25 88/5 93/3           12/7 12/11 12/11
   107/18 108/16                                       13/3 15/20 15/21
   108/17 110/3              93/4 95/15 103/4
                             104/9 117/1 118/8         18/5 21/3 25/14
   111/12 111/17                                       31/4 31/5 31/10
   111/21 113/5              122/16
                            goodness [1] 119/3         31/15 33/12 38/6
   113/15 115/10                                       39/9 45/14 45/20
   117/9 119/5 119/7        got [15] 28/10
                             28/15 33/1 42/10          48/2 54/13 54/15
   119/18 121/2 121/2                                  54/16 54/17 57/2
   121/17 122/19             44/7 54/16 56/24
                             61/7 61/25 65/14          61/13 73/3 73/16
  go to [1] 55/16                                      74/1 74/11 74/21
  goes [5] 14/17             79/3 110/11 110/22
                             120/3 120/7               75/15 76/8 77/6
   15/2 15/13 37/19                                    77/11 77/21 78/5
   85/15                    gotten [1] 37/20
                            grab [1] 90/11             78/10 78/20 79/4
                              27/18
  H 9:18-cv-80176-BB Document 848
Case                                  38/24
                                  Entered      38/25
                                          on FLSD Docket health     Page 91/11
                                                         12/20/2021[3]   145 of 178
  had... [29] 79/6            45/3 45/6 45/8              113/21 119/17
   79/8 79/16 82/7            54/11 73/18 78/16          healthcare [4]
   82/12 84/5 84/8            84/21 93/14 93/16           48/13 50/7 55/23
   85/7 86/24 87/4            102/8 115/3 115/4           66/5
   88/4 88/21 96/2            118/17 122/6               heard [2] 12/9
   97/9 97/20 98/5           have [137]                   103/15
   98/6 100/18 104/2         haven't [5] 5/9             hearing [3] 17/7
   104/17 107/17              22/21 97/6 102/6            17/9 116/21
   107/21 110/14              102/9                      hearsay [1] 101/13
   112/15 117/24             having [12] 10/24           heart [2] 108/2
   120/14 121/16              17/7 19/20 42/4             108/5
   121/23 124/8               97/21 105/9 105/16         help [9] 10/5
  hadn't [1] 57/2             106/15 106/18               54/12 72/24 74/6
  half [4] 60/24              115/6 121/13 122/9          77/14 94/16 100/9
   84/1 84/2 87/23           HBO [1] 118/16               102/1 109/21
  halfway [1] 93/10          he [379]                    helped [2] 54/11
  hall [1] 113/16            he'd [3] 9/23 9/25           101/1
  hand [4] 14/16              49/19                      helping [1] 39/8
   89/11 92/13 124/14        he's [47] 8/1 8/2           her [12] 29/19
  handled [1] 18/6            14/19 34/24 42/23           38/21 38/21 39/7
  handling [2] 4/14           44/22 44/23 45/12           41/10 41/18 41/19
   46/11                      49/21 51/17 52/13           41/19 45/13 66/16
  hanging [6] 15/13           52/15 54/16 54/20           67/24 71/21
   15/14 21/18 21/20          55/20 56/3 56/3            here [24] 3/6
   21/21 95/14                56/5 56/6 64/6              22/12 29/21 37/8
  happen [5] 16/3             64/7 64/20 64/20            37/8 41/7 41/25
   75/5 75/8 122/11           65/7 65/7 65/8              50/24 60/16 62/7
   122/13                     65/14 66/1 66/2             66/24 67/18 68/1
  happened [6] 19/10          66/3 67/1 67/2              86/21 110/9 110/17
   20/10 81/11 85/16          68/17 68/20 71/8            111/10 111/11
   112/5 115/17               71/14 71/17 71/20           115/12 116/6 119/2
  happening [2]               71/21 72/21 75/18           122/14 122/19
   41/25 48/5                 75/18 106/21                122/22
  happens [2] 46/5            111/10 111/23              here's [3] 45/19
   85/14                      122/8 122/8                 50/18 71/5
  hard [8] 11/12             he's not [1] 64/6           hereby [1] 124/7
   17/18 59/17 86/23         head [2] 87/19              hereunto [1]
   108/23 113/20              93/22                       124/14
   118/3 120/24              headed [2] 94/5             hernandez [6] 1/23
  has [25] 4/18 4/20          115/7                       1/25 124/5 124/17
   14/5 15/13 15/20          heading [2] 115/3            124/17 124/19
   17/18 18/15 19/15          115/8                      herself [2] 42/13
                             heal [1] 8/24                68/2
  H 9:18-cv-80176-BB Documenthimself
Case                                   [4]
                              848 Entered      38/6
                                          on FLSD Docket hospital    [58]
                                                         12/20/2021 Page 146 of 178
  Hey [3] 34/22               39/9 54/21 101/17           10/10 15/20 16/21
   45/19 48/3                hip [3] 9/5 9/6              17/2 18/1 18/14
  high [4] 30/3 76/7          9/25                        18/14 18/24 19/9
   87/18 87/20               his [172]                    19/11 19/13 19/18
  highlight [5] 45/4         history [1] 93/5             20/3 20/7 20/9
   108/20 108/23             Hold [2] 86/13               20/12 20/14 20/23
   109/4 113/10               86/13                       26/18 27/10 29/12
  highlighting [1]           holidays [1] 4/16            29/15 51/18 54/6
   45/5                      HOLTZMAN [3] 1/17            56/11 58/7 58/7
  him [87] 4/22 7/16          3/17 76/2                   77/20 83/1 83/14
   9/22 10/5 12/16           home [6] 4/15 96/8           84/3 84/6 84/17
   14/6 18/9 19/6             100/7 100/9 110/2           85/3 85/16 86/25
   20/3 20/4 20/6             119/7                       86/25 87/5 87/5
   20/10 22/14 22/16         honest [2] 63/2              89/20 90/6 91/3
   22/20 34/22 37/4           66/5                        91/14 91/16 91/19
   42/5 47/25 48/15          honestly [1] 97/9            96/7 96/9 96/11
   51/9 51/13 52/16          Honor [46] 3/14              96/14 97/10 98/3
   54/11 54/12 54/22          3/16 3/18 3/20              98/16 99/21 111/2
   56/12 56/17 69/3           3/22 4/7 4/9 5/1            111/4 111/5 116/23
   71/20 72/1 72/6            5/15 16/14 17/7             122/9
   72/9 72/13 72/18           20/17 21/8 21/11           hospitalization
   72/20 72/24 75/24          24/5 25/17 26/4             [11] 10/23 13/19
   82/8 84/9 88/6             27/22 36/4 47/7             14/22 23/11 23/15
   94/1 94/2 94/13            47/19 49/4 49/8             30/4 43/23 74/14
   94/17 95/6 95/17           68/10 69/4 69/18            74/16 83/15 98/22
   95/19 95/22 96/4           80/3 80/5 89/6             hospitalized [3]
   97/8 99/14 99/17           90/7 90/12 91/24            95/23 96/1 96/4
   100/7 101/1 101/9          92/1 92/3 92/4             hospitals [2]
   101/11 101/12              96/19 101/14                85/15 85/15
   102/8 102/9 102/10         101/20 102/5 108/6         hot [1] 4/6
   103/18 104/3               108/13 109/23              hour [4] 67/10
   104/24 105/3 107/1         114/22 115/4                71/2 115/15 122/19
   107/3 109/21 110/1         122/16 122/25              hours [11] 9/23
   110/20 110/22             Honor's [1] 5/2              10/2 10/4 10/11
   110/24 112/18             HONORABLE [1] 1/10           10/15 13/18 51/13
   112/19 112/21             hoo [1] 121/6                58/10 58/16 58/18
   112/23 112/25             hood [1] 17/18               84/21
   114/4 114/7 114/10        Hooters [2] 99/17           house [7] 105/13
   116/5 116/13               99/19                       105/13 105/19
   117/20 119/13             hope [1] 5/8                 106/12 109/21
   120/15 120/20             horizontal [1]               116/20 116/23
   120/21                     36/19                      how [61] 3/3 7/14
                             hose [1] 37/18               10/5 14/9 18/18
                              17/17
  H 9:18-cv-80176-BB Document 848
Case                                  18/2
                                  Entered    21/19
                                          on FLSD Docket important    [12]
                                                         12/20/2021 Page 147 of 178
  how... [56] 20/5    24/23 25/9 25/22                    31/2 31/3 31/10
   21/17 28/16 28/17  28/17 28/19 30/25                   34/15 40/20 40/21
   29/2 29/14 37/21   31/18 33/3 43/8                     50/15 57/11 66/25
   38/25 45/17 48/13  44/3 45/20 48/3                     104/24 105/3
   50/10 50/14 55/22  55/2 56/7 56/24                     111/25
   58/6 58/8 76/2     57/10 58/2 58/19                   impossible [3]
   82/6 82/7 82/17    62/12 62/21 64/14                   37/4 51/9 51/12
   84/5 84/8 85/9     67/6 68/1 70/1                     impressed [1] 6/6
   85/18 87/4 87/7    70/1 70/15 80/13                   imprisoned [1]
   87/7 87/12 94/22   80/13 80/23 91/15                   113/17
   94/22 95/11 96/5   97/23 98/7 101/2                   improved [2] 21/6
   96/5 99/12 100/21  104/15 108/16                       103/12
   101/24 102/18      110/10 112/1 115/2                 impulse [1] 16/1
   102/19 103/24      115/7 115/8 115/9                  impulses [1] 14/3
   104/20 107/1 108/9 115/13 115/20                      inadvertent [1]
   111/1 111/1 111/16 115/21 116/21                       61/14
   111/23 112/2       116/21 117/8                       include [2] 81/21
   113/17 113/20      120/24 121/9                        86/8
   114/2 114/16      I've [8] 16/8                       included [2] 8/22
   115/12 115/18      49/13 56/24 59/17                   13/3
   116/2 117/22       78/18 97/5 105/6                   includes [1] 61/9
   118/12 122/13      115/10                             including [3]
  How's [1] 87/24    ICU [9] 111/13                       14/19 15/24 21/2
  huge [1] 119/8      111/24 112/2 112/8                 indicate [3] 8/19
  huh [3] 61/12       112/20 119/23                       9/14 50/13
   70/13 81/4         119/24 120/2 120/9                 indicated [1]
  hundred [2] 61/3   idea [6] 33/12                       54/10
   76/4               55/2 56/12 75/4                    indicating [1]
  Hundreds [2] 43/16  82/20 122/2                         17/19
   46/19             ideas [1] 33/1                      indirect [1] 28/24
                     identified [1]                      individual [1]
  I                   77/10                               59/4
  I'd [4] 22/1 52/25 identify [1] 11/24                  individually [1]
   107/9 108/6       immobility [2] 7/2                   18/17
  I'll [15] 5/7       15/12                              individuals [1]
   41/22 63/21 78/13 immobilize [1]                       17/24
   80/14 102/11       15/10                              indwelling [1]
   105/23 109/25     immobilized [1]                      64/4
   111/10 114/13      10/9                               infect [1] 11/12
   117/8 117/12      impaired [1] 56/19                  infected [1] 98/6
   117/15 119/9      impairment [1]                      infection [16]
   122/19             75/16                               9/13 10/22 11/3
  I'm [54] 12/2 17/7 implied [1] 28/23                    11/4 11/6 11/7
Case                          116/25
  I 9:18-cv-80176-BB Document 848                         16/22 21/3
                                  Entered on FLSD Docket 12/20/2021 Page 148 of 178
  infection... [10]          intensive [7]               intravenously [1]
   11/9 11/12 11/18           111/24 112/12               12/19
   12/7 73/4 73/16            113/2 119/25 120/5         introduce [1] 4/4
   73/17 73/23 96/3           120/10 120/19              introduced [5]
   110/13                    intent [2] 115/19            80/9 80/10 81/17
  infections [10]             116/1                       81/20 81/25
   7/12 9/4 10/17            interact [1] 57/17          involved [1]
   10/20 10/21 11/9          interactive [9]              102/22
   11/10 73/3 97/11           44/13 44/18 44/19          IRA [3] 1/3 3/11
   120/21                     44/23 46/16 50/22           4/1
  infectious [8]              57/15 59/25 60/7           irregular [1] 20/7
   12/1 18/7 18/7            interest [2] 38/24          is [340]
   22/9 27/15 27/17           38/25                      ischial [1] 8/14
   39/21 39/23               interested [1]              isn't [3] 28/12
  Info [1] 1/4                12/2                        35/9 79/14
  information [13]           interesting [6]             issue [3] 27/8
   23/22 24/17 24/18          57/1 57/1 60/1              34/7 55/5
   24/21 25/1 25/4            60/3 62/6 67/1             issued [2] 32/17
   28/24 93/8 93/10          interfere [5]                33/8
   93/11 94/10 103/9          13/15 13/15 14/2           issues [9] 5/24
   104/17                     15/6 15/18                  27/9 27/19 37/2
  initially [1]              intermittent [1]             90/16 96/2 119/17
   19/23                      11/1                        120/23 121/12
  injuries [1] 99/22         intern [1] 40/5             it [265]
  injury [1] 30/17           interns [3] 18/15           it to [1] 5/18
  innervation [2]             40/4 40/9                  it's [104] 5/4 5/8
   12/24 13/11               interrupt [2] 17/3           5/10 5/15 8/23
  insane [1] 113/19           88/16                       11/14 12/12 13/5
  inserted [1] 14/24         interrupted [4]              13/6 13/8 13/25
  installation [1]            17/2 39/10 55/25            15/14 16/6 17/1
   19/19                      72/21                       17/18 17/18 19/13
  installed [1]              interrupting [1]             23/10 24/18 27/18
   19/20                      85/12                       28/5 29/3 29/24
  instances [2] 82/5         interruption [3]             30/12 30/12 30/22
   122/7                      12/24 63/25 84/21           35/7 35/7 35/7
  instead [2] 5/5            interruptions [11]           37/19 38/21 39/16
   42/11                      17/6 17/16 37/21            39/21 40/21 41/16
  instructed [1]              38/11 84/5 84/16            41/17 43/9 43/9
   10/4                       84/19 85/1 85/4             43/24 46/2 50/6
  instructions [1]            85/8 88/21                  50/16 50/17 51/2
   28/23                     intravenous [8]              52/21 53/6 55/18
  intending [1]               14/10 14/12 14/13           55/22 57/1 57/23
                              14/20 14/23 15/4            58/7 59/11 60/13
  I 9:18-cv-80176-BB Documentjovial
Case                          848 Entered   114/18
                                      [1]on FLSD Docket justice
                                                        12/20/2021 [1]   6/9
                                                                   Page 149 of 178
                             JUDGE [10] 1/10
  it's... [51] 60/13
                              4/3 4/12 4/15 4/16
                                                        K
   60/13 60/14 60/14                                    K-I-M-O-N [1]
   60/14 62/14 64/21          4/21 69/11 79/24
                              115/1 117/2                92/19
   65/3 67/9 67/18                                      KASS [15] 1/21 2/6
   67/18 68/13 68/23         July [3] 52/4
                              63/17 119/19               2/7 4/9 17/8 22/22
   70/11 70/18 71/7                                      29/25 30/7 30/25
   72/7 75/4 75/7            June [1] 63/12
                             jurors [1] 4/24             34/21 35/19 41/16
   76/7 77/15 78/19                                      55/6 83/2 90/2
   79/10 79/11 79/13         jury [35] 1/11
                              4/20 6/2 6/3 6/18         keep [6] 100/23
   79/18 82/21 82/22                                     103/2 104/11
   83/16 86/21 86/22          8/8 10/19 17/5
                              19/10 20/24 27/24          106/11 111/16
   87/20 88/16 90/10                                     115/10
   90/15 90/20 98/8           30/11 31/4 31/10
                              32/4 35/1 35/20           keeping [1] 42/11
   99/6 102/10 107/6                                    kept [4] 20/5
   108/2 108/10               35/22 36/3 36/7
                              38/9 39/11 58/5            104/3 104/12
   108/21 108/23                                         120/21
   113/11 119/3 119/8         66/25 69/9 69/19
                              69/20 76/16 80/18         key [1] 75/17
   120/25 121/1                                         keys [1] 104/12
   121/20 121/21              93/5 93/12 96/21
                              97/16 109/5 122/21        kidneys [1] 11/4
  items [2] 73/2                                        KIMON [12] 2/8
   86/18                     just [62] 4/4 5/1
                              7/10 13/24 16/14           92/9 92/15 92/19
  its [1] 14/1                                           108/18 111/12
  itself [3] 11/13            20/17 20/22 24/2
                              24/13 33/3 35/7            113/5 118/1 118/25
   23/3 41/21                                            119/18 121/2
  IVs [2] 14/14 85/7          35/7 36/2 37/11
                              37/13 37/23 39/8           121/17
  J                           40/4 41/16 41/24          KLEIMAN [78] 1/3
  January [7] 21/24           44/17 45/4 46/24           1/4 3/11 4/1 6/19
   32/11 46/15 46/24          50/16 62/12 64/11          7/5 7/15 7/20 8/5
   70/9 70/18 110/22          67/9 71/8 73/2             8/19 9/14 22/24
  JMOL [1] 5/3                74/3 74/24 75/10           23/4 26/18 30/13
  job [3] 27/18               76/10 76/13 76/15          30/15 31/4 31/10
   38/21 38/21                77/22 84/22 87/6           31/15 33/22 34/5
  Jody [7] 109/7              88/1 88/16 89/24           35/2 35/21 36/8
   109/13 109/14              92/17 94/21 95/12          38/18 39/4 39/9
   109/17 109/19              95/14 99/6 99/14           40/14 41/18 41/20
   109/21 110/1               108/22 108/23              44/21 45/3 45/6
  joint [3] 9/6               113/18 114/7               45/8 45/13 48/14
   96/17 97/14                114/18 114/20              51/4 54/4 55/3
  joints [1] 7/13             114/21 115/15              55/24 56/7 56/10
  jokes [1] 111/9             115/18 116/15              56/23 58/24 66/5
  JORGE [2] 1/20              117/12 117/13              68/4 73/16 82/25
   4/11                       118/4 120/3 122/4          83/14 84/6 85/10
Case                          100/9
  K 9:18-cv-80176-BB Document 848     100/18
                                  Entered                 96/11 96/14
                                          on FLSD Docket 12/20/2021       98/15
                                                                    Page 150 of 178
  KLEIMAN... [27]             100/21 100/25      98/22 111/4 117/6
   85/18 85/24 86/5           102/18 103/3 104/2 118/13
   86/8 86/25 87/4            104/16 104/20     lasted [1] 74/17
   87/8 88/5 88/11            105/9 106/4 106/14late [4] 71/7
   88/21 89/3 93/24           106/18 106/20      71/18 71/22 71/22
   94/9 94/25 95/4            108/9 109/17      later [4] 39/1
   96/25 97/18 98/23          109/21 110/1 110/2 42/14 44/22 119/7
   99/3 100/12 101/7          111/25 112/25     lawyers [15] 32/8
   101/17 102/22              113/11 113/15      32/10 32/12 32/14
   106/22 106/24              113/16 114/7 116/8 32/19 32/20 32/21
   107/24 110/10              119/24 120/16      32/22 32/25 33/3
  Kleiman's [26]              120/24 120/24      33/20 33/20 34/3
   6/23 15/5 16/16            122/13             34/4 34/4
   16/19 19/9 22/13          knowledge [2]      lay [1] 37/4
   23/19 23/22 28/25          85/14 100/11      lead [5] 11/3 11/4
   30/3 33/20 34/4           known [2] 12/9      15/11 15/24 85/8
   35/8 37/3 43/22            13/4              leading [14] 73/8
   70/24 77/12 82/4          knows [5] 18/1      84/10 85/25 86/10
   82/16 82/17 84/16          61/23 61/23 61/24  87/1 88/7 95/1
   87/13 88/25 101/4          117/14             104/25 105/4
   105/8 109/19              KYLE [2] 1/13 3/20  105/21 105/22
                                                 106/8 113/3 114/12
  knee [3] 9/12              L                  learning [1] 10/5
   110/12 110/14             labored [1] 69/1
  knew [6] 34/6                                 least [5] 10/6
                             lack [2] 7/2 7/2    11/7 15/25 29/18
   34/12 94/22 94/22         lactamase [3]
   102/18 102/19                                 44/22
                              12/13 12/13 12/15 leave [14] 19/13
  know [78] 3/6 5/9          Ladies [5] 6/4
   5/11 7/14 14/9                                19/14 19/16 19/17
                              69/7 89/8 90/22    19/17 19/21 19/25
   18/9 26/18 26/20           122/18
   27/3 29/2 29/3                                20/13 89/20 90/6
                             Lady [1] 118/16     91/3 91/14 104/14
   29/8 29/18 29/19          laid [3] 97/5 97/8 120/3
   32/25 33/2 33/13           111/2
   38/15 38/17 40/18                            left [11] 6/17 7/9
                             language [5] 28/21 9/24 15/1 19/9
   44/5 44/16 45/13           42/21 68/17 68/18
   45/17 47/13 53/25                             19/23 19/24 20/16
                              68/21              20/23 31/1 70/1
   55/4 57/10 59/4           laptop [1] 54/6
   59/6 60/19 64/11                             legal [2] 33/14
                             large [2] 14/22     33/15
   66/25 79/4 82/17           73/1
   85/9 85/11 85/15                             length [1] 9/17
                             last [17] 64/6     lengthy [1] 96/10
   85/16 93/24 94/21          64/14 64/16 67/10 Leon [1] 1/21
   95/6 95/25 96/13           68/13 71/18 85/16 less [2] 15/11
   97/7 97/21 97/23           86/25 87/5 96/9    30/12
  L 9:18-cv-80176-BB Documentlife
Case                               [2] on
                              848 Entered 65/14
                                            FLSD Docket Liz        80/20
                                                              [1] Page
                                                        12/20/2021     151 of 178
  let [20] 4/17 6/10          96/6                      LLC [1] 1/4
   24/2 24/13 31/1           lift [1] 19/19             LLP [2] 1/12 1/19
   32/7 42/20 55/12          like [27] 5/12             lobe [1] 16/2
   59/18 60/21 76/14          6/17 10/14 13/22          located [2] 8/9
   79/23 89/11 96/16          14/10 19/14 34/22          8/10
   97/13 105/16               37/5 39/24 40/12          long [12] 9/25
   111/12 111/25              42/7 42/9 51/23            11/19 12/3 12/6
   117/5 118/1                58/8 58/8 60/25            15/1 20/15 49/19
  let's [77] 3/6 6/2          63/8 63/21 64/18           78/7 78/9 78/10
   22/9 27/21 28/14           75/21 76/7 88/17           78/12 88/14
   28/20 29/24 30/11          106/22 111/10             long-term [3]
   30/14 31/2 35/12           111/10 113/15              11/19 12/3 20/15
   35/17 35/17 36/1           122/7                     longer [3] 12/16
   36/1 36/1 36/7            likely [4] 7/4              19/11 84/23
   36/20 37/1 37/11           8/24 114/5 117/21         longer-term [1]
   39/14 40/17 43/2          likes [2] 64/19             12/16
   43/25 44/16 45/1           64/22                     look [25] 5/18
   45/3 46/12 46/21          likewise [1] 10/3           22/2 26/14 27/15
   46/22 47/10 47/10         limine [2] 90/8             27/18 28/20 35/12
   47/18 48/9 49/25           90/10                      35/17 35/17 36/13
   52/8 52/19 52/19          limitations [1]             43/2 52/8 52/25
   53/2 53/19 55/5            100/25                     55/7 60/19 60/20
   55/7 55/14 57/7           line [7] 14/13              61/1 61/1 77/18
   58/1 58/2 59/21            14/20 14/23 36/19          83/21 96/25 111/17
   60/24 62/1 62/3            37/13 50/13 109/24         117/11 121/19
   62/19 63/11 63/11         lines [6] 15/4              121/20
   63/17 64/9 64/24           15/6 15/11 16/22          looked [7] 25/14
   66/9 66/23 66/24           24/3 97/6                  53/16 53/17 61/4
   67/7 67/15 68/13          list [3] 37/25              76/4 77/23 79/19
   69/7 69/19 70/3            81/23 108/11              looking [7] 27/15
   70/17 71/10 75/24         listed [1] 13/24            36/7 40/24 42/5
   75/24 76/13 77/22         literal [1] 51/12           42/14 57/3 111/16
   77/23 111/16              literature [1]             looks [1] 39/24
   111/23 113/5 121/2         29/4                      looped [1] 57/13
   122/18                    little [17] 10/19          loose [1] 13/13
  let's not [1]               14/9 17/5 19/10           lose [1] 7/3
   60/24                      19/14 29/24 33/14         losing [1] 116/21
  letting [1] 115/10          35/1 47/14 70/2           loss [1] 8/12
  level [1] 30/3              76/14 85/21 86/21         lost [3] 31/5
  Licensed [1] 66/15          87/10 101/4 107/13         31/10 74/2
  lie [3] 9/18 88/14          118/6                     lot [11] 26/10
   121/16                    live [2] 110/16             26/11 40/19 41/1
                              111/11                     43/1 43/14 43/15
  L 9:18-cv-80176-BB Documentmaking
Case                          848 Entered   33/21
                                      [6]on FLSD         120/4 122/16
                                                 Docket 12/20/2021 Page 152 of 178
  lot... [4] 50/24            34/4 61/3 68/2            May 2nd [1] 117/13
   51/18 51/23 82/22          105/17 111/10             May 31st [1] 119/3
  Lotto [2] 106/22           malpractice [1]            May 3rd [1] 118/4
   106/24                     34/8                      maybe [5] 60/18
  lower [4] 8/17             management [3]              75/21 99/8 107/2
   12/24 31/20 34/12          11/20 93/8 93/10           115/11
  LPN [2] 66/14              many [33] 7/14             MCGOVERN [2] 1/20
   66/14                      11/23 12/4 20/5            4/8
  lunch [5] 116/12            37/21 43/24 46/17         MD's [1] 37/16
   122/19 122/20              47/4 47/17 50/10          MDs [2] 40/10
   122/24 123/1               60/13 65/24 66/7           40/11
  lying [12] 8/12             66/7 67/12 69/2           me [53] 4/17 6/10
   8/17 9/16 9/23             69/2 72/20 76/2            16/8 16/11 17/9
   48/16 48/22 48/23          82/6 82/7 82/17            20/17 24/2 24/13
   49/2 49/2 49/15            84/18 85/4 85/18           26/13 31/18 32/7
   88/12 88/13                87/4 87/7 87/7             32/21 33/1 41/18
                              87/12 103/24 108/9         42/19 42/20 53/17
  M                           110/13 118/12              55/11 58/19 59/13
  M-R-S-A [1] 12/9           march [8] 19/11             60/21 60/21 62/1
  machine [2] 113/16          19/17 20/24 37/11          63/21 68/1 68/1
   124/8                      46/24 60/5 98/17           74/11 76/14 77/14
  MACINTYRE [26] 2/5          111/18                     78/15 79/23 85/17
   3/8 6/1 6/10 6/15         Maria [1] 53/6              89/11 94/14 94/16
   11/21 16/15 16/19         mark [1] 45/14              94/21 94/23 96/16
   20/22 21/17 25/21         mask [1] 92/23              96/18 97/2 97/13
   32/22 49/10 49/12         master's [2] 93/8           99/8 100/22 104/21
   69/14 69/25 70/17          93/9                       105/16 105/24
   80/8 81/2 83/11           material [1] 11/15          111/12 111/25
   85/9 89/9 89/10           materials [1]               117/6 118/1 119/9
   90/24 91/21 92/2           25/12                      122/14 122/15
  Madam [1] 17/12            math [1] 87/18             mean [14] 5/6 5/21
  made [5] 21/3 34/9         matter [4] 5/1              9/17 48/16 50/15
   37/1 72/16 105/6           51/2 114/19 116/11         58/12 60/25 61/1
  majority [1] 93/17         matters [1] 4/23            62/21 65/8 73/19
  make [17] 3/6 19/2         may [25] 5/3 16/15          88/13 88/15 116/8
   26/13 34/25 38/8           21/14 24/5 24/6           meaning [2] 39/5
   44/14 50/21 55/10          25/21 26/13 36/3           54/4
   61/5 62/21 77/7            42/8 58/15 62/19          means [10] 29/4
   80/14 106/14 111/9         76/8 82/11 89/14           29/6 38/6 50/16
   115/3 116/17               114/10 114/22              57/17 61/15 61/22
   117/15                     116/8 116/20               61/23 64/6 64/7
  makes [4] 11/16             116/22 117/13             meant [3] 41/8
   13/1 42/1 113/17           118/4 119/3 119/3          55/1 119/24
                              90/14
  M 9:18-cv-80176-BB Document 848
Case                                  90/16
                                  Entered      91/14
                                          on FLSD         18/13 99/1
                                                  Docket 12/20/2021 Page 99/3
                                                                         153 of 178
  measured [1] 56/16         mental [28] 13/24            99/5 124/15 124/18
  mechanics [1]               15/24 23/22 23/24           124/18
   14/11                      24/15 24/16 24/19          microphone [1]
  mechanisms [1]              25/16 26/19 27/4            17/8
   14/13                      27/9 27/13 27/18           middle [3] 49/5
  medical [55] 6/19           27/19 28/2 28/9             113/8 117/11
   11/21 11/25 16/19          29/11 29/14 34/18          midnight [1] 5/21
   17/6 17/15 20/9            34/20 74/9 74/21           might [8] 15/8
   20/12 20/12 22/23          77/12 79/9 79/16            17/4 22/1 80/20
   22/25 23/1 23/3            87/24 113/21                86/12 106/2 109/7
   26/11 26/14 27/23          115/14                      122/3
   30/4 31/8 31/9            mention [6] 65/20           military [2] 19/14
   35/8 35/20 35/21           65/25 74/4 103/4            71/3
   36/8 40/22 40/23           103/22 103/24              million [1] 119/10
   41/2 42/12 45/22          mentioned [17] 8/4          mimic [1] 42/12
   51/16 54/11 54/13          8/15 8/22 14/19            mind [4] 38/18
   54/15 54/17 54/17          15/23 17/21 35/5            40/13 62/22 63/1
   56/12 58/22 72/1           35/13 43/24 47/4           Mine's [1] 78/12
   73/21 75/3 75/6            48/18 76/15 78/22          mini [4] 27/4 28/2
   76/10 78/19 79/7           78/23 84/25 106/5           56/21 56/22
   79/7 79/15 79/15           124/9                      Mini-Mental [2]
   80/9 80/10 81/8           merely [1] 115/18            27/4 28/2
   81/16 82/4 82/16          message [3] 109/2           minimal [1] 101/25
   82/17 85/2 88/25           114/11 118/3               minor [2] 97/20
  medically [2] 13/6         messages [4]                 98/5
   54/21                      107/21 110/6 112/1         minute [4] 30/13
  medication [9]              120/5                       69/8 69/10 114/23
   13/4 13/7 13/9            MESTRE [6] 1/19             minutes [5] 84/23
   14/10 15/3 15/13           1/20 2/8 4/11               99/8 111/25 116/12
   17/1 76/13 79/17           108/8 115/8                 118/23
  medications [25]           met [10] 21/22              miss [3] 45/20
   7/23 7/25 11/22            22/6 32/7 32/10             73/13 75/5
   11/23 11/24 12/2           32/10 32/12 32/14          missing [1] 45/9
   12/20 12/22 13/2           94/2 95/19 95/22           misspoke [2] 43/12
   13/19 13/21 13/23         metal [1] 110/13             43/13
   13/25 14/12 14/18         methicillin [1]             mobility [3] 15/5
   15/21 15/23 16/1           12/8                        15/7 15/18
   16/24 21/2 21/3           methicillin-resista         moment [8] 20/18
   44/22 77/10 84/20         nt [1] 12/8                  21/11 40/25 47/7
   89/3                      methodically [1]             48/6 63/3 116/9
  meet [2] 5/2 94/1           82/4                        122/16
  member [4] 90/5            Miami [11] 1/14             moments [1] 114/9
                              1/18 1/24 1/24             Monday [3] 99/13
  M 9:18-cv-80176-BB DocumentMotors
Case                                        93/20
                                      [2]on FLSD
                              848 Entered                97/18 98/9
                                                 Docket 12/20/2021 Page 98/20
                                                                        154 of 178
  Monday... [2]               93/21                      107/9 107/18 108/8
   113/7 117/13              mouth [3] 12/19             108/16 110/9 115/8
  money [1] 121/12            13/4 13/18                 115/21 122/22
  month [6] 37/12            move [14] 15/8             Mr. Andreou [8]
   47/11 49/25 107/2          15/8 15/9 19/8             92/12 92/21 93/3
   118/9 118/13               38/8 67/5 70/2             96/24 97/18 107/9
  months [9] 83/21            75/9 77/22 108/6           110/9 122/22
   83/25 84/1 84/2            116/11 117/8 118/1        Mr. Boyd [3] 64/23
   113/18 113/18              118/25                     68/17 68/20
   118/9 118/9 118/12        moved [2] 15/14            Mr. Brenner [5]
  mood [3] 59/15              22/22                      17/11 82/3 88/2
   111/3 111/5               movie [1] 34/24             88/20 115/21
  more [20] 6/6 7/3          movies [1] 19/6            Mr. Charlebois [2]
   8/23 10/19 17/5           moving [1] 13/15            56/2 56/24
   19/10 20/9 33/14          MR [14] 2/6 2/6            Mr. Freedman [1]
   36/22 37/13 43/2           2/7 2/8 4/14 4/15          33/4
   44/7 68/10 70/2            4/18 4/22 16/16           Mr. Kass [11] 17/8
   71/10 73/2 82/11           41/19 56/1 76/2            22/22 29/25 30/7
   82/12 103/22 121/5         82/15 110/3                30/25 34/21 35/19
  morning [35] 3/2           Mr. [82] 4/6 4/14           41/16 55/6 83/2
   3/3 3/7 3/14 3/16          4/19 17/8 17/11            90/2
   3/18 3/20 3/22             22/22 23/22 26/18         Mr. Kleiman [27]
   3/24 4/2 4/3 4/7           28/25 29/25 30/3           26/18 30/13 30/15
   4/9 4/12 4/13 5/19         30/7 30/13 30/15           31/4 31/10 31/15
   6/1 6/4 6/15 6/16          30/25 31/4 31/10           33/22 34/5 35/2
   21/17 21/18 59/2           31/15 33/4 33/5            38/18 39/4 39/9
   59/2 59/3 59/5             33/20 33/22 34/4           40/14 41/18 44/21
   59/6 59/12 59/15           34/5 34/21 35/2            45/3 45/6 45/8
   69/25 70/25 71/7           35/8 35/19 37/3            45/13 48/14 55/24
   71/13 93/3 93/4            38/18 39/4 39/9            56/7 56/10 56/23
  mortgage [1]                40/14 41/16 41/18          58/24 66/5 68/4
   105/17                     43/22 44/21 45/3          Mr. Kleiman's [9]
  most [14] 10/18             45/6 45/8 45/13            23/22 28/25 30/3
   12/2 12/9 18/21            48/14 55/6 55/24           33/20 34/4 35/8
   21/6 22/25 23/6            56/2 56/7 56/10            37/3 43/22 82/4
   31/19 50/15 57/11          56/23 56/24 58/24         Mr. Mestre [2]
   72/20 98/23 114/5          64/23 66/5 68/4            108/8 115/8
   117/21                     68/17 68/20 80/15         Mr. Reed [13] 4/6
  motion [2] 90/8             81/5 82/3 82/4             4/14 4/19 80/15
   90/10                      82/24 83/2 88/2            81/5 82/24 96/17
  motorcycle [2]              88/20 90/2 92/12           97/3 97/14 98/9
   30/17 30/21                92/21 93/3 96/17           98/20 107/18
                              96/24 97/3 97/14           108/16
                              110/14
  M 9:18-cv-80176-BB Document 848
Case                                   112/8
                                  Entered       116/1
                                          on FLSD Docket next   [24]Page16/10
                                                         12/20/2021      155 of 178
  Mr. Roche [1] 33/5          116/21 118/8 118/9 36/17 36/18 36/19
  MRSA [1] 12/9               118/13 118/17      40/22 43/25 45/1
  Ms [9] 3/25 4/18            120/3 120/4 124/11 46/12 47/11 48/9
   27/21 36/21 43/4           124/14             49/25 52/2 53/2
   46/1 53/4 62/21           myself [4] 10/14    53/6 54/3 58/1
   70/6                       33/4 72/3 72/7     59/21 60/5 61/8
                                                 62/19 67/15 92/8
  Ms. [6] 45/2 53/16         N                   111/21 117/9
   66/16 67/19 70/12         name [4] 13/8
   70/21                                        night [6] 71/2
                              78/25 79/2 92/17   71/5 71/7 71/14
  Ms. Allison [3]            Natalie [2] 52/20
   66/16 70/12 70/21                             71/18 121/24
                              53/9              nil [1] 101/25
  Ms. Pilar [1]              near [2] 115/22
   53/16                                        Nine [1] 76/4
                              119/2             no [101] 1/2 2/10
  Ms. Somoza [1]             necessarily [4]
   67/19                                         4/19 19/10 20/9
                              12/25 50/15 75/5   22/21 23/22 24/17
  Ms. Vela [1] 45/2           110/23
  much [7] 16/11                                 24/18 24/21 25/1
                             need [16] 4/24 5/3 25/4 25/6 25/10
   25/15 29/14 33/13          5/24 9/7 58/14
   80/2 103/1 114/17                             26/9 28/4 28/19
                              58/14 58/15 69/15  28/22 28/25 29/5
  multiple [10] 12/3          89/19 89/24 91/2
   12/18 16/8 18/11                              29/6 29/13 29/16
                              98/12 107/11       30/20 30/20 33/20
   18/25 21/1 35/4            107/14 108/22
   61/5 85/1 85/4                                33/21 33/23 34/3
                              121/20             34/8 34/11 34/20
  multiplication [2]         needed [3] 94/15
   86/21 87/19                                   36/19 38/17 38/24
                              100/9 104/21       38/25 39/20 40/12
  multiply [1] 87/16         needle [1] 14/14
  multistep [1]                                  40/16 43/12 45/24
                             needs [2] 71/22     48/2 50/17 53/11
   28/23                      74/6
  muscle [3] 7/2                                 53/12 53/12 54/17
                             negative [2] 79/6   54/23 54/25 55/2
   12/23 13/10                79/8
  muscles [1] 13/12                              55/16 55/16 57/5
                             nerve [1] 13/12     57/25 57/25 58/8
  must [1] 113/20            network [3] 93/15
  my [40] 4/4 12/1                               60/13 60/13 60/20
                              93/15 94/11        60/23 63/1 64/3
   29/5 30/22 33/5           neuro [2] 61/9
   33/24 35/4 41/18                              64/14 64/19 66/4
                              61/14              67/9 74/20 74/24
   44/4 48/3 51/23           never [6] 22/13
   56/7 58/19 62/21                              79/6 79/7 79/11
                              22/16 22/19 75/5   79/22 80/3 86/1
   76/21 79/23 81/19          116/1 116/4
   87/19 93/14 93/17                             86/13 88/23 89/1
                             Nevertheless [1]    89/5 89/23 90/1
   93/17 94/7 95/18           30/24
   96/9 100/4 100/11                             90/3 90/12 91/24
                             new [2] 49/19       92/1 95/5 97/23
   103/12 110/12              88/10              98/6 100/8 100/15
                              82/5Entered
  N 9:18-cv-80176-BB Document 848
Case                                90/19                 119/9 Page 156 of 178
                                          on FLSD Docket 12/20/2021
  no... [12] 100/24         notes [25] 17/17          nurse [15] 38/15
   101/8 101/19 104/6        17/19 17/20 26/21         38/17 40/23 42/1
   108/13 114/19             27/2 27/6 40/2            45/14 51/3 57/17
   115/19 118/13             46/17 47/4 47/16          62/7 62/9 66/11
   120/17 121/5              47/17 51/3 57/12          66/14 66/15 71/20
   121/16 122/4              57/12 60/1 63/9           85/19 86/7
  Nobel [1] 37/20            66/17 84/25 85/19        nurse's [3] 38/15
  nobody [1] 108/4           85/23 86/4 86/17          38/16 70/11
  none [1] 78/19             87/8 87/13 124/11        nurses [10] 17/16
  Nope [2] 89/22            nothing [3] 5/25           19/2 35/7 40/12
   121/6                     72/17 72/20               40/21 45/17 58/14
  normal [1] 113/19         notice [2] 56/16           59/9 60/13 84/20
  normally [3] 12/11         58/22                    nursing [10] 9/22
   12/17 15/14              noting [1] 56/14           10/15 17/21 18/25
  North [2] 1/24            notorious [1] 13/5         35/5 39/19 39/20
   124/18                   November [8] 1/5           62/24 70/14 70/18
                             43/8 43/9 43/10
  nose [2] 112/9
                             108/21 108/25
                                                      O
   112/16                                             oath [3] 6/11
  not [128]                  124/9 124/15
                            now [50] 7/16 8/1          24/10 92/14
  notation [1] 79/14                                  object [1] 90/7
  note [52] 16/8             9/22 10/3 10/8
                             12/4 12/22 13/5          objection [36]
   36/14 36/16 36/17                                   16/14 16/17 25/20
   36/18 36/19 36/21         13/11 13/21 18/13
                             18/20 19/8 21/6           41/21 49/4 49/9
   36/24 36/25 37/8                                    83/5 84/10 84/13
   38/15 38/16 38/22         22/22 23/18 24/1
                             25/23 37/24 40/2          85/25 86/10 86/11
   39/16 39/19 39/19                                   86/14 87/1 88/7
   39/20 39/21 40/2          41/13 44/3 44/3
                             45/12 46/24 52/4          89/21 89/23 90/1
   40/21 46/2 46/3                                     90/3 90/19 94/19
   49/21 50/10 50/11         53/25 55/22 59/2
                             64/11 66/20 71/14         95/1 101/13 101/20
   50/18 50/19 50/21                                   102/3 102/16
   52/17 52/18 52/21         82/15 88/13 93/19
                             93/24 97/10 101/4         104/25 105/4
   52/22 52/23 53/22                                   105/21 106/8
   53/25 54/2 55/11          102/21 103/19
                             105/8 109/5 110/15        108/12 108/13
   56/16 57/23 59/11                                   109/23 113/3
   62/15 62/24 64/16         112/4 113/20
                             116/12 118/1 118/7        113/23 114/12
   70/11 70/14 70/18                                  objections [1]
   70/24 71/5 78/19          119/5 119/19
                            number [17] 3/10           90/12
   86/7 86/8 86/16                                    observation [10]
  noted [12] 16/7            9/3 18/5 31/8 31/9
                             50/6 87/20 107/23         41/19 42/1 42/3
   18/25 20/3 25/15                                    47/24 50/6 50/15
   35/3 50/11 57/2           108/1 108/3 108/4
                             108/19 108/19             50/17 57/9 57/10
   58/23 64/4 73/22                                    68/2
                             110/4 110/4 117/9
                              70/1Entered
  O 9:18-cv-80176-BB Document 848
Case                                75/21    81/23
                                          on FLSD         48/18 49/15
                                                  Docket 12/20/2021       49/15
                                                                    Page 157 of 178
  observations [1]            91/7 92/23 99/6             49/21 50/6 52/24
   66/17                      99/7 120/3 120/5            54/20 56/14 56/15
  observe [1] 51/1           OFFERED [1] 2/10             58/1 58/19 59/1
  observed [6] 11/24         offering [2] 23/18           59/21 60/7 61/2
   19/2 19/6 38/25            75/14                       61/8 61/23 62/1
   39/3 111/7                office [3] 99/2              62/9 62/14 62/19
  observes [2] 38/22          99/6 99/13                  63/20 67/15 67/23
   63/5                      officer [1] 94/10            67/24 68/10 68/13
  observing [3] 62/8         officially [1]               70/23 71/10 71/13
   63/2 64/20                 20/6                        71/14 72/15 73/13
  obvious [1] 15/19          offload [4] 9/19             75/3 75/23 76/5
  obviously [5] 8/1           10/6 88/17 88/18            76/21 77/14 78/3
   12/1 15/6 18/10           often [8] 18/18              78/10 81/23 81/24
   114/3                      88/17 99/12 100/3           84/22 85/11 88/1
  occasion [1] 94/14          107/1 122/5 122/11          88/2 88/2 88/12
  occasions [7] 16/9          122/13                      89/24 89/25 96/13
   18/25 19/7 21/22          oh [12] 39/21                96/14 106/20
   26/22 61/5 73/8            41/13 42/8 42/10            110/13 114/22
  occupational [9]            60/23 70/15 80/22           117/9 117/15
   17/22 21/2 55/20           85/21 93/8 117/14           120/16 122/8
   55/21 56/3 56/5            118/15 121/19               122/19
   56/13 60/14 84/24         okay [201]                  one's [6] 13/24
  occur [3] 13/14            older [1] 10/13              45/23 52/2 52/22
   16/6 84/19                once [6] 10/10               68/22 71/2
  occurred [3] 7/10           22/6 78/18 103/22          one-hour [1]
   63/8 85/9                  107/2 112/1                 122/19
  occurring [2]              one [111] 5/1 7/8           ones [3] 48/12
   16/13 37/21                9/5 9/9 9/24 10/6           56/14 81/25
  occurs [1] 41/2             10/22 11/6 12/4            only [9] 16/7 19/4
  October [8] 36/14           12/7 12/10 12/20            60/1 73/15 74/17
   36/14 36/17 36/24          13/20 14/7 14/13            99/8 107/5 111/24
   39/17 66/11 121/6          14/20 15/12 15/20           120/4
   121/21                     18/6 18/8 20/17            OOB [1] 65/4
  October 20th [1]            21/11 22/3 27/8            open [3] 21/7 31/1
   39/17                      28/22 30/14 31/8            110/14
  October 30th [1]            33/20 33/21 33/21          operational [1]
   121/21                     34/3 36/11 36/20            7/14
  off [23] 6/17 7/24          36/22 37/2 38/2            operations [2]
   9/19 16/11 36/1            38/4 40/20 41/1             7/16 9/1
   46/8 53/1 53/6             43/7 43/19 43/25           operative [1] 8/21
   53/9 53/22 60/22           44/5 44/7 45/1             opinion [15] 23/18
   60/24 61/13 67/22          45/13 45/19 46/12           24/19 29/11 29/13
                              47/7 48/9 48/12             32/17 32/18 32/22
  O 9:18-cv-80176-BB Documentour
Case                              Entered4/5
                              848 [5]          5/22
                                          on FLSD Docket OX  [1] 61/14
                                                         12/20/2021 Page 158 of 178
                              6/9 115/16 122/19
  opinion... [8]
                             out [36] 11/2 15/9
                                                         P
   75/14 76/15 77/17                                     P-I-C-C [1] 14/25
   88/24 89/3 91/10           28/10 28/12 30/22
                              37/15 37/19 42/16          p.m [2] 122/21
   101/17 113/23                                          123/1
  opinions [9] 22/12          44/16 44/17 57/13
                              62/11 62/12 65/4           PA [1] 10/15
   23/6 23/9 24/1                                        packets [2] 81/11
   32/24 44/22 77/3           65/5 65/6 65/7
                              75/5 82/5 82/9              81/24
   77/7 88/20                                            page [33] 2/4 24/3
  opportunity [3]             91/6 91/19 95/14
                              97/2 98/3 101/17            27/24 36/20 39/14
   66/22 77/6 89/12                                       43/5 44/1 44/5
  order [9] 3/1               102/1 108/22 110/7
                              111/3 111/14 112/8          46/13 53/2 53/6
   13/17 13/18 37/16                                      53/17 53/19 54/3
   90/10 90/17 115/4          112/17 113/16
                              119/23 120/2                67/15 68/14 70/18
   116/16 116/17                                          81/6 81/10 107/18
  ordered [2] 19/15          outline [1] 77/2
                             outlined [1] 77/3            108/18 108/19
   90/10                                                  110/4 111/21 113/7
  ordering [1] 91/17         outpatient [1]
                              21/4                        113/9 113/12
  orders [4] 9/22                                         117/11 117/12
   10/2 10/8 17/16           outside [2] 29/9
                              95/13                       119/3 121/2 121/19
  orient [1] 36/7                                         121/20
  Orientation [1]            over [26] 8/10
                              8/14 8/17 9/25             pages [11] 1/8 5/4
   28/15                                                  81/12 81/19 81/24
  oriented [9] 55/10          10/3 10/15 14/7
                              16/23 22/6 28/11            82/16 82/18 108/8
   61/15 61/20 63/6                                       108/9 108/10
   63/23 64/2 64/12           33/5 49/13 67/6
                              70/17 72/1 72/9             124/12
   68/25 72/10                                           Paige [2] 100/19
  osteomyelitis [1]           72/13 73/21 75/25
                              81/19 84/18 85/4            101/1
   11/18                                                 pain [13] 7/25 8/1
  other [34] 5/24             86/21 93/14 93/17
                              99/7                        8/2 12/23 12/25
   10/1 10/6 11/9                                         13/2 13/4 13/25
   12/4 13/21 13/21          overlying [1] 75/4
                             overnight [3]                15/23 64/4 64/7
   14/18 16/15 17/21                                      64/7 66/20
   18/11 22/6 29/7            89/18 91/2 91/6
                             overruled [9] 26/6          painful [4] 13/14
   33/21 35/5 35/15                                       15/9 65/22 65/24
   42/17 46/17 49/18          41/22 90/20 94/20
                              102/17 105/23              PALM [2] 1/2 94/3
   49/19 51/1 52/23                                      paper [8] 82/22
   65/20 65/24 66/24          106/9 109/25
                              114/13                      101/18 103/4 103/7
   67/22 74/8 78/23                                       103/15 103/16
   81/16 91/5 110/16         overwriting [2]
                              103/5 103/13                103/17 103/19
   111/4 116/16 122/7                                    papers [4] 102/21
  others [2] 52/23           owe [1] 118/13
                             own [4] 29/1 29/5            102/23 102/25
   122/8                                                  103/2
                              42/1 99/24
                              93/17
  P 9:18-cv-80176-BB Document 848
Case                              Entered on FLSD Docket penalty
                                                         12/20/2021 [1]   118/12
                                                                    Page 159 of 178
  paragraph [1]              patient [65] 8/11           pending [1] 86/13
   37/13                      10/8 15/15 15/16           people [8] 9/2
  paralegal [1] 4/5           16/10 17/20 17/24           10/14 17/25 47/24
  paralysis [1]               18/16 37/8 39/3             52/15 58/8 58/9
   31/22                      41/7 41/14 42/7             85/12
  paralyzed [3] 9/7           42/9 42/12 42/24           per [1] 37/16
   34/12 34/14                43/19 44/13 44/15          percent [2] 51/21
  paraplegia [1]              45/16 45/18 45/19           120/4
   12/23                      47/21 48/6 50/14           percentage [2]
  paraplegic [2]              50/18 52/11 54/8            82/20 82/21
   30/15 34/5                 54/10 57/14 58/15          Percentage-wise [1]
  part [14] 12/24             58/18 59/15 59/24            82/20
   14/22 16/3 31/19           61/19 62/16 62/17          Percocet [1] 13/3
   36/13 38/21 40/16          63/5 63/14 63/23           Perfect [1] 83/9
   56/20 64/6 72/12           64/1 64/12 65/10           perfectly [1]
   73/1 74/5 97/2             66/17 66/20 68/16           15/19
   116/17                     68/16 68/24 85/5           perhaps [1] 112/21
  Partially [1]               85/5 85/6 85/16            period [13] 16/9
   34/14                      86/18 86/19 86/20           20/4 20/14 73/17
  Participants [1]            89/18 89/19 90/5            73/22 74/17 78/7
   107/23                     91/1 91/2 91/5              78/9 88/14 98/14
  particular [16]             91/10 91/13 91/19           98/15 98/17 115/14
   59/4 59/11 60/9            100/1                      periodically [1]
   62/14 64/18 64/22         patient's [1]                9/20
   65/10 74/13 83/15          57/13                      periods [3] 12/6
   85/6 90/19 91/16          patients [4] 10/9            15/1 74/21
   97/11 112/23               10/16 16/8 16/15           peripheral [3]
   117/24 122/3              Patrick [2] 100/19           14/13 14/20 15/6
  particularly [2]            100/25                     peripherally [1]
   16/25 49/15               pattern [2] 47/3             14/24
  parties [1] 6/9             51/17                      permanent [1]
  partnership [1]            Pause [13] 20/20             54/16
   100/18                     21/13 24/4 47/9            permitted [1]
  parts [1] 104/18            58/20 80/1 80/16            92/23
  pass [6] 87/18              80/19 83/6 89/13           person [8] 22/6
   89/18 91/2 91/5            92/11 98/10 116/10          60/17 62/15 89/24
   91/7 91/10                pay [2] 118/10               89/25 104/7 113/19
  passes [1] 6/6              118/14                      119/15
  passing [1] 74/6           paying [3] 6/7              personal [2] 1/3
  password [1]                106/15 106/18               85/14
   104/22                    payments [3]                personality [2]
  past [2] 38/8               105/14 105/14               100/16 111/9
                              105/17                     personally [1]
  P 9:18-cv-80176-BB DocumentPLAINTIFF
Case                                      [3]
                              848 Entered on FLSD1/12     88/6 88/10
                                                  Docket 12/20/2021 Page 88/12
                                                                         160 of 178
  personally... [1]           3/23 90/1                  positions [3]
   18/9                      Plaintiffs [9] 1/5           48/19 49/14 49/18
  Ph.D [9] 45/23              3/15 3/17 3/19             possibility [2]
   46/8 53/7 53/8             3/21 5/25 69/17             12/23 15/22
   53/10 53/18 53/22          89/25 91/25                possible [1] 28/15
   67/20 67/23               Plaintiffs' [4]             potentially [1]
  phone [8] 50/4              3/13 107/6 108/7            90/8
   66/18 107/23 108/1         108/11                     power [1] 105/14
   108/4 111/24 120/3        plans [1] 20/15             Powerball [1]
   120/4                     play [2] 38/25               119/8
  physical [17] 7/10          107/1                      practical [1]
   10/4 13/16 17/22          played [1] 10/15             66/15
   21/1 30/17 50/12          playing [1] 106/22          prefer [1] 110/4
   57/23 60/2 72/12          pleasant [3] 59/15          prescribed [10]
   72/17 84/24 85/19          122/20 122/24               11/22 11/23 12/3
   86/18 100/25              please [17] 3/12             12/3 12/5 15/21
   115/13 120/18              6/5 21/14 44/6              77/19 77/19 78/1
  physically [3]              44/11 45/25 53/3            79/17
   109/21 111/1               69/21 89/15 92/16          presence [4] 15/18
   117/22                     96/22 97/16 107/13          16/22 73/5 73/12
  physician [7] 17/6          107/19 109/5 117/6         present [6] 4/24
   45/14 91/4 91/6            119/9                       10/22 10/23 69/9
   91/9 91/10 91/17          pleasure [1] 4/18            122/21 124/7
  physicians [5]             plus [1] 83/19              presentation [1]
   17/3 17/19 22/13          point [9] 37/15              4/19
   29/1 40/11                 62/11 65/15 86/5           pressure [20] 7/13
  PICC [1] 14/24              103/4 105/6 106/9           7/18 8/5 8/8 8/10
  pick [3] 6/17 70/1          111/1 113/22                8/14 8/18 8/20
   109/8                     pointing [2] 62/12           9/15 9/19 9/25
  picked [2] 30/1             82/4                        11/10 13/22 21/5
   31/13                     points [1] 28/15             21/7 31/25 37/4
  Picks [1] 119/9            poking [1] 58/9              49/14 85/7 88/18
  picture [1] 43/3           pole [2] 15/14              presumably [1]
  piece [1] 19/20             15/17                       39/7
  Pilar [3] 53/6             Ponce [1] 1/21              presume [2] 29/5
   53/16 53/16               popular [2] 10/11            72/11
  place [4] 13/18             10/11                      presumption [1]
   15/1 47/15 120/6          Port [1] 99/1                29/6
  placed [6] 6/11            portfolio [1] 94/7          pretty [6] 13/25
   14/14 14/25 15/7          pose [1] 16/14               59/3 60/22 82/21
   15/20 92/14               position [10] 9/15           105/12 107/2
  places [1] 43/24            37/5 49/19 50/14           prevent [1] 72/20
                              50/19 50/19 54/21          prevented [1]
Case                          116/10
  P 9:18-cv-80176-BB Document 848      124/8
                                  Entered                 40/21 53/22
                                          on FLSD Docket 12/20/2021       60/14
                                                                    Page 161 of 178
  prevented... [1]           prodding [1] 58/9           psychology [8]
   72/18                     produced [1] 12/13           26/21 26/24 27/6
  preventing [1]             professional [1]             52/18 52/21 52/22
   103/11                     50/7                        52/23 54/2
  previous [5] 23/25         professionals [1]           psychotic [4]
   53/17 53/19 84/25          66/6                        15/22 15/25 15/25
   115/16                    program [4] 94/17            16/4
  previously [2]              94/22 94/22 102/9          psychotic-appearing
   6/10 84/18                programmer [3]               [1] 15/25
  primary [1] 93/16           94/25 95/4 101/6           publish [6] 27/24
  prior [7] 20/11            programming [3]              36/3 70/15 96/21
   23/20 24/19 25/15          94/16 102/6 102/9           97/15 109/5
   32/23 67/19 119/3         progress [1] 39/19          Publix [1] 119/8
  private [1] 100/13         prohibition [1]             pull [7] 80/15
  privileged [1]              115/24                      82/24 96/17 97/13
   26/4                      prolonged [1]                97/14 98/9 107/5
  Prize [1] 37/20             88/14                      pump [1] 37/19
  probably [8] 10/14         prominences [2]             put [5] 45/14
   27/5 39/24 41/8            8/11 8/15                   55/22 57/24 115/5
   56/11 59/3 62/15          promptness [1] 6/7           115/15
   91/17                     pronunciation [1]           putting [2] 11/1
  problem [6] 41/2            77/15                       23/2
                             proper [1] 90/20
   72/21 73/7 73/19
                             protect [1] 14/6
                                                         Q
   74/5 80/21                                            QA [1] 94/5
  problems [12] 7/7          protected [2]
                              11/17 17/18                qualifications [3]
   12/4 18/5 27/16                                        89/19 91/3 91/8
   54/12 54/13 54/15         protects [1] 11/15
                             proud [2] 102/25            qualify [1] 91/6
   54/18 75/3 85/6                                       quality [1] 94/5
   105/16 106/15              103/19
                             provide [6] 38/18           quantify [1] 29/14
  procedure [4] 9/8                                      question [26]
   9/10 9/11 9/12             40/13 40/16 56/3
                              56/3 72/24                  17/10 23/11 24/15
  procedures [9] 7/5                                      24/18 30/7 30/22
   7/7 7/12 7/15 8/21        provided [2] 22/24
                              38/11                       40/12 40/16 48/6
   9/4 9/5 75/13                                          54/17 63/1 66/5
   122/9                     providers [2]
                              48/14 55/23                 68/19 86/14 88/10
  proceed [2] 4/25                                        89/12 89/17 90/4
   24/5                      providing [2]
                              37/19 52/16                 91/1 91/12 103/12
  proceedings [14]                                        105/22 115/15
   20/20 21/13 24/4          prudent [1] 91/18
                             psychologist [6]             115/19 115/22
   47/9 58/20 80/1                                        117/6
   80/16 80/19 83/6           40/23 51/3 53/8
                              54/9 54/22 55/2            questioning [3]
   89/13 92/11 98/10                                      6/12 69/23 109/24
                             psychologists [3]
Case                          75/10
  Q 9:18-cv-80176-BB Document 848                         107/9 107/16
                                  Entered on FLSD Docket 12/20/2021 Page 162 of 178
  questions [11]     really [8] 16/4                     recollection [2]
   24/13 24/22 26/11  30/22 33/13 34/23                   96/10 115/17
   28/24 80/3 88/19   41/11 41/24 41/25                  record [40] 3/12
   89/9 89/9 90/20    45/20                               17/15 17/25 18/12
   90/23 90/24       reason [18] 10/9                     18/17 19/4 19/24
  quick [6] 5/1 38/9  14/5 19/15 19/18                    20/3 20/9 27/2
   75/10 94/17 94/17  19/21 28/25 42/17                   28/16 35/20 35/21
   119/9              42/18 54/23 56/2                    36/8 38/8 41/2
  quickly [2] 60/22   58/23 66/4 71/17                    42/12 46/18 47/19
   70/2               71/25 72/5 72/9                     57/9 59/11 60/23
  quiet [1] 120/6     72/13 121/16                        66/8 67/5 67/12
  quite [2] 15/10    reasonable [2]                       67/19 74/13 74/23
   44/23              42/22 42/23                         74/24 75/1 75/6
  quotation [1]      reasoning [1] 9/21                   79/6 79/7 79/11
   45/14             reasons [1] 18/21                    80/10 81/17 85/12
  quote [1] 45/12    recall [23] 6/20                     89/16 92/18 114/25
                      6/22 30/4 30/8                     recorded [9] 73/18
  R                   31/5 35/18 35/20                    75/4 75/7 76/9
  raise [2] 89/11     35/23 67/19 67/24                   76/10 79/10 79/11
   92/13              76/17 77/17 80/12                   79/13 79/18
  ran [1] 26/19       81/3 81/13 81/16                   recorder [1] 63/2
  rare [1] 78/17      82/6 83/11 97/11                   records [58] 7/19
  rather [3] 13/5     117/22 117/24                       8/19 9/14 11/21
   16/5 61/17         120/17 120/18                       11/25 16/16 16/20
  ray [1] 110/12     receive [4] 18/18                    17/6 18/23 19/2
  reach [1] 102/1     18/19 78/7 78/9                     20/12 22/23 22/25
  reaching [1] 22/12 received [26] 8/21                   23/1 23/3 23/6
  read [17] 5/9       8/25 12/18 12/21                    23/9 23/12 23/25
   17/13 24/13 28/14  12/22 13/2 13/17                    25/14 26/11 26/14
   28/16 59/13 62/21  13/21 14/12 14/20                   27/12 27/23 28/3
   63/20 63/21 81/23  18/21 37/9 39/4                     28/5 34/22 35/1
   90/24 110/10       49/21 62/16 63/5                    35/2 35/4 35/9
   112/10 117/6 117/7 63/14 63/14 63/23                   35/13 35/18 40/22
   118/20 121/25      64/1 64/12 66/17                    40/23 51/8 51/16
  reading [4] 33/19   68/16 68/24 78/14                   55/6 58/22 61/2
   34/2 59/17 122/4   108/15                              66/23 67/22 67/23
  readings [1] 58/16 receiving [4] 8/20                   70/2 72/1 73/21
  reads [2] 89/17     13/7 14/19 17/22                    75/3 76/10 77/24
   91/12             recent [1] 98/23                     78/19 79/7 79/15
  ready [7] 20/16    recess [5] 69/4                      79/15 80/9 81/8
   20/23 20/25 63/20  69/8 69/10 69/12                    82/4 82/16 82/17
   69/15 69/17 69/18  122/19                             recovering [1]
  real [2] 47/25     recognize [3] 81/8                   103/9
  R 9:18-cv-80176-BB Documentregards
Case                                   [2]
                              848 Entered      49/13
                                          on FLSD         108/4 Page 163 of 178
                                                  Docket 12/20/2021
  recovery [2] 7/22          85/23                    remind [2] 6/10
   103/11                   Regatieri [6]              10/15
  recreational [1]           39/25 40/13 41/7         remotely [1]
   17/23                     41/13 42/8 42/24          115/20
  redirect [3] 2/7          regularly [3]             remove [1] 9/6
   80/4 80/6                 47/15 98/24 114/7        removed [1] 110/15
  reduce [2] 13/10          regulation [1]            removing [1] 8/22
   16/1                      91/20                    repeat [1] 17/12
  reduces [1] 13/1          rehab [3] 65/8            repeated [1] 30/7
  reducing [1] 14/7          65/16 65/21              repetitious [1]
  Reed [14] 4/6 4/14        related [5] 8/16           82/14
   4/19 80/15 81/5           10/24 13/2 27/16         Rephrase [2] 84/13
   82/24 96/17 97/3          86/19                     105/5
   97/14 98/9 98/20         relates [1] 90/18         report [7] 32/8
   107/18 108/16            relating [9] 7/8           33/8 42/22 42/24
   110/3                     7/13 7/25 8/3 9/4         76/16 77/7 77/10
  refer [1] 103/16           11/10 12/23 29/22        reported [3] 54/4
  reference [1] 37/1         45/16                     54/8 124/8
  references [8]            relationship [2]          reporter [4] 1/23
   23/24 25/23 67/12         116/17 116/23             17/12 63/25 124/5
   69/3 72/1 72/6           relay [1] 4/22            reporting [2]
   72/9 72/13               relevance [1]              52/13 52/15
  referred [5] 19/5          109/23                   reports [5] 52/11
   30/13 72/4 72/8          relevant [1] 90/15         54/22 65/10 76/20
   103/15                   remain [1] 92/13           77/2
  refers [1] 36/16          remember [43]             represent [2]
  refinance [2]              10/10 10/14 20/5          111/18 117/13
   106/4 106/11              21/22 22/4 24/24         representative [1]
  reflect [4] 7/19           25/18 25/23 25/24         1/3
   11/21 17/17 20/12         27/4 27/5 28/3           representing [1]
  reflected [3]              28/5 32/15 32/17          33/6
   17/25 18/11 18/17         35/15 35/24 43/14        request [1] 32/21
  reflecting [1]             56/14 58/4 70/23         requested [2]
   18/23                     77/8 77/11 78/2           32/18 32/25
  reflects [2] 17/15         78/3 80/8 80/13          require [6] 7/25
   19/24                     81/4 81/23 96/2           9/1 9/1 12/16 77/3
  refuse [2] 18/21           97/7 97/8 97/9            96/4
   56/15                     103/18 104/18            required [3] 73/25
  refused [1] 35/15          106/20 108/2              90/5 91/13
  regarding [5] 23/4         112/19 112/23            requirement [1]
   23/19 29/13 115/5         112/25 114/6 114/8        91/16
   116/16                    114/9                    requirements [1]
                            remembers [1]              90/13
                              1/19Entered
  R 9:18-cv-80176-BB Document 848
Case                                4/3 on FLSD Docket sale
                                                       12/20/2021   105/20
                                                              [1] Page 164 of 178
  requires [2] 7/21          RMR [1] 124/17             sales [2] 94/7
   11/19                     ROCHE [4] 1/12              94/8
  requiring [2] 21/1          1/13 3/20 33/5            same [14] 9/21
   21/7                      rod [1] 110/15              18/9 24/10 60/16
  reschedule [1]             rods [1] 110/13             60/17 62/6 62/9
   110/16                    room [10] 1/24              62/10 64/15 67/9
  Research [1] 1/4            42/19 42/23 44/15          68/21 72/7 121/3
  resident [2] 39/23          44/15 50/8 50/18           121/3
   40/5                       84/9 99/21 112/22         Sarah [1] 4/5
  residents [4]              Rosenstein [1]             sarcastic [4]
   18/15 40/3 40/4            46/5                       41/15 42/7 42/8
   40/9                      rough [2] 87/12             42/13
  resistance [1]              87/12                     sat [1] 24/8
   12/6                      round [3] 59/6             Saturday [2] 109/7
  resistant [3] 12/7          59/9 88/19                 119/19
   12/8 12/12                Royal [1] 99/1             saw [14] 17/6
  respect [6] 41/17          RPR [1] 124/17              17/20 18/8 23/25
   85/18 87/8 88/21          rules [1] 77/3              43/7 43/10 43/13
   88/25 89/3                run [1] 90/11               43/15 67/22 74/20
  response [3] 5/3           running [2] 37/17           108/8 110/11
   5/12 86/1                  48/2                       110/13 114/9
  responsible [1]            runs [2] 90/8              say [43] 4/4 16/15
   94/11                      90/17                      19/6 29/7 32/21
                                                         34/24 34/24 35/11
  rest [3] 56/24             S                           38/11 38/14 40/4
   113/12 119/20             S-Doc [5] 94/2
  restate [1] 17/10                                      41/16 42/3 43/10
                              94/4 94/9 94/13            43/12 44/16 50/9
  restaurant [1]              109/14
   121/7                                                 51/6 51/6 51/19
                             sacrum [1] 8/17             51/21 51/22 52/24
  resting [1] 88/11          said [39] 5/11
  result [1] 30/17                                       57/10 57/16 65/24
                              5/20 19/4 31/18            72/19 73/3 73/9
  return [2] 19/16            32/22 34/21 34/23
   19/23                                                 78/8 82/18 85/22
                              41/16 43/12 43/13          88/23 89/1 89/5
  review [3] 5/17             45/13 45/16 45/22
   35/4 50/10                                            91/20 97/24 98/1
                              48/3 48/3 54/2             104/23 111/19
  reviewed [5] 23/4           54/10 54/23 54/25
   25/12 36/11 73/21                                     112/2 118/12 121/5
                              58/5 61/1 68/21           saying [8] 4/21
   79/15                      69/2 70/3 71/19
  reviewing [3]                                          41/18 45/19 45/19
                              71/23 72/3 75/23           54/22 59/1 64/20
   11/25 16/19 33/12          82/8 87/9 89/2
  rid [1] 45/5                                           115/21
                              90/8 95/19 101/5          says [61] 16/11
  right [213]                 101/6 106/6 106/6
  RIVERO [3] 1/19                                        28/11 28/20 28/22
                              106/14 118/17              29/5 36/14 37/8
  S 9:18-cv-80176-BB Documentseated
Case                                        6/5 Docket 12/20/2021
                                      [2]on FLSD
                              848 Entered               45/18 58/24     81/4
                                                                  Page 165 of 178
  says... [54] 41/7           69/22                     seem [2] 50/24
   41/14 43/1 43/19          second [10] 9/10            65/20
   44/10 47/2 52/21           22/3 30/14 33/17          seemed [4] 31/24
   56/7 56/18 56/23           58/19 62/2 81/6            62/5 62/5 62/11
   59/19 60/7 62/9            90/4 91/12 98/14          seems [2] 60/9
   62/10 63/16 64/25         secondly [2] 16/24          64/18
   65/1 65/3 65/4             85/14                     seen [9] 16/8
   65/16 66/16 68/4          seconds [1] 30/12           17/25 18/7 18/10
   68/24 71/14 71/16         secret [2] 100/23           18/11 70/12 70/21
   71/17 81/10 97/5           103/2                      78/18 110/24
   97/6 97/19 107/23         section [1] 28/20          sees [1] 71/20
   107/24 109/7              sections [1] 81/16         sell [1] 94/12
   110/10 111/23             secure [1] 103/7           sense [5] 26/13
   111/23 112/4 113/7        security [5] 93/15          34/25 35/2 47/3
   113/9 113/10               94/3 94/10 94/11           98/6
   113/15 117/14              94/11                     September [6]
   118/6 118/8 119/2         see [65] 16/20              23/10 23/11 23/20
   119/4 119/23               18/16 18/23 28/9           55/5 64/24 98/16
   119/24 120/2 121/6         28/10 31/2 35/22          serious [6] 54/13
   121/9 121/23               37/12 38/20 39/16          54/15 54/16 54/16
   121/23 122/6               40/23 43/2 44/9            54/17 105/12
  says that [1]               45/10 48/4 50/24          server [1] 94/11
   66/16                      52/17 52/25 53/20         service [4] 6/8
  scan [3] 121/24             53/21 54/7 55/6            9/22 35/5 118/11
   122/3 122/6                55/12 56/1 60/8           services [1] 35/5
  schedule [1]                60/16 60/23 60/25         SESSION [1] 1/9
   110/15                     61/2 61/4 61/11           set [4] 22/23 95/7
  SCHILLER [1] 1/15           66/24 70/9 70/11           101/5 124/14
  school [1] 87/18            70/19 74/22 78/6          seven [5] 7/16
  score [1] 28/11             83/3 83/8 87/10            51/13 75/10 75/12
  Scott [1] 55/18             89/14 104/5 107/23         75/24
  scrape [3] 98/5             108/23 108/25             several [5] 26/21
   120/22 120/22              109/7 109/9 110/9          43/15 43/16 103/25
  scratch [1] 98/5            110/18 111/23              117/24
  screwed [1] 110/11          112/10 113/7              severe [1] 16/6
  script [1] 94/17            113/20 114/4              Shah [4] 4/14 4/15
  scroll [2] 55/11            117/16 118/3 118/4         4/18 4/22
   107/10                     118/18 119/11             shared [2] 32/4
  scrotal [3] 37/16           121/10 121/21              100/1
   37/25 37/25                121/25 122/14             she [26] 38/20
  seat [3] 3/5 4/6            122/19 122/22              38/22 38/24 38/24
   92/16                     seeing [7] 19/6             39/3 39/5 39/7
                              28/3 41/19 43/14           40/2 40/16 41/14
                              120/8
  S 9:18-cv-80176-BB Document 848
Case                                  120/11
                                  Entered on FLSD Docket six
                                                         12/20/2021 13/18
                                                               [4] Page 166 of 178
  she... [16] 41/14          side [11] 9/24              73/16 73/21 78/4
   42/1 42/7 42/10            10/1 10/6 15/1            skill [2] 95/7
   42/10 42/11 42/18          15/24 49/2 78/15           101/4
   43/1 53/9 57/12            78/17 88/12 94/11         Skin [1] 64/4
   60/12 62/9 62/10           94/12                     slash [1] 65/8
   62/13 66/17 68/4          sidebar [5] 89/15          sleep [2] 58/17
  she'd [1] 42/16             89/16 90/21 114/25         71/22
  she's [10] 38/25            117/4                     sleeping [5] 71/14
   40/2 42/10 42/12          sigh [1] 109/7              71/17 71/20 71/21
   53/8 53/17 66/14          sight [1] 104/14            120/12
   66/14 67/20 68/7          sign [2] 46/8 91/7         sleepy [1] 44/17
  shift [5] 10/5             sign-off [1] 46/8          slide [1] 83/7
   37/22 38/13 86/6          signed [3] 45/23           slower [1] 107/13
   86/7                       52/25 53/6                small [2] 68/11
  shoe [1] 58/19             significant [1]             82/21
  short [4] 74/17             82/3                      smiled [1] 58/6
   74/20 78/12 105/20        signing [3] 53/9           so [210]
  shorthand [2]               53/22 67/22               soda [2] 113/16
   124/5 124/8               signs [2] 64/3              113/16
  shortly [1] 114/4           64/15                     software [5] 93/15
  shot [1] 99/2              similar [3] 9/12            94/3 94/3 94/6
  should [5] 37/20            14/1 46/18                 94/12
   38/20 41/3 88/16          simple [1] 86/22           Soiling [1] 38/5
   101/3                     simply [3] 41/17           some [35] 5/3 7/23
  shouldn't [1]               41/17 90/13                8/18 9/18 10/9
   86/23                     since [3] 25/8              10/13 11/24 14/5
  show [7] 26/10              25/12 90/2                 18/20 22/25 23/12
   35/14 80/17 95/14         single [2] 35/20            23/24 25/16 25/23
   96/16 98/7 99/10           79/14                      32/7 33/5 33/5
  showed [4] 35/19           sir [12] 3/9 21/9           33/12 34/22 34/24
   35/19 35/22 82/15          25/10 26/8 26/20           50/21 55/1 56/23
  shower [1] 19/20            26/23 28/12 42/20          59/7 59/7 59/8
  showing [2] 82/25           58/4 89/7 92/5             59/8 73/8 78/16
   83/13                      119/17                     87/12 96/3 97/20
  shown [6] 81/3             sit [3] 8/16 10/3           102/21 108/17
   81/9 82/7 82/12            88/15                      111/7
   83/4 83/11                sitting [19] 8/12          Somebody [1] 37/20
  shows [1] 37/21             8/16 9/20 10/7            someone [2] 40/3
  shy [2] 100/12              37/9 38/12 39/4            60/21
   100/13                     42/6 48/16 48/18          someone's [1] 74/9
  sibling [1] 90/19           48/20 48/21 49/15         something [14] 8/4
  SICU [3] 120/7              49/22 62/16 63/14          11/14 27/3 28/11
                              66/18 71/8 88/5            34/21 40/18 56/17
                              98/17
  S 9:18-cv-80176-BB Document 848
Case                              Entered on FLSD Docket ss  [2] 64/14
                                                         12/20/2021 Page 167124/2
                                                                             of 178
  something... [7]           speaks [1] 41/21            staff [6] 10/15
   56/20 76/25 86/8          special [2] 89/18            17/21 18/25 20/2
   87/19 104/21               91/2                        20/9 66/14
   110/12 114/19             specialists [2]             stand [3] 49/1
  sometimes [14]              18/8 18/8                   49/3 49/7
   14/3 14/15 15/16          specialties [2]             standard [2] 72/11
   17/23 18/19 32/2           18/6 18/11                  72/15
   50/19 50/20 50/23         specialty [2] 18/4          standing [5] 9/22
   50/23 56/11 56/12          18/15                       10/2 10/8 49/1
   56/15 58/23               specific [3] 27/13           92/13
  somewhat [1] 68/23          91/7 91/15                 staphylococcus [1]
  somewhere [3]              specifically [12]            12/8
   15/14 67/8 87/23           9/16 13/2 19/15            start [5] 23/9
  Somoza [7] 53/6             27/5 28/4 28/5              36/1 36/1 36/2
   53/16 53/17 67/19          79/10 79/13 79/18           70/17
   67/19 67/22 68/2           91/20 106/20               started [2] 23/11
  song [2] 10/11              115/25                      113/1
   10/14                     specified [1] 75/1          starting [2] 3/13
  sorry [10] 17/17           specifying [1]               47/3
   21/19 24/23 62/21          74/23                      state [13] 3/12
   64/14 70/15 80/23         spectrum [2] 12/12           4/17 13/24 27/4
   88/2 93/8 116/21           12/15                       27/14 28/9 64/21
  sort [9] 7/20 8/19         speculation [3]              74/21 79/9 79/16
   41/4 58/6 62/12            94/19 101/21                86/17 86/18 92/17
   76/13 78/16 94/15          102/16                     stated [1] 61/4
   96/3                      spell [1] 92/17             statement [4] 55/4
  sorts [1] 105/14           spelled [1] 65/3             61/6 72/11 75/7
  sound [1] 21/25            spend [1] 95/12             statements [2]
  source [1] 52/17           spent [2] 82/3               60/16 72/15
  South [1] 1/14              115/15                     STATES [4] 1/1
  Southeast [1] 1/17         sphincter [4] 31/5           1/10 124/1 124/6
  SOUTHERN [3] 1/1            31/11 74/1 74/3            status [2] 15/24
   124/3 124/6               spicules [1] 11/14           25/16
  space [2] 14/15            spinal [3] 99/22            stay [10] 49/18
   93/15                      120/9 120/10                84/16 86/25 87/5
  spasm [1] 12/23            spiritual [1]                87/14 96/9 96/11
  spasms [2] 13/10            17/24                       96/15 111/4 111/5
   13/14                     spoke [2] 22/13             stayed [1] 71/18
  spastic [1] 13/12           22/19                      stays [2] 84/3
  speak [2] 59/3             spoken [2] 28/20             96/9
   90/19                      116/5                      steak [1] 112/5
  speaking [2] 49/5          spontaneous [1]             stenographic [1]
                              7/10                        124/11
                              94/17
  S 9:18-cv-80176-BB Document 848
Case                              Entered on FLSD Docket surgeons    [1]16818/10
                                                         12/20/2021 Page    of 178
  step [2] 30/14             suffer [1] 10/17           surgeries [11]
   92/12                     sufficiently [1]            7/19 7/20 13/3
  STEPHEN [1] 1/16            20/13                      75/10 75/10 75/15
  stepped [1] 30/1           suggesting [4]              75/24 117/25 121/5
  Steve [1] 3/22              25/7 25/9 115/8            122/5 122/7
  Steven [1] 46/5             115/9                     surgery [18] 7/21
  STEWART [1] 2/5            suggestion [1]              8/3 44/18 97/20
  still [6] 21/5              30/20                      97/21 110/14
   21/7 46/15 67/2           suicidal [2] 115/5          110/16 117/18
   69/25 112/8                115/6                      117/20 117/23
  stomach [1] 49/2           suicide [1] 116/5           117/24 119/23
  stool [1] 38/5             Suite [3] 1/14              120/2 120/13
  stop [4] 16/10              1/17 1/21                  120/14 120/14
   16/13 60/21 119/7         summarized [1]              120/14 122/6
  stopped [1] 9/8             23/3                      surgical [2] 11/19
  story [1] 72/7             summary [1] 86/7            75/12
  straight [2] 99/2          Sunday [1] 121/21          surprised [2]
   99/8                      superimposed [1]            60/17 82/12
  Street [1] 1/17             11/7                      surrounding [1]
  strength [4] 56/16         supervise [2]               19/8
   56/19 56/22 57/2           19/18 19/21               suspended [2]
  strike [1] 79/4            supervising [2]             118/14 118/17
  string [1] 121/3            53/18 67/20               sustained [19]
  strong [3] 16/5            supplement [1]              16/17 16/17 49/9
   100/16 100/17              32/23                      75/15 75/17 84/11
  student [7] 45/22          supplemental [1]            84/13 86/11 86/14
   46/2 46/2 46/6             76/25                      87/2 88/8 95/2
   51/2 52/23 52/24          support [1] 90/9            101/15 101/22
  students [1] 67/24         supporting [1]              102/4 105/1 105/5
  stuff [3] 57/3              94/8                       113/4 113/24
   72/24 99/25               supposed [5] 9/14          SWORN [1] 92/15
  subject [2] 75/9            10/3 25/22 58/25          syllables [1]
   116/11                     120/6                      73/13
  subscribed [2]             sure [22] 3/6 5/15         symptomatic [2]
   77/18 77/19                28/17 37/14 38/8           73/16 73/22
  subspecialties [1]          40/8 40/20 42/3           symptoms [3] 14/6
   85/2                       50/9 55/10 59/10           64/3 64/15
  subtraction [3]             59/14 65/22 66/1          system [1] 6/9
   85/22 87/10 87/24          67/6 74/17 77/7           systems [3] 93/8
  such [8] 14/2               77/25 80/13 99/22          93/10 93/11
                              115/3 116/17
   15/17 27/2 27/13
                             surface [2] 8/11
                                                        T
   79/10 79/13 79/18                                    table [1]      3/25
                              8/12
  T 9:18-cv-80176-BB Documentteams
Case                                [1] on85/2
                              848 Entered  FLSD Docket than         12/17
                                                              [9] Page
                                                       12/20/2021      169 of 178
  take [29] 9/19             tease [1] 101/12            30/13 37/13 68/17
   35/12 35/17 35/17         technology [1]              74/8 82/12 84/23
   44/4 45/25 46/1            22/7                       103/22 122/7
   46/1 48/4 55/7            tell [15] 8/8              thank [22] 5/23
   58/14 59/18 68/11          10/19 17/5 17/18           17/14 21/9 30/23
   69/4 69/8 77/6             19/9 26/2 101/9            39/13 53/4 69/6
   80/23 84/3 91/19           101/11 104/21              69/11 73/13 80/2
   92/23 98/20 99/6           105/19 105/24              87/25 89/7 90/23
   99/7 99/8 99/17            106/2 115/25               91/21 92/5 92/10
   104/9 108/17               122/14 122/15              92/25 111/20 115/1
   120/12 122/19             telling [2] 25/22           117/2 117/3 122/25
  taken [2] 84/22             54/20                     that [613]
   112/2                     tells [3] 65/12            that's [126]
  takes [1] 75/21             65/13 66/3                That's occupational
  taking [4] 47/15           temperature [1]             [1] 55/21
   55/11 58/15 89/4           58/16                     their [4] 7/3 33/1
  talk [20] 29/24            template [4] 50/16          42/1 72/24
   31/1 31/24 40/17           57/24 60/9 62/12          them [23] 11/15
   44/21 58/8 65/22          term [8] 9/18               12/7 12/8 15/9
   66/23 70/3 73/2            11/19 11/19 12/3           18/6 18/16 22/25
   73/9 76/13 101/4           12/16 16/5 20/15           22/25 30/11 40/4
   102/21 104/1               32/3                       43/17 43/18 46/20
   114/17 114/18             terminology [1]             47/13 47/14 58/9
   114/20 116/4 118/6         88/17                      72/3 72/7 77/14
  talked [18] 22/16          test [8] 27/13              82/8 82/9 101/3
   30/10 31/14 31/15          28/18 29/2 29/6            118/13
   31/25 34/22 39/8           29/13 29/19 29/21         theme [1] 51/3
   40/19 48/12 55/6           29/22                     themselves [1] 4/4
   58/4 58/6 70/23           testified [6]              then [34] 9/3 9/10
   73/3 74/1 84/21            20/22 87/4 88/4            16/12 22/3 24/14
   86/4 122/5                 102/8 118/23               30/7 31/13 31/24
  talking [11] 6/22           121/13                     32/6 32/14 32/17
   7/8 16/15 18/2            testifying [1]              33/8 36/20 39/7
   23/14 50/3 56/9            92/24                      42/6 43/2 44/13
   66/18 84/2 98/15          testimony [4] 6/8           46/8 56/23 68/10
   103/19                     98/2 104/2 115/20          70/3 73/6 76/24
  tally [1] 47/14            testing [1] 94/6            77/6 78/22 83/22
  tasks [1] 23/19            text [9] 107/3              83/24 84/24 85/1
  teaching [2] 18/14          107/21 109/2 110/9         94/6 97/5 97/10
   85/3                       111/18 112/1               116/13 117/1
  team [2] 93/22              114/11 118/3 120/5        therapist [9]
   94/8                      texts [2] 108/17            55/20 56/5 65/11
                              122/4                      65/12 65/13 66/3
                              99/25
  T 9:18-cv-80176-BB Document 848
Case                                  100/1
                                  Entered      104/19
                                          on FLSD         59/2 59/11
                                                  Docket 12/20/2021 Page 62/6
                                                                         170 of 178
  therapist... [3]    108/12 108/20                       71/14 71/15 72/3
   85/19 86/19 86/19  111/4 114/9 115/9                   72/23 82/7 85/13
  therapists [4]      117/25 120/20                       86/18 90/24 105/12
   17/21 17/22 17/22  120/23 121/20                       110/2 110/12
   60/14              122/2 122/7 122/11                  110/14 110/15
  therapy [13] 7/10 there's [21] 13/11                    112/8 115/5 115/15
   10/4 13/16 17/23   20/9 37/13 40/17                    118/10 118/14
   17/24 21/2 21/2    46/8 72/9 72/17                     120/21 120/22
   55/21 56/4 56/13   72/20 73/15 77/23                  they're [20] 11/17
   56/15 84/24 84/24  78/25 78/25 79/6                    15/7 15/7 36/5
  there [110] 4/23    79/7 79/11 83/21                    40/10 40/24 44/16
   7/22 8/2 9/10 9/13 84/20 84/21 86/13                   44/16 44/17 44/17
   10/25 11/6 14/15   104/1 116/6                         44/17 44/19 50/21
   15/7 17/19 18/20  these [23] 8/22                      58/13 58/18 58/25
   21/5 21/6 21/18    11/3 11/10 12/16                    59/1 59/1 62/8
   21/20 21/21 23/24  13/3 13/14 14/14                    90/13
   24/10 25/15 25/16  14/23 14/25 15/2                   thing [17] 17/17
   25/23 26/21 26/23  27/22 27/22 30/10                   26/25 41/4 50/11
   27/2 29/3 34/8     36/3 43/14 47/15                    51/1 60/1 62/9
   34/11 34/22 36/13  57/23 67/6 74/20                    62/10 64/25 67/9
   37/14 38/10 38/14  107/9 107/21 108/4                  68/21 88/1 88/2
   38/17 38/18 40/13  108/17                              88/3 94/17 104/18
   40/16 41/1 42/5   they [85] 9/9 9/16                   111/14
   42/10 46/17 47/4   13/14 14/2 14/24                   things [14] 11/3
   47/17 47/24 49/14  15/8 15/8 15/9                      13/22 22/9 23/2
   52/21 53/13 56/2   15/10 15/11 15/16                   30/10 30/25 40/20
   57/18 59/1 59/2    16/1 16/9 17/16                     41/1 46/11 51/11
   62/8 65/24 67/12   17/20 19/2 19/4                     65/14 65/25 66/24
   68/7 69/2 69/2     19/6 19/6 20/4                      75/6
   71/25 72/5 73/5    20/5 20/6 21/6                     think [68] 5/4
   73/6 74/8 75/4     33/1 33/5 33/17                     5/20 5/21 8/15
   79/14 80/22 80/25  34/23 36/4 37/6                     10/13 12/9 13/25
   84/5 84/8 84/16    40/7 40/11 40/23                    15/18 18/1 19/12
   84/18 84/19 84/24  40/24 44/14 45/13                   19/19 21/24 23/9
   84/25 85/1 85/4    45/16 45/18 48/2                    30/12 31/18 33/15
   85/19 85/23 86/12  48/3 48/15 50/17                    33/17 34/24 34/25
   86/24 87/8 87/13   50/18 50/18 50/19                   35/13 35/24 35/25
   88/4 88/19 89/2    50/21 50/23 50/23                   36/17 37/3 39/10
   90/8 90/14 90/14   51/1 51/1 53/21                     41/13 41/14 43/1
   90/17 90/24 91/20  53/22 53/24 55/25                   44/20 46/15 47/4
   93/23 99/7 99/8    56/16 56/17 57/16                   48/18 49/13 51/9
   99/14 99/19 99/24  58/8 58/13 58/14                    52/23 56/11 56/20
                      58/15 58/23 58/24                   58/5 62/6 64/21
Case                          64/13
  T 9:18-cv-80176-BB Document 848     74/12
                                  Entered      74/20
                                          on FLSD         112/18 112/24
                                                  Docket 12/20/2021 Page 171 of 178
  think... [28]               83/21 83/25 110/6           115/14 122/11
   68/20 68/21 73/18          118/9                      time is [1] 83/17
   75/16 76/7 76/22          through [25] 1/8            times [33] 11/8
   77/22 78/25 82/9           5/12 11/11 26/10            14/21 18/20 18/20
   84/18 90/10 90/11          27/7 27/12 28/4             35/5 35/13 50/10
   90/15 90/17 90/18          28/14 30/11 30/25           61/14 61/14 61/15
   95/19 97/15 98/12          34/25 37/11 46/21           61/20 63/6 63/23
   99/11 101/5 105/6          51/8 58/22 61/1             64/2 64/12 66/7
   107/14 108/4 114/2         61/4 70/2 82/4              69/2 73/6 73/16
   115/22 117/1               93/10 99/13 107/10          73/21 74/8 74/12
   117/11 121/15              108/17 117/15               82/7 82/10 85/18
  thinking [2] 15/19          120/25                      87/7 87/22 87/22
   75/18                     throughout [6]               87/22 100/1 103/24
  third [1] 17/1              10/23 13/19 43/22           103/25 111/4
  this [206]                  85/5 87/14 88/22           timid [1] 100/14
  those [34] 7/19            thumb [2] 104/1             tissue [1] 8/23
   8/20 10/8 10/19            104/2                      today [14] 5/11
   13/23 15/4 15/25          Thursday [1]                 22/12 23/7 23/14
   16/11 22/23 23/6           108/21                      24/10 26/3 30/1
   23/9 23/9 24/1            tickets [2] 106/24           30/7 30/24 31/14
   24/22 26/2 26/14           119/8                       82/13 82/16 120/5
   33/10 34/25 38/11         tie [1] 58/19                121/24
   73/13 76/5 76/8           time [64] 7/23              together [1] 95/12
   77/2 81/19 81/24           9/17 9/18 12/6             told [10] 6/18
   81/24 81/25 84/25          12/10 14/7 15/1             27/11 31/4 31/10
   85/8 86/4 86/16            16/9 17/2 18/1              41/18 45/14 74/11
   86/16 97/11 103/18         18/22 19/15 19/16           76/15 98/14 100/22
  those note [1]              19/23 20/5 20/14           tomorrow [1] 5/13
   86/16                      20/16 25/6 25/19           tonight [2] 5/17
  though [2] 99/23            25/24 42/18 42/22           119/8
   113/1                      43/7 43/11 43/13           too [6] 5/8 32/12
  thought [5] 17/4            47/25 49/19 50/7            38/9 58/7 86/23
   52/18 59/17 62/12          51/10 51/21 58/24           114/17
   66/24                      64/14 65/7 68/4            took [5] 21/24
  thoughts [1] 115/6          71/3 71/17 72/20            24/10 24/10 60/22
  thousand [1] 81/24          73/24 74/17 74/17           112/8
  thousands [1]               78/7 78/9 80/2             top [2] 45/24
   82/17                      82/3 83/17 86/5             113/7
  three [17] 5/16             86/6 86/20 88/15           topic [1] 115/24
   11/8 18/20 61/14           95/13 95/25 97/8           topically [1]
   61/15 61/20 61/24          97/9 97/21 98/14            12/20
   63/6 63/23 64/2            98/15 98/25 99/3           total [7] 7/14
                              110/20 110/23               28/11 74/12 78/1
  T 9:18-cv-80176-BB Documenttrying
Case                                        20/5Docket Uh
                                      [8]on FLSD
                              848 Entered                  [3] 61/12
                                                       12/20/2021 Page 17270/13
                                                                           of 178
  total... [3] 78/5          33/3 41/5 58/17            81/4
   83/8 83/13                80/13 106/4 106/11        Uh-huh [3] 61/12
  touch [1] 64/4             115/13                     70/13 81/4
  towards [1] 99/22         tube [8] 10/25             ulcer [3] 8/23
  tract [6] 10/22            10/25 14/17 15/2           9/25 11/11
   73/3 73/4 73/17           15/13 15/18 112/8         ulcers [18] 7/13
   73/20 73/23               112/15                     7/18 8/6 8/8 8/10
  trade [1] 13/8            Tuesday [1] 118/4           8/14 8/18 8/20
  train [1] 17/4            turkey [1] 14/5             9/15 11/10 12/20
  trained [1] 42/10         turn [13] 9/22              21/5 21/7 31/25
  tranquilizer [1]           10/2 10/8 10/12            37/4 49/14 85/7
   13/8                      10/12 10/12 10/13          88/18
  transcript [4] 1/9         10/13 10/13 10/13         unable [1] 56/6
   124/10 124/11             10/16 11/4 15/2           unaware [1] 115/11
   124/12                   turned [4] 9/24            under [5] 6/11
  treat [4] 9/10             10/1 35/14 56/12           61/11 65/21 75/18
   11/13 14/4 14/8          turning [2] 58/18           92/14
  treated [2] 18/4           84/20                     undergrad [2] 93/7
   74/19                    Twenty [1] 73/17            93/9
  treating [1] 22/13        Twenty-year [1]            underlying [1]
  treatment [8] 8/19         73/17                      73/5
   35/15 40/13 40/17        two [29] 7/7 9/5           understand [13]
   52/16 56/13 85/24         9/23 10/2 10/3             27/8 33/23 34/8
   91/11                     10/11 10/15 10/21          38/9 39/11 40/24
  treatments [3]             14/13 31/9 49/14           42/21 47/14 47/15
   17/3 21/1 51/10           53/21 58/18 60/16          52/15 58/5 115/21
  TRIAL [1] 1/9              61/24 65/14 75/21          120/25
  tried [1] 75/25            75/23 75/24 76/19         understanding [5]
  tries [1] 41/6             76/20 76/21 77/10          27/10 28/22 33/24
  trochanter [1]             84/1 84/2 84/20            33/25 81/19
   37/15                     85/11 90/24 99/23         understands [1]
  trouble [2] 17/7          two-bedroom [1]             76/16
   106/18                    99/23                     understood [6]
  troubles [2] 118/7        type [8] 10/17              33/3 33/10 33/19
   118/22                    17/5 26/24 28/18           33/23 34/2 34/16
  troublesome [1]            29/2 47/5 85/6            unfortunately [1]
   15/11                     104/22                     39/9
  true [4] 41/17            types [1] 47/15            unhappy [1] 114/3
   50/12 55/4 124/10        Tyrone [3] 62/24           unit [7] 99/22
  truth [2] 25/23            63/1 64/17                 111/24 112/13
                                                        119/25 120/6
   73/15                    U                           120/10 120/19
  try [1] 10/6              U.S [1]     1/23           UNITED [4] 1/1
                              33/22
  U 9:18-cv-80176-BB Document 848
Case                              Entered on FLSD Docket Valium
                                                         12/20/2021[14]   13/8
                                                                    Page 173 of 178
  UNITED... [3] 1/10         urine [3] 73/6               13/17 13/17 14/1
   123/2 124/6                73/25 74/6                  14/3 14/7 15/23
  unlabored [3] 63/7         us [10] 3/8 3/25             16/25 78/22 78/25
   64/3 64/13                 4/5 5/16 5/16 12/9          79/3 79/4 79/6
  unlike [1] 52/22            34/25 76/15 77/2            79/8
  until [6] 7/23              117/5                      various [10] 6/19
   20/6 40/24 96/9           use [8] 9/18 12/17           7/12 13/21 14/21
   110/22 118/14              34/11 42/16 52/1            16/2 17/2 17/16
  unusual [2] 54/12           61/15 61/17 118/10          17/17 18/21 61/5
   78/18                     used [5] 11/19              vein [2] 13/5
  up [73] 5/4 6/17            13/9 14/3 68/18             14/14
   8/23 27/21 30/1            88/17                      Vel [1] 3/18
   30/1 31/13 36/4           useless [1] 113/17          Vela [10] 4/1 4/18
   37/9 38/12 39/4           uses [2] 54/12               27/21 36/21 43/4
   43/4 44/3 44/3             62/13                       45/2 46/1 53/4
   45/24 47/14 48/16         using [10] 18/23             62/21 70/6
   48/18 48/20 48/21          19/1 34/23 54/6            verbal [1] 86/1
   49/1 49/1 49/15            62/6 62/14 68/17           very [18] 4/22
   49/22 52/21 53/12          68/20 72/18 103/18          9/24 11/12 14/1
   53/12 55/11 55/14         usual [4] 46/11              16/6 25/15 30/2
   55/15 58/2 61/8            78/3 78/19 111/8            32/6 34/21 37/19
   62/16 63/14 64/25         usually [8] 13/6             41/15 100/17 103/1
   66/11 66/18 66/23          16/6 50/12 50/13            104/15 104/23
   70/1 70/6 71/8             99/10 99/24 104/12          113/20 114/18
   71/15 71/15 71/18          114/18                      117/9
   71/22 76/5 80/15          UTI [1] 74/8                Veterans [1] 18/13
   81/2 81/11 82/8           utilities [1]               view [1] 113/21
   82/24 84/9 87/6            106/16                     visit [11] 68/5
                                                          98/23 99/9 100/7
   91/4 91/17 91/22          V                            110/1 110/20
   93/22 94/5 96/17          VA [9] 18/9 23/12
   97/5 97/8 97/10                                        112/18 112/25
                              58/7 72/2 79/17             114/7 117/20
   97/13 97/14 98/6           99/2 99/3 99/5
   98/9 99/10 107/5                                       120/20
                              120/21                     visited [4] 17/23
   109/8 110/11 111/2        vac [2] 37/17
   114/21 119/20                                          110/22 112/19
                              37/18                       112/21
  upbeat [1] 111/8           vaca [1] 109/8
  upon [1] 113/18                                        visiting [2] 55/23
                             vaccinated [1]               112/23
  upper [1] 14/25             92/22
  urinary [6] 10/22                                      visits [1] 17/3
                             vacuum [1] 37/19            visual [1] 50/17
   73/3 73/4 73/17           Valerie [2] 66/12
   73/20 73/22                                           volume [1] 35/2
                              70/11                      vs [1] 1/6
  urination [1]              validated [1] 29/3
  W 9:18-cv-80176-BB Documentwe848[107]
Case                                       3/6
                                   Entered on    4/23
                                              FLSD         24/2 26/10
                                                   Docket 12/20/2021 Page 36/7
                                                                          174 of 178
  waived [1] 118/12   4/24 5/1 5/3 5/4                     37/11 41/3 44/3
  walk [6] 34/25      5/13 5/16 5/17                       44/3 46/15 46/24
   44/15 48/2 50/17   5/24 6/17 9/18                       47/21 52/4 62/7
   50/18 71/15        16/10 19/12 21/22                    64/11 66/11 69/10
  walked [1] 71/14    22/3 22/6 27/21                      83/24 84/2 103/19
  walks [3] 41/25     27/24 29/18 29/19                    116/12 117/1
   42/1 50/7          29/24 29/25 36/3                    we've [5] 16/22
  want [33] 5/11 8/4 36/21 37/1 37/12                      46/24 70/12 70/21
   14/9 17/10 19/8    37/23 38/8 38/11                     122/5
   37/23 37/24 37/24  38/14 38/14 38/14                   weak [1] 113/17
   37/25 38/1 52/19   38/17 39/8 41/1                     wear [1] 75/21
   55/10 55/11 59/13  41/3 43/2 44/11                     Wednesday [1]
   60/23 65/22 66/22  45/13 48/4 50/24                     120/4
   73/2 80/20 88/1    53/16 53/17 54/13                   week [3] 18/20
   90/22 101/4 102/21 55/6 55/16 60/16                     51/13 121/24
   104/1 105/8 106/14 60/24 60/24 67/5                    weekend [2] 5/14
   113/10 114/17      67/9 67/22 68/11                     118/16
   114/18 114/20      69/4 69/15 69/15                    weeks [2] 78/4
   115/3 118/6 119/17 70/1 70/3 70/15                      113/19
  wanted [5] 38/8     70/23 71/13 71/13                   weight [2] 7/3
   38/9 39/11 106/11  74/1 75/2 75/5                       10/5
   111/3              77/22 78/12 80/17                   weight-bearing [1]
  warm [1] 64/4       80/22 80/25 81/2                     7/3
  was [305]           82/17 83/21 83/22                   weird [1] 61/17
  Was David [1] 18/4 83/24 84/5 86/21                     Welcome [2] 69/13
  wasn't [11] 16/12   86/24 87/6 87/12                     69/21
   20/23 20/24 28/6   90/12 94/2 94/12                    well [100] 4/17
   34/6 37/4 41/24    95/12 95/12 107/10                   7/1 7/7 7/16 7/21
   57/5 88/5 88/14    108/8 108/16                         8/10 8/21 10/21
   116/25             108/17 108/20                        11/23 12/1 13/4
  watching [1]        109/5 110/3 111/17                   13/25 14/12 15/6
   118/16             111/21 114/22                        15/23 16/22 17/9
  water [2] 118/9     115/10 115/12                        17/20 19/12 19/24
   118/10             116/4 116/6 116/8                    20/11 20/13 23/13
  way [16] 9/24 14/6 116/17 117/9                          24/2 24/18 24/24
   14/7 14/20 29/14   118/25 119/18                        26/23 26/24 28/13
   33/21 35/18 37/18  121/17 121/19                        29/3 29/14 30/14
   37/20 42/22 42/24 we'll [12] 6/11                       32/7 35/4 35/6
   46/11 47/13 64/22  44/21 47/14 48/4                     40/7 40/17 41/12
   99/19 114/10       52/1 56/1 69/23                      41/14 42/16 42/18
  ways [3] 54/20      73/9 75/9 79/3                       43/24 48/3 50/23
   85/11 111/7        98/22 122/22                         50/24 52/25 54/2
                     we're [22] 5/3 7/8                    56/1 56/1 57/3
                              80/9Entered
  W 9:18-cv-80176-BB Document 848
Case                                81/9on81/19         96/2 96/11
                                           FLSD Docket 12/20/2021 Page 96/12
                                                                       175 of 178
  well... [50] 59/7           81/25 82/7 84/5            100/9 104/21
   60/16 60/20 60/23          84/8 84/16 84/25           110/22 111/8
   62/10 65/20 65/24          85/1 85/4 85/23            112/17 112/22
   66/21 66/22 67/1           87/16 96/10 100/1          113/1 114/19
   67/1 67/2 67/2             105/12 111/4 111/7         114/20 116/15
   67/6 71/20 72/11           112/12 112/15              119/16 119/24
   72/19 74/19 74/22          114/9 120/12 122/2        whenever [3] 32/11
   75/3 75/18 76/18           122/7                      94/15 119/7
   77/25 78/6 79/2           weren't [2] 38/14          where [32] 6/17
   79/4 80/14 82/8            57/3                       8/8 8/11 10/10
   85/11 86/6 87/6           WEST [2] 1/2 94/3           14/14 15/7 18/9
   87/9 87/15 87/16          what [131]                  29/24 29/25 31/13
   87/22 88/2 88/12          what's [11] 29/21           33/1 37/1 44/11
   93/17 95/13 96/7           40/21 40/24 43/22          45/19 57/9 61/23
   110/11 110/21              48/5 49/1 59/12            70/1 82/5 83/8
   111/2 111/8 116/2          64/14 66/14 68/19          93/19 96/14 98/25
   116/8 120/12               107/6                      99/5 100/1 104/11
   120/20 122/2 122/8        whatever [11]               107/23 111/5
  well-known [1]              38/25 58/23 76/7           113/10 114/10
   13/4                       78/16 84/1 98/5            115/2 115/7 122/8
  went [11] 4/15              104/23 105/3              WHEREOF [1] 124/14
   10/10 20/4 23/12           110/16 111/10             whether [22] 7/19
   27/12 51/8 51/23           119/8                      9/14 11/21 20/12
   58/22 79/19 84/18         whatsoever [1]              20/13 29/3 32/11
   120/12                     23/18                      33/22 34/5 35/24
  were [74] 6/10 8/8         wheelchair [8]              50/21 55/4 71/7
   10/2 11/9 12/15            10/5 10/7 15/16            80/8 80/10 90/13
   14/10 14/24 18/6           15/17 88/16 96/3           90/16 91/20 100/25
   18/20 20/15 21/5           98/4 104/13                104/16 105/9 106/4
   21/6 21/7 22/23           when [55] 5/18             which [46] 8/15
   22/24 22/25 22/25          12/5 13/6 13/11            8/16 8/17 8/22
   23/1 23/4 23/14            16/7 16/12 17/8            8/25 9/6 9/11
   23/24 24/22 25/14          17/20 18/20 19/9           10/22 11/4 11/5
   25/16 25/23 26/11          20/23 27/7 27/12           11/15 11/18 13/3
   26/12 26/21 27/7           30/24 32/21 33/12          13/4 13/7 15/14
   30/2 30/24 32/25           37/6 39/5 40/22            18/11 19/5 20/1
   33/4 33/5 33/15            44/14 51/7 57/10           20/7 25/14 36/11
   34/4 34/18 34/22           57/23 58/6 58/22           45/2 46/13 48/9
   37/1 37/21 44/11           58/24 61/1 61/19           49/25 52/9 62/3
   48/14 49/14 49/18          61/24 71/14 71/15          63/12 63/17 64/24
   51/12 56/17 58/24          71/20 72/23 75/18          71/10 73/1 75/9
   62/6 73/6 77/4             84/5 89/18 91/1            84/22 91/9 94/6
                              94/1 94/2 95/25            94/7 96/4 97/15
  W 9:18-cv-80176-BB Documentwithout
Case                                   [3]
                              848 Entered      83/4
                                          on FLSD         64/2 64/13
                                                  Docket 12/20/2021 Page 65/7
                                                                         176 of 178
  which... [6] 101/5          87/19 91/11                 65/9 65/16 66/7
   108/18 111/7 112/6        witness [11] 49/4            66/18 67/2 67/13
   112/25 115/15              80/17 92/7 92/8             68/4 69/1 69/3
  while [16] 10/6             92/15 107/6 115/3           70/24 71/8 71/18
   16/21 18/24 26/18          115/9 115/11                71/22 72/1 72/6
   27/9 29/12 39/7            115/23 124/14               72/21 72/23 82/5
   65/9 68/7 77/19           Woo [1] 121/6                113/2
   92/23 95/6 113/2          Woo-hoo [1] 121/6           works [3] 28/17
   117/25 120/18             word [13] 30/3               54/4 54/21
   120/23                     42/16 44/4 48/4            worn [1] 7/23
  who [16] 14/5               51/23 60/16 60/16          worried [1] 112/12
   38/17 38/17 40/3           60/24 61/9 64/22           worst [1] 48/19
   42/5 52/25 55/10           73/9 75/17 77/11           would [142]
   57/17 60/17 61/23         wording [1] 64/15           wouldn't [19] 9/23
   85/12 91/4 109/13         words [7] 29/7               35/1 51/6 51/6
   116/19 116/22              62/6 62/7 62/13             51/7 60/17 72/19
   117/14                     62/14 91/5 103/18           96/8 96/8 103/3
  who's [3] 3/6 51/4         work [29] 5/13 9/2           110/21 111/8 111/9
   53/9                       16/21 19/5 25/1             111/9 113/2 114/17
  whole [5] 51/17             25/8 25/11 27/7             114/20 122/14
   60/23 64/25 104/18         35/14 39/10 41/1            122/15
   111/14                     45/8 45/12 45/15           wound [11] 9/1 9/2
  why [11] 20/24              45/20 54/12 56/10           18/18 18/19 18/21
   42/16 53/21 71/21          56/25 66/1 68/7             21/7 37/16 37/19
   94/18 100/3 102/15         85/15 93/12 93/19           65/21 65/22 84/22
   106/13 116/2 116/6         94/13 94/15 95/13          wounds [3] 37/15
   120/21                     98/25 99/9 99/10            38/1 39/8
  will [13] 4/22 5/2         worked [9] 20/15            WRIGHT [10] 1/7
   5/18 13/12 27/22           59/16 72/22 94/2            3/11 4/5 4/8 4/10
   67/12 88/19 91/7           95/6 95/12 97/6             4/11 26/2 33/6
   110/16 111/17              99/1 103/5                  97/19 103/5
   111/17 112/1              working [56] 35/6           Wright's [3] 32/22
   118/10                     35/9 35/11 37/9             33/20 34/3
  win [1] 119/9               38/12 39/4 41/9            wrist [1] 14/16
  wings [1] 99/17             44/23 46/16 46/25          write [7] 25/4
  wipe [1] 103/16             47/21 48/3 48/6             42/13 44/18 61/19
  wiping [1] 103/7            49/22 50/3 51/4             86/7 89/12 94/16
  wise [1] 82/20              51/9 51/13 51/17           writing [2] 62/15
  withdrawal [3]              51/19 51/21 52/4            87/19
   14/4 14/6 14/8             54/11 56/7 57/20           written [1] 29/21
  within [2] 30/12            59/17 59/25 60/7           wrong [6] 31/18
   30/12                      61/6 62/10 62/17            58/13 65/3 68/1
                              63/6 63/15 63/24            98/11 110/12
Case                          81/23
  W 9:18-cv-80176-BB Document 848     83/4
                                  Entered    83/12
                                          on FLSD         78/14 89/11
                                                  Docket 12/20/2021       92/12
                                                                    Page 177 of 178
  wrote [5] 31/14     83/23 84/4 84/18    92/13
   60/17 102/23       92/3 92/4 93/25    you're [20] 23/18
   102/25 103/2       95/8 95/10 95/16    27/17 27/17 28/18
                      95/18 95/21 95/24   42/4 51/12 55/3
  X                   98/4 98/4 98/4      55/10 56/9 58/17
  X-ray [1] 110/12    98/18 98/18 98/24   61/19 75/14 77/14
  Xfinity [1] 118/16 99/4 99/20 100/2     96/11 98/14 98/17
                      100/20 101/10       115/21 116/2
  Y                   102/14 102/24       116/19 116/22
  yeah [32] 5/20      103/6 103/8 103/14 you've [1] 22/12
   34/23 40/9 41/9    103/21 103/23      your [111] 3/12
   41/24 42/9 51/25   104/4 104/8 104/10 3/14 3/16 3/18
   52/21 53/14 53/21  104/17 104/19       3/20 3/22 4/7 4/9
   54/2 55/21 56/1    105/11 105/13       5/1 5/2 5/15 6/6
   57/1 58/12 60/1    105/18 105/24       6/8 13/23 16/14
   62/9 64/22 68/20   106/3 106/7 106/17 17/7 20/17 21/8
   75/12 82/14 84/1   106/23 106/25       21/11 21/24 22/12
   100/6 107/17 109/3 107/4 107/22 109/1 22/22 23/6 24/2
   109/10 110/25      109/12 109/16       24/5 24/17 24/21
   112/22 115/11      109/18 109/20       25/11 25/12 25/17
   117/14 120/14      110/19 111/6 112/7 25/21 26/2 26/4
   121/11             112/8 112/11        27/7 27/18 27/22
  year [4] 73/17      112/14 112/17       28/6 29/9 32/8
   73/22 83/16 83/17  112/22 114/14       32/23 33/25 34/2
  years [4] 39/1      117/17 117/19       35/18 35/21 36/4
   42/14 93/14 95/12  118/5 118/19        37/2 37/25 38/18
  Yep [1] 107/25      118/21 118/24       40/12 42/14 44/21
  yes [124] 4/15 5/6 119/12 119/14        47/7 47/19 48/4
   5/23 5/23 6/21     120/1 121/8 121/14 49/4 49/8 49/10
   6/24 9/16 11/23    121/22 122/1        63/1 68/10 69/4
   18/5 20/19 21/12   122/10              69/18 76/15 77/3
   22/5 22/8 24/6    yesterday [19]       77/6 77/7 77/7
   24/24 25/10 26/16  6/11 6/17 8/5 8/15 77/10 77/17 78/10
   27/11 30/6 30/9    19/12 29/25 30/24   78/16 80/2 80/3
   32/9 34/1 36/5     31/13 76/6 80/9     80/5 88/20 88/24
   43/24 44/20 55/19  81/3 81/9 81/14     89/2 89/6 89/11
   57/25 61/12 62/10  81/18 82/1 83/4     89/12 90/7 90/8
   64/21 68/12 69/5   83/11 120/7 120/11 90/12 90/17 90/23
   70/10 70/13 70/20 yet [5] 5/9 57/9     91/24 92/1 92/3
   70/22 71/1 71/20   102/9 117/18        92/4 92/13 92/17
   73/1 75/23 76/23   120/13              92/23 93/5 93/12
   77/16 79/20 80/5  you [538]            95/17 96/19 98/2
   80/12 81/4 81/15  you'll [5] 57/23     100/5 101/13
  Y 9:18-cv-80176-BB Document 848 Entered on FLSD Docket 12/20/2021 Page 178 of 178
Case
  your... [13]
   101/17 101/20
   102/5 108/6 108/13
   109/23 113/21
   114/22 115/4 119/7
   120/25 122/16
   122/25
  yours [1] 109/15
  yourself [1] 27/13
  yvette [7] 1/23
   1/25 117/3 124/5
   124/17 124/17
   124/19
  Z
  ZACK [2] 1/16 3/22
  ZALMAN [2] 1/21
   4/9
  zeros [1] 108/18
  Zoom [1] 22/3
